                                                                   Case 8:15-bk-13008-TA             Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00        Desc
                                                                                                      Main Document    Page 1 of 118


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                                                                   8

                                                                   9                                  UNITED STATES BANKRUPTCY COURT

                                                                  10                                   CENTRAL DISTRICT OF CALIFORNIA

                                                                  11                                             SANTA ANA DIVISION
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12   In re:                                             Case No.: 8:15-bk-13008-TA
                                        LOS ANGELES, CALIFORNIA




                                                                  13                                                      Chapter 7
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                                                                       ANNA’S LINENS, INC.,
                                                                  14                                   Debtor.            SECOND INTERIM AND FINAL
                                                                                                                          APPLICATION OF PACHULSKI STANG
                                                                  15                                                      ZIEHL & JONES LLP FOR ALLOWANCE
                                                                                                                          AND PAYMENT OF COMPENSATION
                                                                  16                                                      AND REIMBURSEMENT OF EXPENSES
                                                                                                                          FOR THE PERIOD JUNE 25, 2015
                                                                  17                                                      THROUGH MARCH 30, 2016;
                                                                                                                          DECLARATION OF JEFFREY N.
                                                                  18                                                      POMERANTZ

                                                                  19                                                      [Final Fee Period: June 25, 2015 through March
                                                                                                                          30, 2016]
                                                                  20                                                      [Second Fee Period: October 1, 2015 through
                                                                                                                          March 30, 2016]
                                                                  21
                                                                                                                          [No Hearing Required; Local Bankruptcy Rule
                                                                  22                                                      9013-1(o)]

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                                                                   Case 8:15-bk-13008-TA               Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00                                              Desc
                                                                                                        Main Document    Page 2 of 118


                                                                   1                                                     TABLE OF CONTENTS

                                                                   2   I.      INTRODUCTORY STATEMENT ......................................................................................... 2
                                                                   3           A.   Summary of First and Second Interim Period (June 25, 2015 –
                                                                                    March 30, 2016) ........................................................................................................... 2
                                                                   4           B.   Summary of Second Interim Period (October 1, 2015 – March 30, 2016) .................. 3
                                                                   5           C.   Compensation and Expense Reimbursement History .................................................. 3
                                                                       II.     OVERVIEW OF THE CASE .................................................................................................. 4
                                                                   6
                                                                       III.    NARRATIVE STATEMENT OF SERVICES RENDERED AND TIME
                                                                   7           EXPENDED FOR THE EMPLOYMENT PERIOD ............................................................... 4
                                                                               A.   Services Performed and Time Expended During the Second Interim Period. ............. 6
                                                                   8
                                                                                    1.     Appeals ............................................................................................................ 6
                                                                   9                2.     Asset Analysis and Recovery........................................................................... 7
                                                                  10                     3.     Avoidance Actions ........................................................................................... 7
                                                                                         4.     Asset Disposition ............................................................................................. 8
                                                                  11
                                                                                         5.     Bankruptcy Litigation ...................................................................................... 8
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12                     6.     Case Administration......................................................................................... 9
                                        LOS ANGELES, CALIFORNIA




                                                                  13                     7.     Claims Administration and Objections .......................................................... 10
                                           ATTORNEYS AT LAW




                                                                                         8.     Compensation of Professionals ...................................................................... 10
                                                                  14
                                                                                         9.     Compensation of Professionals/Others .......................................................... 11
                                                                  15                     10.    Executory Contracts ....................................................................................... 11
                                                                  16                     11.    Financial Filings............................................................................................. 11
                                                                                         12.    Financing........................................................................................................ 12
                                                                  17
                                                                                         13.    General Business Advice ............................................................................... 12
                                                                  18                     14.    General Creditors Committee ........................................................................ 12
                                                                  19                     15.    Hearing ........................................................................................................... 13
                                                                                         16.    Insurance Coverage ........................................................................................ 13
                                                                  20
                                                                                         17.    Operations ...................................................................................................... 13
                                                                  21                     18.    Retention of Professionals/Others.................................................................. 13
                                                                  22                     19.    Tax Issues....................................................................................................... 13
                                                                                         20.    Travel ............................................................................................................. 14
                                                                  23
                                                                               B.        Detailed Listing of All Time Spent By the Professional
                                                                  24                     on the Matters for Which Compensation is Sought (Local
                                                                                         Bankruptcy Rule 2016-1(a) (1) (E)). ......................................................................... 14
                                                                  25           C.        List of Expenses by Category (Local Bankruptcy Rule 2016-1(a) (1) (F)). .............. 14
                                                                  26           D.        Hourly Rates (Local Bankruptcy Rule 2016-1(a) (1) (G) and (I). ............................. 14
                                                                               E.        Description of Professional Education and Experience (Local
                                                                  27                     Bankruptcy Rule 2016-1(a) (1) (H)). ......................................................................... 15
                                                                  28           F.        Statement of the Applicant......................................................................................... 15


                                                                       DOCS_LA:310140.4 03751/002                                            i
                                                                   Case 8:15-bk-13008-TA                 Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00                                           Desc
                                                                                                          Main Document    Page 3 of 118


                                                                   1             G.
                                                                                  Budget ........................................................................................................................ 15
                                                                                 H.
                                                                                  Notice of Application and Hearing (Local Bankruptcy
                                                                   2              Rule 2016-1(a)(2) and (c)(3). ..................................................................................... 16
                                                                   3   IV.   THE FEES AND EXPENSES REQUESTED SHOULD BE AWARDED
                                                                             BASED UPON APPLICABLE LAW ................................................................................... 16
                                                                   4         A.   Local Rules and United States Trustee Guidelines .................................................... 16
                                                                   5         B.   Factors In Evaluating Requests for Compensation. ................................................... 16
                                                                             C.   The Lodestar Award Should be Calculated by Multiplying a
                                                                   6              Reasonable Hourly Rate by the Hours Expended. ..................................................... 17
                                                                   7   V. CONCLUSION ............................................................................................................................. 19

                                                                   8

                                                                   9

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                                                                       DOCS_LA:310140.4 03751/002                                            ii
                                                                   Case 8:15-bk-13008-TA              Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00                           Desc
                                                                                                       Main Document    Page 4 of 118


                                                                   1   TO THE HONORABLE THEODOR C. ALBERT, UNITED STATES BANKRUPTCY

                                                                   2   JUDGE, DEBTOR, COUNSEL TO THE DEBTOR, PARTIES REQUESTING NOTICE,

                                                                   3   AND THE OFFICE OF THE UNITED STATES TRUSTEE:

                                                                   4              Pachulski Stang Ziehl & Jones LLP (“PSZJ” or the “Firm”), hereby submits its Second

                                                                   5   Interim and Final Application for Approval of Compensation and Reimbursement of Expenses (the

                                                                   6   “Application”), in connection with its representation of the Official Committee of Unsecured

                                                                   7   Creditors of Anna’s Linens, the above-captioned debtor (the “Debtor”), during the chapter 11 period,

                                                                   8   pursuant to sections 330 and 331 of the Bankruptcy Code.1

                                                                   9              The Application requests entry of an order allowing, on a final basis, compensation to the

                                                                  10   Firm for services rendered to the Committee and expenses incurred during the period from June 25,

                                                                  11   2015 through March 30, 2016 (the “Employment Period”).
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                                                                  12              For the Employment Period, the Firm seeks final approval of compensation and
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                                                                  13   reimbursement of expenses for legal services rendered in the amount of $1,069,064.02, which sum
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                                                                  14   represents compensation for legal services rendered in the amount of $1,045,803.00 in fees and

                                                                  15   reimbursement for expenses of $23,261.02. The amount requested is net of a voluntary write off of

                                                                  16   fees and expenses totaling $135,670.99.

                                                                  17              For the first interim period of June 25, 2015 through September 30, 2015 (“First Interim

                                                                  18   Period”), the Firm submitted its first interim fee application [Docket No. 1171] (the “First Interim

                                                                  19   Application”). The summary charts of fees and expenses for the First Interim Period are attached as

                                                                  20   exhibits thereto and incorporated herein by reference. On account of the First Interim Application,

                                                                  21   the Firm was allowed fees in the amount of $766,572.75 and expenses in the amount of $16,842.23,

                                                                  22   which were allowed by the Court on an interim basis pursuant to the Order Re First Interim

                                                                  23   Applications for Approval of Fees and Reimbursement of Expenses [Docket No. 1245] (the “Interim

                                                                  24   Fee Order”). Pursuant to stipulation entered into with the Office of the U.S. Trustee, the Firm

                                                                  25   reduced its fees requested in the First Interim Period by $66,593.50, which was in addition to

                                                                  26   $16,323.47 of fees and expenses already written off prior to submitting the First Interim Application.

                                                                  27

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                                                                       1
                                                                           All references to sections of the “Bankruptcy Code” are to sections of 11 U.S.C. §§ 101-1532, as amended.

                                                                       DOCS_LA:310140.4 03751/002                                   1
                                                                   Case 8:15-bk-13008-TA            Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00             Desc
                                                                                                     Main Document    Page 5 of 118


                                                                   1           The Firm submits this application for fees and costs incurred during the second interim

                                                                   2   period of October 1, 2015 through March 30, 2016 (the “Second Interim Period”). For the Second

                                                                   3   Interim Period, the Firm requests $279,230.25 in fees and expenses in the amount of $6,418.79. The

                                                                   4   requested amount reflects a reduction of $52,718.25 in fees and $35.77 in costs for working meals.

                                                                   5   The summary charts detailing the amount of fees charged and hours worked by each of the Firm’s

                                                                   6   professionals and paraprofessionals during the Second Interim Period are attached hereto as Exhibit

                                                                   7   A and the copies of the Firm’s time billing statement for the Second Interim Period is attached

                                                                   8   hereto as Exhibit B.

                                                                   9           The summary charts detailing the amount of fees charged and hours worked by each of the

                                                                  10   Firm’s professionals and paraprofessionals during the First Interim Period and the Second Interim

                                                                  11   Period are attached hereto as Exhibit C.
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                                                                  12           This Application is based upon the contents hereof, together with the exhibits, the
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                                                                  13   declaration of Jeffrey N. Pomerantz filed concurrently herewith, the pleadings, papers, and records
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                                                                  14   on file in this case, and any evidence or argument that the Court may entertain at the time of the

                                                                  15   hearing on the Application.

                                                                  16                                                     I.

                                                                  17                                     INTRODUCTORY STATEMENT

                                                                  18   A.      Summary of First and Second Interim Period (June 25, 2015 – March 30, 2016)
                                                                  19                    Total Fees Requested for Final Approval                    $1,045,803.00

                                                                  20                    Total Expenses Subject to Final Approval                      $23,261.02

                                                                  21                                                          Total Request        $1,069,064.02

                                                                  22                    Total Fees Paid per Interim Application                      $493,480.65

                                                                  23                    Total Expenses Paid per Interim Application                   $16,842.23

                                                                  24                    Total Previously Paid                                        $510,322.88

                                                                  25                    Balance Due (net of voluntary discount of $135,670.99)       $558,741.14

                                                                  26                    Total Hours Billed                                               1,532.60

                                                                  27                    Blended Hourly Rate including Paralegals                          $625.91

                                                                  28                    Blended Hourly Rate excluding Paralegals                          $721.15


                                                                       DOCS_LA:310140.4 03751/002                         2
                                                                   Case 8:15-bk-13008-TA            Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00             Desc
                                                                                                     Main Document    Page 6 of 118


                                                                   1   B.      Summary of Second Interim Period (October 1, 2015 – March 30, 2016)

                                                                   2                    Fees Requested                                                $279,230.25

                                                                   3                    Expenses Requested                                              $6,418.79

                                                                   4                    Total Request for Second Interim Period                       $285,649.04

                                                                   5                    Total Paid                                                           $0.00

                                                                   6                    Balance Due (net of voluntary discount of $52,754.02)         $285,649.04

                                                                   7                    Total Hours Billed                                                 436.20

                                                                   8                    Blended Hourly Rate including Paralegals                          $491.82

                                                                   9                    Blended Hourly Rate excluding Paralegals                          $551.31

                                                                  10   C.      Compensation and Expense Reimbursement History

                                                                  11           The California State Board of Equalization (the “CSBE”) filed an objection to the Firm’s
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                                                                  12   First Interim Application. Pursuant to the stipulation entered into between the Committee and CSBE
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                                                                  13   [Docket No. 1207], and subsequent order entered thereon [Docket No. 1225], PSZJ agreed not to be
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                                                                  14   paid any amount of its fees and costs that would result in the total amount of allowed fees and costs

                                                                  15   paid to both the Committee’s professionals during the First Interim Period exceeding $625,000

                                                                  16   unless (ii) CSBE stipulates that it withdraws any objection to such a payment or (ii) the Bankruptcy

                                                                  17   Court, after a motion filed by PSZJ, overrules the CSBE Objections.

                                                                  18           Thereafter, the Firm entered into a stipulation with the Office of the United States Trustee as

                                                                  19   set forth in the stipulation at Docket No. 1201 (the “UST Stipulation”) agreeing to reduce its fees

                                                                  20   and expenses requested by $66,593.50. Pursuant to the Interim Order, the Firm was awarded on an

                                                                  21   interim basis $766,572.75 in fees and $16,842.23 in costs advanced.

                                                                  22           The Firm believes that the fee reduction agreement with the U.S. Trustee’s office may have

                                                                  23   covered the same objection as set forth in the CSBE objection and that, therefore, the CSBE

                                                                  24   objection may have been resolved. However, in an abundance of caution and as the record is not

                                                                  25   clear on this matter, this Application constitutes the Firm’s motion for the Bankruptcy Court to find

                                                                  26   that the CSBE objection was satisfied by virtue of the UST Stipulation.

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                                                                       DOCS_LA:310140.4 03751/002                         3
                                                                   Case 8:15-bk-13008-TA            Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00              Desc
                                                                                                     Main Document    Page 7 of 118


                                                                   1                                                     II.

                                                                   2                                        OVERVIEW OF THE CASE

                                                                   3           The Debtor filed a voluntary Chapter 11 petition on June 14, 2015. On June 24, 2015, the

                                                                   4   United States Trustee appointed the Committee to represent the interests of all unsecured creditors

                                                                   5   for the Debtor pursuant to section 1102 of the Bankruptcy Code. The members appointed to the

                                                                   6   Committee were: (i) Shewak Lajwanti Home Fashions, Inc.; (ii) Brixmor Property Group. Inc.; (iii)

                                                                   7   Roind Hometex Co, Ltd., (iv) Welcome Industrial Corp., (v) S. Lichtenberg & Co., Inc., (vi) P and A

                                                                   8   Marketing; and (vii) Greenleaf Advertising & Media, Inc.

                                                                   9           On June 25, 2015, the Committee elected to retain PSZJ to serve as counsel to the

                                                                  10   Committee. On August 11, 2015, this Court entered an Order approving the retention and

                                                                  11   employment of the Firm to serve as counsel to the Committee nunc pro tunc to June 25, 2015
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                                                                  12   [Docket No. 482].
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                                                                  13           On March 30, 2016, pursuant to 11 U.S.C. § 1112(a), the Court entered an order converting
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                                                                  14   the Chapter 11 case to one under Chapter 7 of the Bankruptcy Code [Docket No. 1455].

                                                                  15           Pursuant to Local Bankruptcy Rule 2016-(a)(1)(A) (iv), the Firm hereby incorporates by

                                                                  16   reference the narrative history, the description of the present posture of the case, and the statement as

                                                                  17   to the amount of funds on hand as set forth in the final fee application of Debtor’s chapter 11

                                                                  18   counsel.

                                                                  19                                                     III.

                                                                  20                 NARRATIVE STATEMENT OF SERVICES RENDERED AND TIME

                                                                  21                                EXPENDED FOR THE EMPLOYMENT PERIOD

                                                                  22           The First Interim Period was marked by several significant work streams that the Firm

                                                                  23   performed on behalf of the Committee, including (i) creating value for unsecured creditors by

                                                                  24   requiring the secured lender to set aside dedicated funds to pay unsecured claims; (ii) investigating

                                                                  25   and pursuing claims against the secured lenders; and (iii) closely monitoring the Debtor’s complete

                                                                  26   self-liquidation on an expedited basis.

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                                                                       DOCS_LA:310140.4 03751/002                         4
                                                                   Case 8:15-bk-13008-TA            Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00             Desc
                                                                                                     Main Document    Page 8 of 118


                                                                   1                                    Dedicated Pool of Funds for GUC Claims

                                                                   2           Although it appeared that unsecured creditors were initially “out of the money” given the size

                                                                   3   of the secured debt and administrative claims held by 503(b)(9) claimants, based on the prosecution

                                                                   4   of two objections by the Committee, the Debtor ultimately set aside a pool of $1.3 million for

                                                                   5   distribution to unsecured creditors.

                                                                   6           First, the Committee investigated and identified several administrative shortfalls to the

                                                                   7   Debtor’s proposed DIP financing budget and prosecuted an objection to the DIP financing on the

                                                                   8   grounds that the only purpose of the financing was to benefit Salus, the prepetition lender, that there

                                                                   9   was no demonstrated decrease in the value of the collateral because, in fact, it was being liquidated

                                                                  10   in the manner dictated by Salus, and that unencumbered property should not be used to grant liens or

                                                                  11   pay Salus, that the 506(c) waiver was inappropriate, that Salus was not entitled to post-petition fees
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                                                                  12   or default interest, and that Salus should be made to return payments it already received. As a result
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                                                                  13   of the Committee’s objection to DIP financing, a pool of $800,000 was ordered to be set aside by the
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                                                                  14   Court for unsecured creditors.

                                                                  15           Second, the Committee objected to the Debtor’s proposal to assume an agency agreement

                                                                  16   without assurance that the estate would not be left administratively insolvent given that liquidation

                                                                  17   had already been commenced prepetition. Specifically, the Firm on behalf of the Committee, argued

                                                                  18   that prepetition breakup fees could not be treated as administrative expenses. After the issue of

                                                                  19   breakup fees was severed and supplemental briefing ordered, the Firm filed the objection on filed

                                                                  20   July 13, 2015, arguing again that prepetition breakup fees are not administrative expenses, that such

                                                                  21   fees could not be converted into administrative expenses by assuming them, that there was no

                                                                  22   foundation for the breakup fees, and that the Tiger/Yellen lien to secure the breakup fees was

                                                                  23   ineffective. As a result of the Committee’s objection and subsequent settlement, an additional pool

                                                                  24   of $500,000 has been set aside for the payment of unsecured creditors.

                                                                  25                                          Challenge of Secured Debt

                                                                  26           In order to assess whether there were any claims against the Debtor’s secured lenders,

                                                                  27   including Salus, that should be brought within the “Challenge Period” provided for in the Final DIP

                                                                  28   Order, the Committee propounded document requests to the secured lenders and the Debtor, and


                                                                       DOCS_LA:310140.4 03751/002                         5
                                                                   Case 8:15-bk-13008-TA            Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00               Desc
                                                                                                     Main Document    Page 9 of 118


                                                                   1   reviewed the thousands of documents produced in response. That review resulted in the

                                                                   2   identification of, inter alia, a potential claim for the equitable subordination of the secured lenders’

                                                                   3   claims in an amount of not less than $6,000,000, which claim was embodied in a draft complaint

                                                                   4   provided to the secured lenders prior to the expiration of the Challenge Period.

                                                                   5                                          Asset Disposition

                                                                   6           The first few months of these cases were remarkable in that the Debtor completed its going-

                                                                   7   out-of-business process, including selling its inventory, furniture, fixture & equipment, lease

                                                                   8   designation rights, and intellectual property. The Firm worked closely with counsel for the Debtor

                                                                   9   as a consultation party with respect to the Debtor’s efforts on all of these various sale fronts. Further

                                                                  10   detail of the fees and expenses incurred in the First Interim Period are set forth in the First Interim

                                                                  11   Application [Docket No. 1171], which is incorporated as though fully set forth herein.
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                                                                  12           During the Second Interim Period, the Firm continued its investigation and litigation efforts
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                                                                  13   against Salus, evaluated priority claims, and worked closely with the Debtor to evaluate all wind-
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                                                                  14   down options. Ultimately, the Debtor, working in conjunction with the Committee, determined that

                                                                  15   it was in the best interest of the Debtor to convert the case to one under chapter 7. Below is a

                                                                  16   summary of services provided during the Second Interim Period.

                                                                  17           Pursuant to the Compensation Guide and Local Bankruptcy Rule 2016-1(a)(1)(D), the Firm

                                                                  18   has classified all services performed for which compensation is sought for the Second Interim Period

                                                                  19   into one of various major categories. The Firm attempted to place the services performed in the

                                                                  20   category that best relates to the service provided. However, because certain services may relate to

                                                                  21   one or more categories, services pertaining to one category may in fact be included in another

                                                                  22   category. The invoice for the Second Interim Period with time and expense detail is attached hereto

                                                                  23   as Exhibit B.

                                                                  24   A.      Services Performed and Time Expended During the Second Interim Period.
                                                                  25           1.       Appeals

                                                                  26           This category relates to work performed regarding appeals. During the Second Interim

                                                                  27   Period, the Firm corresponded and conferred regarding BAP appellate issues.

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                                                                       DOCS_LA:310140.4 03751/002                          6
                                                                   Case 8:15-bk-13008-TA            Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00             Desc
                                                                                                     Main Document    Page 10 of 118


                                                                   1           The Firm spent 0.50 hours on matters relating to the Appeals category, accounting for

                                                                   2   $382.50 of the fees incurred during the Second Interim Period.

                                                                   3           2.       Asset Analysis and Recovery

                                                                   4           This category relates to work regarding the analysis of assets of the estate and the recovery

                                                                   5   thereof for the benefit of the estate and its creditors. During the Second Interim Period, the Firm,

                                                                   6   among other things: (1) reviewed and analyzed Rabbi Trust issues; (2) reviewed and analyzed

                                                                   7   deferred compensation plan issues; (3) reviewed and analyzed Deepwater Horizon claim issues; (4)

                                                                   8   reviewed and analyzed a letter from plan participants and related documents regarding the Rabbi

                                                                   9   Trust; (5) performed research regarding the same; (6) reviewed and analyzed issues regarding a

                                                                  10   preferential transfer analysis; (7) reviewed and analyzed issues regarding the Reeder proposal to

                                                                  11   purchase Debtor claims; (8) performed work regarding a claims reconciliation analysis; (9) reviewed
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                                                                  12   and analyzed a liquidation analysis; (10) performed work regarding a deferred compensation letter;
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                                                                  13   (11) reviewed and analyzed a Commercial Tort Claims Agreement; (12) reviewed and analyzed
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                                                                  14   indemnification issues; (13) reviewed and analyzed valuation issues regarding the estate’s causes of

                                                                  15   action versus credit card companies; and (14) corresponded and conferred with various parties

                                                                  16   regarding asset analysis and recovery issues.

                                                                  17           The Firm spent 19.70 hours on matters relating to the Asset Analysis and Recovery category,

                                                                  18   accounting for $17,555.00 of the fees incurred during the Second Interim Period.

                                                                  19           3.       Avoidance Actions

                                                                  20           This category relates to work regarding actions to recover avoidable transfers. During the

                                                                  21   Second Interim Period, the Firm, among other things: (1) reviewed and analyzed the Debtor’s

                                                                  22   Statement of Financial Affairs regarding potential claims for the recovery of preferential transfers;

                                                                  23   (2) reviewed and analyzed preference payment data and prepared a preliminary spreadsheet;

                                                                  24   (3) reviewed and analyzed the need for additional information regarding a preference analysis;

                                                                  25   (4) reviewed and analyzed the Debtor’s preference analysis; (5) performed work regarding

                                                                  26   scheduling issues; (6) reviewed and analyzed ordinary course of business issues; (7) created

                                                                  27   percentage completion tables relating to target vendors; (8) reviewed and analyzed new value

                                                                  28   defense issues; (9) reviewed and analyzed insider payment issues; (10) reviewed and analyzed a


                                                                       DOCS_LA:310140.4 03751/002                         7
                                                                   Case 8:15-bk-13008-TA            Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00            Desc
                                                                                                     Main Document    Page 11 of 118


                                                                   1   motion to compromise with Idea Village; and (11) conferred and corresponded regarding avoidance

                                                                   2   actions.

                                                                   3           The Firm spent 49.60 hours on matters relating to the Avoidance Actions category,

                                                                   4   accounting for $26,918.00 of the fees incurred during the Second Interim Period.

                                                                   5           4.       Asset Disposition

                                                                   6           This category relates to work regarding the sale and disposition of assets.

                                                                   7           During the Second Interim Period, the Firm, among other things: (1) reviewed and analyzed

                                                                   8   agency agreement issues; (2) reviewed and analyzed an order on settlement relating to bid

                                                                   9   protections; (3) reviewed and analyzed reconciliation issues; (4) reviewed and analyzed commercial

                                                                  10   tort claims bid issues; and (5) conferred and corresponded regarding asset disposition issues.

                                                                  11           The Firm spent 1.90 hours on matters relating to the Asset Disposition category, accounting
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                                                                  12   for $1,436.00 of the fees incurred during the Second Interim Period.
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                                                                  13           5.       Bankruptcy Litigation
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                                                                  14           This category relates to work regarding motions and adversary proceedings pending in the

                                                                  15   Bankruptcy Court. During the Second Interim Period, the Firm, among other things: (1) reviewed

                                                                  16   and analyzed deepening insolvency issues; (2) reviewed and analyzed equitable subordination

                                                                  17   issues; (3) reviewed and analyzed aiding and abetting breach of fiduciary duty issues; (4) reviewed

                                                                  18   and analyzed mediation issues; (5) reviewed and analyzed issues regarding a proposed split with

                                                                  19   other plaintiffs; (6) reviewed and analyzed Salus loan issues; (7) reviewed and analyzed Deepwater

                                                                  20   Horizon claim issues; (8) performed work regarding mediation scheduling issues; (9) reviewed and

                                                                  21   analyzed section 503(b)(9) issues; (10) reviewed and analyzed claims waterfall issues; (11) reviewed

                                                                  22   and analyzed proposed EBG fee arrangement issues; (12) reviewed and analyzed issues related to the

                                                                  23   Gubner group and Salus litigation; (13) reviewed and analyzed the effect of the BAP appeal on

                                                                  24   mediation; (14) reviewed and analyzed Directors and Officers insurance issues; (15) performed work

                                                                  25   regarding negotiations with Gubner regarding split of settlement proceeds; (16) reviewed and

                                                                  26   analyzed the Salus request for production of documents; (17) reviewed and analyzed collateral value

                                                                  27   issues relating to Salus; (18) performed work regarding a damages analysis relating to Salus

                                                                  28   mediation; (19) reviewed and analyzed documents regarding a response to Salus discovery request;


                                                                       DOCS_LA:310140.4 03751/002                         8
                                                                   Case 8:15-bk-13008-TA            Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00            Desc
                                                                                                     Main Document    Page 12 of 118


                                                                   1   (20) coordinated and met with the Committee sub-group regarding Salus litigation issues; (21)

                                                                   2   reviewed and analyzed privilege issues; (22) performed work regarding the Committee mediation

                                                                   3   statement; (23) reviewed and analyzed the Salus and Gubner group mediation briefs; (24) prepared

                                                                   4   for and attended the Salus mediation; (25) reviewed and analyzed tolling agreement issues; (26)

                                                                   5   reviewed and analyzed issues regarding vendors’ revised complaint; (27) reviewed and analyzed

                                                                   6   WARN Act claim issues; (28) reviewed and analyzed the Exel motion to dismiss and opposition;

                                                                   7   (29) reviewed and analyzed section 726(a)(4) claim and prepayment penalty issues; (30) reviewed

                                                                   8   and analyzed potential claw back issues; (31) reviewed and analyzed warehouse lien issues; (32)

                                                                   9   reviewed and analyzed the Excel settlement offer; (33) reviewed and analyzed advances on

                                                                  10   indemnity obligation issues; (34) reviewed and analyzed conversion issues; (35) reviewed and

                                                                  11   analyzed extension of tolling agreement issues; (36) performed work regarding a challenge tolling
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                                                                  12   agreement; (37) reviewed and analyzed a motion to compel return of lenders’ attorneys’ fees; (38)
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                                                                  13   reviewed and analyzed Salus fee issues in DIP financing documents; (39) performed work regarding
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                                                                  14   a joinder relating to Salus fees motion; (40) performed work regarding a statement of Committee to

                                                                  15   continue the hearing on Bankruptcy Rule 9019 motion relating to Lichtenberg; (41) prepared for and

                                                                  16   attended a hearing on March 23, 2016 on the motion to convert; and (42) corresponded and

                                                                  17   conferred regarding litigation issues.

                                                                  18           The Firm spent 144.20 hours on matters relating to the Bankruptcy Litigation category,

                                                                  19   accounting for $113,994.00 of the fees incurred during the Second Interim Period.

                                                                  20           6.       Case Administration

                                                                  21           The services of the Firm in this category involved attending to case administration issues.

                                                                  22   During the Second Interim Period the Firm, among other things: (1) maintained a memorandum of

                                                                  23   critical dates; (2) attended to scheduling issues; (3) reviewed and analyzed documents; and (4)

                                                                  24   corresponded regarding case administration issues.

                                                                  25           The Firm spent 11.00 hours on matters relating to the Case Administration category,

                                                                  26   accounting for $3,533.00 of the fees incurred during the Second Interim Period.

                                                                  27

                                                                  28


                                                                       DOCS_LA:310140.4 03751/002                         9
                                                                   Case 8:15-bk-13008-TA            Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00            Desc
                                                                                                     Main Document    Page 13 of 118


                                                                   1           7.       Claims Administration and Objections

                                                                   2           During the Second Interim Period, the Firm, among other things: (1) performed work

                                                                   3   regarding a joinder to Debtor’s opposition to Kenney’s section 503(b)(9) request; (2) reviewed and

                                                                   4   analyzed section 503(b) claims; (3) reviewed and analyzed bar date issues; (4) reviewed and

                                                                   5   analyzed letter of credit issues relating to Union Bank; (5) performed work regarding an omnibus

                                                                   6   objection to administrative claimants’ motions; (6) reviewed and analyzed continuance issues

                                                                   7   relating to section 503(b)(9) motions; (7) performed research; (8) reviewed and analyzed the CHF

                                                                   8   and Brentwood stipulations; (9) reviewed and analyzed the Shewak stipulation; (10) reviewed and

                                                                   9   analyzed the potential settlement of the State Board claim; (11) reviewed and analyzed the

                                                                  10   Transplace, Shewak and Hollander stipulations; (12) reviewed and analyzed Warehousemen’s lien

                                                                  11   issues; (13) reviewed and analyzed negotiations by the Debtor relating to potential settlements; (14)
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                                                                  12   reviewed and analyzed indemnification issues regarding Greenberg Traurig invoices; (15) reviewed
                                        LOS ANGELES, CALIFORNIA




                                                                  13   and analyzed issues regarding the Canjoy matter; (16) responded to inquiries from creditors; (17)
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                                                                  14   performed work regarding the Marks’ claim; (18) reviewed and analyzed issues regarding proposed

                                                                  15   settlement of the alleged Excel secured claim; (19) reviewed and analyzed the proposed settlement

                                                                  16   with Lichtenberg, including release issues; (20) monitored objections to section 503(b)(9) claims;

                                                                  17   (21) reviewed and analyzed Debtor’s due diligence relating to proposed settlements; (22) reviewed

                                                                  18   and analyzed issues regarding relationship of claim objections and preference demands and

                                                                  19   appropriate procedures; (23) performed work regarding hearing binders; (24) reviewed and analyzed

                                                                  20   the Performance Team stipulation; (25) prepared for and attended a telephonic hearing on February

                                                                  21   24, 2016; (26) reviewed and analyzed preference issues regarding Lichtenberg; (27) reviewed and

                                                                  22   analyzed a bar date motion; (28) performed work regarding a Committee statement concerning the

                                                                  23   proposed Lichtenberg settlement; and (29) corresponded and conferred regarding claim issues.

                                                                  24           The Firm spent 37.30 hours on matters relating to the Claims Administration and Objections

                                                                  25   category accounting for $28,833.50 of the fees incurred during the Second Interim Period.

                                                                  26           8.       Compensation of Professionals

                                                                  27           This category relates to work regarding compensation issues related to the Firm. During the

                                                                  28   Second Interim Period, the Firm, among other things: (1) drafted its First Interim Fee Application;


                                                                       DOCS_LA:310140.4 03751/002                       10
                                                                   Case 8:15-bk-13008-TA            Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00            Desc
                                                                                                     Main Document    Page 14 of 118


                                                                   1   (2) reviewed and analyzed issues regarding compliance with United States Trustee large case

                                                                   2   guidelines; (3) performed work regarding exhibits and budget issues; (4) performed work regarding

                                                                   3   a fee application order; and (5) conferred and corresponded regarding compensation issues.

                                                                   4           The Firm spent 76.20 hours on matters relating to the Compensation of Professionals

                                                                   5   category accounting for $25,832.00 of the fees incurred during the Second Interim Period.

                                                                   6           9.       Compensation of Professionals/Others

                                                                   7           This category relates to work regarding compensation issues related to other professionals.

                                                                   8   During the Second Interim Period, the Firm performed work regarding the Eisner Amper fee

                                                                   9   application.

                                                                  10           The Firm spent 1.30 hours on matters relating to the Compensation of Professionals/Others

                                                                  11   category accounting for $975.00 of the fees incurred during the Second Interim Period.
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                                                                  12           10.      Executory Contracts
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                                                                  13           Time incurred under this category relates to executory contracts and unexpired leases of real
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                                                                  14   property. During the Interim Fee Period the Firm, among other things: (1) reviewed and analyzed

                                                                  15   cure issues regarding Auto Zone; (2) performed work regarding a settlement of the Auto Zone

                                                                  16   matter; (3) reviewed and analyzed the planet Hollywood motion; and (4) corresponded and conferred

                                                                  17   regarding contract and lease issues.

                                                                  18           The Firm spent 1.80 hours on matters relating to the Executory Contracts category,

                                                                  19   accounting for $1,710.00 of the fees incurred during the Second Interim Period.

                                                                  20           11.      Financial Filings

                                                                  21           Time spent under this category relates to compliance with reporting requirements. During

                                                                  22   the Second Interim Period the Firm, among other things, reviewed and analyzed a Statement of

                                                                  23   Financial Affairs regarding payments to insiders, and reviewed and analyzed issues regarding the

                                                                  24   Debtor’s monthly operating reports.

                                                                  25           The Firm spent 0.70 hours on matters relating to the Financial Filings category, accounting

                                                                  26   for $369.50 of the fees incurred during the Second Interim Period.

                                                                  27

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                                                                       DOCS_LA:310140.4 03751/002                        11
                                                                   Case 8:15-bk-13008-TA            Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00            Desc
                                                                                                     Main Document    Page 15 of 118


                                                                   1           12.      Financing

                                                                   2           This category relates to the Debtor in Possession (“DIP”) financing and use of cash

                                                                   3   collateral. During the Second Interim Period the Firm, among other things: (1) reviewed and

                                                                   4   analyzed issues regarding a stipulation with ACCO concerning a premium financing agreement;

                                                                   5   (2) reviewed and analyzed forbearance agreement notice issues; (3) reviewed and analyzed a DIP

                                                                   6   financing amendment and paydown letter; (4) reviewed and analyzed budget issues; and

                                                                   7   (5) corresponded and conferred regarding financing issues.

                                                                   8           The Firm spent 2.70 hours on matters relating to the Financing category, accounting for

                                                                   9   $1,847.50 of the fees incurred during the Second Interim Period.

                                                                  10           13.      General Business Advice

                                                                  11           Time spent under this category relates to general business advice issues. During the Second
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                                                                  12   Interim Period the Firm, among other things: (1) reviewed and analyzed sale valuation issues;
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                                                                  13   (2) reviewed and analyzed issues regarding sharing litigation proceeds; (3) communicated with the
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                                                                  14   Committee’s financial advisor regarding case business issues; (4) reviewed and analyzed distribution

                                                                  15   issues; (5) reviewed and analyzed budget issues; (6) reviewed and analyzed waterfall claims

                                                                  16   distribution analysis; (7) reviewed and evaluated whether to convert the case to chapter 7;

                                                                  17   (8) performed work regarding mediation issues; and (9) conferred and corresponded regarding

                                                                  18   general business advice issues.

                                                                  19           The Firm spent 13.80 hours on matters relating to the General Business Advice category,

                                                                  20   accounting for $13,342.50 of the fees incurred during the Second Interim Period.

                                                                  21           14.      General Creditors Committee

                                                                  22           Time spent under this category relates to general Committee issues. During the Second

                                                                  23   Interim Period the Firm, among other things: (1) prepared and distributed a weekly summary

                                                                  24   memorandum; (2) prepared for and attended telephonic conferences with the Committee regarding

                                                                  25   case issues; and (3) corresponded and conferred regarding Committee issues.

                                                                  26           The Firm spent 64.40 hours on matters relating to the General Creditors Committee category,

                                                                  27   accounting for $34,295.50 of the fees incurred during the Second Interim Period.

                                                                  28


                                                                       DOCS_LA:310140.4 03751/002                        12
                                                                   Case 8:15-bk-13008-TA            Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00            Desc
                                                                                                     Main Document    Page 16 of 118


                                                                   1           15.      Hearing

                                                                   2           Time spent under this category relates to hearing issues. During the Second Interim Period

                                                                   3   the Firm, among other things: (1) prepared for and attended hearings; (2) performed work regarding

                                                                   4   hearing binders; (3) monitored the status and scheduling of hearings; and (4) corresponded and

                                                                   5   conferred regarding hearing issues.

                                                                   6           The Firm spent 3.10 hours on matters relating to the Hearings category, accounting for

                                                                   7   $2,325.00 of the fees incurred during the Second Interim Period.

                                                                   8           16.      Insurance Coverage

                                                                   9           Time spent under this category relates to insurance coverage issues. During the Second

                                                                  10   Interim Period the Firm, among other things, reviewed and analyzed indemnity issues, and

                                                                  11   corresponded regarding insurance issues.
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                                                                  12           The Firm spent 1.60 hours on matters relating to the Insurance Coverage category accounting
                                        LOS ANGELES, CALIFORNIA




                                                                  13   for $1,350.00 of the fees incurred during the Second Interim Period.
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                                                                  14           17.      Operations

                                                                  15           Time spent under this category relates to operations issues. During the Second Interim

                                                                  16   Period the Firm, among other things, reviewed and analyzed conversion and inventory reconciliation

                                                                  17   issues, and conferred regarding operations issues.

                                                                  18           The Firm spent 0.70 hours on matters relating to the Operations category, accounting for

                                                                  19   $570.00 of the fees incurred during the Second Interim Period.

                                                                  20           18.      Retention of Professionals/Others

                                                                  21           This category relates to work regarding the retention of professionals other than the Firm.

                                                                  22   During the Second Interim Period, the Firm, among other things, performed work regarding the

                                                                  23   BDO retention matter, and corresponded regarding retention issues.

                                                                  24           The Firm spent 0.70 hours on matters relating to the Retention of Professionals - Others

                                                                  25   category, accounting for $525.00 of the fees incurred during the Second Interim Period.

                                                                  26           19.      Tax Issues

                                                                  27           Time spent under this category relates to tax issues. During the Second Interim Period the

                                                                  28   Firm, among other things: (1) reviewed and analyzed a stipulation with the State of Arizona


                                                                       DOCS_LA:310140.4 03751/002                        13
                                                                   Case 8:15-bk-13008-TA            Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00             Desc
                                                                                                     Main Document    Page 17 of 118


                                                                   1   regarding sales taxes; (2) reviewed and analyzed California sales tax issues; (3) performed work

                                                                   2   regarding a resolution with the State Board of Equalization regarding California sale taxes;

                                                                   3   (4) reviewed and analyzed net operating loss issues; and (5) corresponded and conferred regarding

                                                                   4   tax issues.

                                                                   5           The Firm spent 2.50 hours on matters relating to the Tax Issues category, accounting for

                                                                   6   $2,217.50 of the fees incurred during the Second Interim Period.

                                                                   7           20.      Travel

                                                                   8           During the Second Interim Period, the Firm incurred non-working time while traveling on

                                                                   9   case matters. Such time is billed at one-half the normal rate.

                                                                  10           The Firm spent 2.50 hours on matters relating to the Travel category, accounting for

                                                                  11   $1,218.75 of the fees incurred during the Second Interim Period.
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                                                                  12   B.      Detailed Listing of All Time Spent By the Professional on the Matters for Which
                                                                               Compensation is Sought (Local Bankruptcy Rule 2016-1(a) (1) (E)).
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                                                                  13
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                                                                  14           Exhibit A contains a summary, by category, of the Firm’s services and expenses in this

                                                                  15   Chapter 11 case that were incurred during the Second Interim Period covered by this Application.

                                                                  16   Such summary includes the time spent, rate and billing attributable to each person who performed

                                                                  17   compensable services for the Committee. As noted in such exhibit where appropriate the Firm may

                                                                  18   combine some categories with minor amounts of time. Exhibit B contains the Firm’s detailed time

                                                                  19   records during these periods.

                                                                  20   C.      List of Expenses by Category (Local Bankruptcy Rule 2016-1(a) (1) (F)).
                                                                  21           The costs incurred are summarized in Exhibit A attached hereto, which provides a monthly

                                                                  22   breakdown for the Second Interim Period. The Firm has not charged the Committee for any

                                                                  23   outgoing faxes. The Firm has written off all charges for overtime and working meals.

                                                                  24   D.      Hourly Rates (Local Bankruptcy Rule 2016-1(a) (1) (G) and (I).
                                                                  25           The hourly rates of all professionals and paraprofessionals rendering services in this case

                                                                  26   during the Second Interim Period are set forth on Exhibit A attached hereto, and Exhibit C for the

                                                                  27   Employment Period.

                                                                  28


                                                                       DOCS_LA:310140.4 03751/002                        14
                                                                   Case 8:15-bk-13008-TA            Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00             Desc
                                                                                                     Main Document    Page 18 of 118


                                                                   1   E.      Description of Professional Education and Experience (Local Bankruptcy Rule 2016-
                                                                               1(a) (1) (H)).
                                                                   2

                                                                   3           The Application for an Order Authorizing and Approving the Employment of Pachulski Stang

                                                                   4   Ziehl & Jones LLP as Counsel for the Official Committee of Unsecured Creditors, Effective as of

                                                                   5   June 25, 2015, included a description of the professional education and biographies of the

                                                                   6   professionals employed by the Firm who were expected to provide services in this Case. The Firm

                                                                   7   has no understanding, agreement, or arrangement of any kind to divide with or pay to anyone any of

                                                                   8   the fees to be awarded in these proceedings, except to be shared among members of the Firm.

                                                                   9   F.      Statement of the Applicant

                                                                  10           Pursuant to section the United States Trustee’s Guidelines for Reviewing Applications for

                                                                  11   Compensation and Reimbursement of Expenses Filed under 11 U.S.C. §330 by Attorneys in Larger
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                                                                  12   Chapter 11 Cases of the Guidelines, PSZJ makes the following statements:
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                                                                  13           PSZJ did not agree to any variations from, or alternatives to, its standard or customary billing
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                                                                                     rates, fees or terms for services that were provided during the Compensation Period.
                                                                  14
                                                                               None of the hourly rates of PSZJ's professionals and paraprofessionals included in this
                                                                  15                 Application has been varied based on the geographic location of this Case.

                                                                  16           This Application reflects an increase in PSZJ’s hourly rates between 2015 and 2016, however
                                                                                      the amount is below the 10% increase threshold required to discuss the variation with
                                                                  17                  the Committee.

                                                                  18
                                                                       G.      Budget
                                                                  19
                                                                               In connection with approval of DIP financing and the DIP budget (the "DIP Budget"), the
                                                                  20
                                                                       Committees’ professionals, including PSZJ, agreed to a line item budget of $625,000 as a
                                                                  21
                                                                       professional fee escrow with respect to its Committee professionals' projected fees and expenses for
                                                                  22
                                                                       services to be provided to the Committee through September 13, 2015, which projections were
                                                                  23
                                                                       shared with the Committee. See Docket No. 424, Exhibit B. The amount set forth in the DIP
                                                                  24
                                                                       Budget represented the maximum amount that the Debtor’s lender, Salus, was willing to agree to and
                                                                  25
                                                                       did not act as a cap of allowable fees and expenses. The Committee understood that Committee
                                                                  26
                                                                       professionals’ fees could exceed the amounts set forth in the DIP budget based upon, among other
                                                                  27
                                                                       things, the Committee’s investigations of claims against Salus that were being pursued.
                                                                  28


                                                                       DOCS_LA:310140.4 03751/002                         15
                                                                   Case 8:15-bk-13008-TA            Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00                       Desc
                                                                                                     Main Document    Page 19 of 118


                                                                   1   H.      Notice of Application and Hearing (Local Bankruptcy Rule 2016-1(a)(2) and (c)(3).

                                                                   2           This Application, together with all supporting documents, was served on the Debtor, the

                                                                   3   Chapter 7 trustee, counsel for CSBE, parties requesting notice, and the United States Trustee.

                                                                   4   Complete copies of the Application will be promptly furnished to any other party upon specific

                                                                   5   request. Pursuant to the Notice of Deadline For Filing Administrative Claims [Docket No. 1997], no

                                                                   6   hearing shall be set on any application or request for allowance of an administrative claim (the

                                                                   7   “Administrative Claim”) at the time of filing the Administrative Claim. The Administrative Claim is

                                                                   8   deemed allowed unless a party-in-interest objects. If a party-in interest objects to an Administrative

                                                                   9   Claim, such objection shall proceed in the manner outlined by Local Bankruptcy Rule 3007-1.

                                                                  10                                                          IV.

                                                                  11                 THE FEES AND EXPENSES REQUESTED SHOULD BE AWARDED
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                                                                  12                                      BASED UPON APPLICABLE LAW
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                                                                  13           The fees and expenses requested by this Application are an appropriate award for the Firm’s
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                                                                  14   services in acting as general bankruptcy counsel to the Committee.

                                                                  15   A.      Local Rules and United States Trustee Guidelines

                                                                  16           Local Bankruptcy Rule 2016-1(a) sets forth certain requirements that a professional must

                                                                  17   satisfy in order to obtain an award for fees and costs. Additional standards to be employed in the

                                                                  18   review of fee applications are set forth in the United States Trustee’s Guidelines for Reviewing

                                                                  19   Applications for Compensation and Reimbursement of Expenses filed under 11 U.S.C. § 330 (the

                                                                  20   “Compensation Guide”).2 As set forth more fully herein, the Firm submits that this Application

                                                                  21   complies with all statutory guidelines and Court-imposed requirements.

                                                                  22   B.      Factors In Evaluating Requests for Compensation.

                                                                  23           Pursuant to Section 330 of the Bankruptcy Code, the Court may award to a professional

                                                                  24   person, reasonable compensation for actual, necessary services rendered, and reimbursement for

                                                                  25   actual, necessary expenses incurred. As set forth above, the fees for which the Firm requests

                                                                  26   compensation and the costs incurred for which the Firm requests reimbursement are for actual and

                                                                  27   necessary services rendered and costs incurred.
                                                                       2
                                                                  28    The Compensation Guide is promulgated by the United States Department of Justice and can be found on the United
                                                                       States Department of Justice website at: https://www.justice.gov/ust/fee-guidelines.

                                                                       DOCS_LA:310140.4 03751/002                              16
                                                                   Case 8:15-bk-13008-TA             Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00                              Desc
                                                                                                      Main Document    Page 20 of 118


                                                                   1            The professional services rendered by the Firm have required an expenditure of substantial

                                                                   2   time and effort. During the Second Interim Period, 436.20 hours have been recorded by members of

                                                                   3   the Firm and more time was actually expended but either was not recorded or was written off. The

                                                                   4   Firm’s blended hourly rate in these cases for the Second Interim Period of this Application including

                                                                   5   paraprofessionals is $491.82.

                                                                   6            Moreover, time and labor devoted is only one of many pertinent factors in determining an

                                                                   7   award of fees and costs. Based on the skills brought to bear in this case by the Firm and the results

                                                                   8   obtained and in light of the accepted lodestar approach, the Firm submits that the compensation

                                                                   9   requested herein is reasonable and appropriate.

                                                                  10   C.       The Lodestar Award Should be Calculated by Multiplying a Reasonable Hourly Rate
                                                                                by the Hours Expended.
                                                                  11
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                                                                                In determining the amount of allowable fees under 11 U.S.C. § 330(a), courts are to be
                                                                  12
                                                                       guided by the same “general principles” as are to be applied in determining awards under the federal
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                                                                  13
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                                                                       fee-shifting statutes, with “some accommodation to the peculiarities of bankruptcy matters.” In re
                                                                  14
                                                                       Manoa Finance Co., Inc., 853 F.2d 687, 691 (9th Cir. 1988); see Meronk v. Arter & Hadden, LLP
                                                                  15
                                                                       (In re Meronk), 249 B.R. 208, 213 (BAP 9th Cir. 2000) (reiterating that Manoa Finance is the
                                                                  16
                                                                       controlling authority and characterizing the factor test3 identified in Johnson v. Georgia Highway
                                                                  17
                                                                       Express, Inc. 488 F.2d 714 (5th Cir. 1974) and Kerr v. Screen Extras Guild, Inc. 526 F. 2d 67, 70
                                                                  18
                                                                       (9th Cir. 1975), cert. denied, 425 U.S. 951 (1976) as an “obsolete laundry list” now subsumed within
                                                                  19
                                                                       more refined analyses).
                                                                  20
                                                                                The United States Supreme Court has evaluated the lodestar approach and endorses its usage.
                                                                  21
                                                                       In Hensley v. Eckerhart, 461 U.S. 424 (1983), a civil rights case, the Court held that while the
                                                                  22
                                                                       Johnson factors might be considered in setting fees, the lodestar amount subsumed many of those
                                                                  23

                                                                  24

                                                                  25
                                                                       3
                                                                  26     The original twelve Johnson/Kerr factors were: (1) time and labor required; (2) novelty and difficulty of the questions
                                                                       involved; (3) skill requisite to perform the legal services properly; (4) the preclusion of other employment by the attorney
                                                                  27   due to acceptance of the case; (5) the customary fee; (6) whether the fee is fixed or contingent; (7) time limitations
                                                                       imposed by the client or the circumstances; (8) amount involved and results obtained; (9) experience, reputation, and
                                                                  28   ability of the attorneys; (10) the “undesirability” of the case; (11) nature and length of the professional relationship with
                                                                       client; and (12) awards in similar cases.

                                                                       DOCS_LA:310140.4 03751/002                                  17
                                                                   Case 8:15-bk-13008-TA            Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00                           Desc
                                                                                                     Main Document    Page 21 of 118


                                                                   1   factors. Hensley at 434, n. 9.4 The following year, another civil rights case, Blum vs. Stenson, 465

                                                                   2   U.S. 886 (1984) provided the so-called lodestar calculation:

                                                                   3                    The initial estimate of a reasonable attorney’s fee is properly
                                                                                        calculated by multiplying the number of hours reasonably expended on
                                                                   4                    the litigation times a reasonable hourly rate . . . . Adjustments to that
                                                                                        fee then may be made as necessary in the particular case.
                                                                   5
                                                                       Blum at 888.
                                                                   6
                                                                               Then in 1986, the Supreme Court more explicitly indicated that the factors relevant to
                                                                   7
                                                                       determining fees should be applied using the lodestar approach, rather than an ad hoc approach.
                                                                   8
                                                                       While holding that the attorney’s fee provision of the Clean Air Act, 42 U.S.C. § 7401 et seq.,
                                                                   9
                                                                       should be interpreted like that of the Civil Rights Act, the Court expressly rejected the ad hoc
                                                                  10
                                                                       application of the factors set forth in Johnson and thus Kerr, stating that, “the lodestar figure
                                                                  11
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                                                                       includes most, if not all, of the relevant factors constituting a ‘reasonable’ attorney’s fee . . . ”
                                                                  12
                                                                       Pennsylvania v. Del. Valley Citizens’ Council for Clean Air, 478 U.S. 546, 563-66 (1986); See also
                                        LOS ANGELES, CALIFORNIA




                                                                  13
                                           ATTORNEYS AT LAW




                                                                       Blanchard v. Bergeron, 489 U.S. 87, 94 (1989) (“we have said repeatedly that the initial estimate of
                                                                  14
                                                                       a reasonable attorney’s fee is properly calculated by multiplying the number of hours reasonably
                                                                  15
                                                                       expended on the litigation times a reasonable hourly rate.”).
                                                                  16
                                                                               While the lodestar approach is the chief basis for determining fee awards under the federal
                                                                  17
                                                                       fee-shifting statutes and Bankruptcy Code, some of the Johnson/Kerr factors, previously applied in
                                                                  18
                                                                       an ad hoc fashion, can still apply in calculating the appropriate hourly rate to use under the lodestar
                                                                  19
                                                                       approach. Buckridge at 202 (“a court is permitted to adjust the lodestar up or down using a multiplier
                                                                  20
                                                                       based on the criteria listed in §330 and its consideration of the Kerr factors not subsumed within the
                                                                  21
                                                                       initial calculations of the lodestar”); Dang v. Cross, 422 F.3d 800, 812 (9th Cir. 2005) (court may
                                                                  22
                                                                       “adjust the lodestar amount after considering other factors that bear on the reasonableness of the
                                                                  23
                                                                       fee”); Unsecured Creditors’ Comm. V. Puget Sound Plywood, Inc., 924 F.2d 955, 960 (9th Cir. 1991)
                                                                  24
                                                                       (“Although Manoa suggests that starting with the lodestar is customary, it does not mandate such an
                                                                  25
                                                                       4
                                                                  26    For discussion of the Johnson/Kerr subsumed factors: See Morales v. City of San Rafael, 96 F.3d 359, 364 n.9 (9th Cir.
                                                                       1996) (“among the subsumed factors…are: (1) the novelty and complexity of the issues, (2) the special skill and
                                                                  27   experience of counsel, (3) the quality of representation, and (4) the results obtained”); Davis v. City & County of San
                                                                       Francisco, 976 F.2d 1536, 1549 (9th Cir. 1992), vacated in part on other grounds, 984 F.2d 345 (9th Cir. 1993) (Court
                                                                  28   extending City of Burlington v. Dague, 505 U.S. 557, 567 (1992) held the sixth factor “whether the fee is fixed or
                                                                       contingent, may not be considered in the lodestar calculation.”).

                                                                       DOCS_LA:310140.4 03751/002                                18
                                                                   Case 8:15-bk-13008-TA            Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00               Desc
                                                                                                     Main Document    Page 22 of 118


                                                                   1   approach in all cases…[f]ee shifting cases are persuasive, but due to the uniqueness of bankruptcy

                                                                   2   proceedings, they are not controlling”).

                                                                   3           During the Second Interim Period, several significant activities occurred, requiring

                                                                   4   substantial time and commitment of the Firm, including claims analysis and evaluation of the

                                                                   5   Debtor’s best venue to exit Chapter 11.

                                                                   6           Attached hereto as Exhibit B are copies of the Firm’s time reports and records kept in the

                                                                   7   regular course of business reflecting the services rendered and the expenses incurred by the Firm

                                                                   8   during the Second Interim Period. The Firm’s time reports are initially handwritten or recorded via

                                                                   9   computer by the attorney or paralegal performing the described services. The time reports are

                                                                  10   organized on a daily basis. The Firm is sensitive to issues of “lumping,” and unless time was spent

                                                                  11   in one time frame on a variety of different matters for a particular client, separate time entries are set
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12   forth in the time reports. The Firm’s charges for its professional services are based upon the time,
                                        LOS ANGELES, CALIFORNIA




                                                                  13   nature, extent and value of such services and the cost of comparable services in the Southern
                                           ATTORNEYS AT LAW




                                                                  14   California region, other than in a case under the Bankruptcy Code.

                                                                  15                                                      V.

                                                                  16                                               CONCLUSION

                                                                  17           This is the Firm’s second and final request for compensation. Neither the Firm, nor any

                                                                  18   partners or associates of the Firm, has any agreement or any understanding of any kind or nature to

                                                                  19   divide, pay over, or share any portion of the fees to be awarded the Firm with any other person or

                                                                  20   attorney, except among partners and employees of the Firm.

                                                                  21           The Firm believes that the services rendered for which compensation is sought in this

                                                                  22   Application have been beneficial to the estate, that the costs incurred have been necessary and

                                                                  23   proper, and that the sums requested for the services rendered and the costs incurred are fair and

                                                                  24   reasonable.

                                                                  25           WHEREFORE, Pachulski Stang Ziehl & Jones LLP respectfully requests that this Court

                                                                  26   enter an order (1) approving on a final basis fees in the amount of $1,045,803.00 reimbursement of

                                                                  27   expenses of $23,261.02, for a total amount of $1,069,064.02; (2) approving on an interim and final

                                                                  28   basis (i) fees in the amount of $279,230.25 and expenses in the amount of $6,418.79 incurred during


                                                                       DOCS_LA:310140.4 03751/002                          19
                                                                   Case 8:15-bk-13008-TA            Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00          Desc
                                                                                                     Main Document    Page 23 of 118


                                                                   1   the Second Interim Period; and (3) authorizing payment to the Firm of unpaid fees and unreimbursed

                                                                   2   expenses in the amount of $558,741.14 to the extent of available funds and consistent with the

                                                                   3   provisions of the Bankruptcy Code.

                                                                   4
                                                                       Dated: November 15, 2017                PACHULSKI STANG ZIEHL & JONES LLP
                                                                   5

                                                                   6                                           By    /s/ Jeffrey N. Pomerantz
                                                                                                                    Jeffrey N. Pomerantz (CA Bar No. 143717)
                                                                   7                                                Ira D. Kharasch (CA Bar No. 109084)
                                                                                                                    Shirley S. Cho (CA Bar No. 192616)
                                                                   8                                                Attorneys for the Official Committee of
                                                                                                                    Unsecured Creditors
                                                                   9

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P ACHULSKI S TANG Z IEHL & J ONES LLP




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                                        LOS ANGELES, CALIFORNIA




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                                           ATTORNEYS AT LAW




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                                                                   Case 8:15-bk-13008-TA            Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00                Desc
                                                                                                     Main Document    Page 24 of 118


                                                                   1                                DECLARATION OF JEFFREY N. POMERANTZ

                                                                   2           I, Jeffrey N. Pomerantz, declare as follows:

                                                                   3           1.       I am an attorney at law duly authorized to practice in the State of California and

                                                                   4   before this court. I am a partner of the law firm of Pachulski Stang Ziehl & Jones LLP, general

                                                                   5   bankruptcy counsel for the Committee.

                                                                   6           2.       I have personal knowledge of the facts set forth in the foregoing Application and, if

                                                                   7   called upon as a witness, I could and would competently testify as to all of the matters stated therein.

                                                                   8           3.       I have personally reviewed the information contained in the Application, and believe

                                                                   9   its contents to be true and correct to the best of my knowledge, information and belief.

                                                                  10           4.       The Firm is not charging the Committee for outgoing faxes. The Firm’s

                                                                  11   photocopying machines automatically record the number of copies made when the person that is
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                                                                  12   doing the copying enters the client’s account number into a device attached to the photocopier. The
                                        LOS ANGELES, CALIFORNIA




                                                                  13   Firm summarizes each client’s photocopying charges on a daily basis. Whenever feasible, the Firm
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                                                                  14   sends large copying projects to an outside copy service that charges a reduced rate for photocopying.

                                                                  15           5.       Regarding providers of on-line legal research (e.g., LEXIS and WESTLAW), the

                                                                  16   Firm charges the standard usage rates these providers charge for computerized legal research. The

                                                                  17   Firm charges the standard usage rates these providers charge for computerized legal research. Any

                                                                  18   volume discount received by the Firm is passed on to the client.

                                                                  19           6.       The Firm does not charge for local or long distance calls placed by attorneys from

                                                                  20   their offices. The Firm only bills its clients for the actual costs charged the Firm by teleconferencing

                                                                  21   services in the event that a multiple party teleconference is initiated through the Firm.

                                                                  22           7.       The Firm believes the foregoing rates are the market rates that the majority of law

                                                                  23   firms charge clients for such services. In addition, the Firm believes that such charges are in

                                                                  24   accordance with the American Bar Association’s (“ABA”) guidelines, as set forth in the ABA’s

                                                                  25   Statement of Principles, dated January 12, 1995, regarding billing for disbursements and other

                                                                  26   charges.

                                                                  27           8.       I have personally reviewed the bills in this matter, and the bills represent true and

                                                                  28   correct charges to the best of my knowledge, information and belief.

                                                                                                                            1
                                                                       DOCS_LA:310140.4 03751/002
                                                                   Case 8:15-bk-13008-TA            Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00            Desc
                                                                                                     Main Document    Page 25 of 118


                                                                   1           9.       Local Bankruptcy Rule 2016-1(a) (1) (K) Compliance -- I have reviewed Local

                                                                   2   Bankruptcy Rule 2016-1 and the Application complies with Local Bankruptcy Rule 2016-1.

                                                                   3           I declare under penalty of perjury under the laws of the State of California and the United

                                                                   4   States of America that the foregoing is true and correct.

                                                                   5           Executed this 15th day of November 2017, at Los Angeles, California.

                                                                   6
                                                                                                                              /s/Jeffrey N. Pomerantz
                                                                   7
                                                                                                                              Jeffrey N. Pomerantz
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                                        LOS ANGELES, CALIFORNIA




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                                                                       DOCS_LA:310140.4 03751/002
Case 8:15-bk-13008-TA   Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00   Desc
                         Main Document    Page 26 of 118




                         EXHIBIT A
  Case 8:15-bk-13008-TA         Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00          Desc
                                        ANNA'S LINENS,
                                 Main Document     PageINC.27 of 118
                                                Chapter 11
                                          Case No. 8:15‐13008 TA



           Anna's Linens, Inc. FEE APPLICATION:
           Date: October 1, 2015 ‐ March 30, 2016


                    ATTORNEYS:              Year     Hourly        Current   Total
                                          Admitted    Rate          Hours
           Ira D. Kharasch (Partner)       1983      $ 975.00       84.5      $76,050.00
           Ira D. Kharasch (Travel)        1983      $ 487.00       2.5        $1,218.75
           Debra I. Grassgreen             1994      $ 925.00       8.6        $7,955.00
           (Partner)
           Andrew W. Caine (Partner)       1983      $ 925.00       19.2      $17,760.00

           Jeffrey N. Pomerantz            1989      $ 895.00        3.4       $2,864.00
           (Partner)
           Stanley E. Goldich (Partner)    1980      $ 875.00        3.9       $1,925.00

           David J. Barton (Partner)       1981      $ 875.00        2.3       $2,012.50
           Iain A.W. Nasatir (Partner)     1981      $ 850.00        1.5       $1,275.00

           James K.T. Hunter               1976      $ 825.00        86       $64,680.00
           (Counsel)
           Harry D. Hochman                1987      $ 750.00        0.6        $450.00
           (Counsel)
           Shirley S. Cho (Counsel)        1997      $ 750.00        48       $32,775.00
           Jonathan J. Kim (Counsel)       1996      $ 695.00       31.5      $21,892.50

           William S. Ramseyer             1980      $ 650.00       23.4      $11,115.00
           (Counsel)
           Teddy M. Kapur (Partner)        2004      $ 575.00        0.2        $115.00

           Cia H. Mackle (Counsel)         2006      $ 525.00        9.4       $4,935.00



                                                                     325     $247,022.75




DOCS_LA 293994 v1
  Case 8:15-bk-13008-TA         Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00              Desc
                                        ANNA'S LINENS,
                                 Main Document     PageINC.28 of 118
                                               Chapter 11
                                         Case No. 8:15‐13008 TA


           PARAPROFESSIONALS               Year      Rate         Current         Total
                                         Admitted                  Hours
           Leslie A. Forrester (Law                 $ 325.00                2 $       650.00
           Librarian)
           Felice Harrison (Paralegal)              $ 305.00           79.9 $      23,485.00

           Patricia J. Jeffries                     $ 305.00            0.5 $         152.50
           (Paralegal)
           Michael Matteo (Paralegal)               $ 275.00           28.8 $       7,920.00

                                                                      111.2       $32,207.50

           TOTAL HOURS                                               436.20

           TOTAL FEES REQUESTED                                $279,230.25
           BLENDED HOURLY RATE INCLUDING                            $491.82
           PARAPROFESSIONALS

           BLENDED HOURLY RATE EXCLUDING                            $551.31
           PARAPROFESSIONALS




DOCS_LA 293994 v1
   Case 8:15-bk-13008-TA                Doc 2033 ANNA'S
                                                  FiledLINENS,
                                                         11/15/17
                                                                INC.
                                                                       Entered 11/15/17 16:08:00   Desc
                                         Main Document       Page
                                                     Chapter 11
                                                                     29 of 118
                                                       Case No. 8:15‐13008 TA




I. Services             ProfessionaRate            Hours            Fees

Appeals                    JKH     $ 825.00                   0.1 $            82.50
                           SSC     $ 750.00                   0.4 $           300.00

Subtotal                                                     0.50            $382.50


Asset Analysis             IDK     $    975.00                3.5   $       3,412.50
                           DG      $    925.00               8.60   $       7,955.00
                           JNP     $    895.00               1.00   $         895.00
                           DJB     $    875.00               2.30   $       2,012.50
                           JKH     $    825.00               3.70   $       3,052.50
                           SSC     $    750.00               0.10   $          75.00
                            PJJ    $    305.00               0.50   $         152.50
Subtotal                                                    19.70          $17,555.00

Avoidance Actions          IDK            975.00             0.50           $487.50
                          AWC             925.00            19.20        $17,760.00
                          JNP             895.00             0.10            $89.50
                          SSC             750.00             0.80           $600.00
                          FSH             305.00             0.20            $61.00
                          MAM             275.00            28.80         $7,920.00
Subtotal                                                    49.60        $26,918.00

Asset Disposition          IDK            975.00             0.50             $487.50
                           JKH            825.00             0.30             $247.50
                           SSC            750.00             0.70             $525.00
                           TMK            575.00             0.20             $115.00
                           FSH            305.00             0.20              $61.00
                                                             1.90           $1,436.00

Bankruptcy Litigation      IDK            975.00            28.10        $27,397.50
                          JNP             895.00             0.40           $358.00
                          JKH             825.00            68.80        $56,760.00
                           SSC            750.00             1.80         $1,350.00
                           JJK            695.00            31.50        $21,892.50
                          CHM             525.00             9.40         $4,935.00
                           LAF            325.00             1.00           $325.00
                          FSH             305.00             3.20           $976.00
Subtotal                                                   144.20       $113,994.00


Case Administration        SSC            750.00             0.40              300.00
                           FSH            305.00            10.60           $3,233.00
Subtotal                                                    11.00           $3,533.00

Claims Admin/Obj           IDK         975.00               16.30          $15,892.50
                           JKH         825.00                2.30           $1,897.50



DOCS_LA 293994 v1
   Case 8:15-bk-13008-TA     Doc 2033 ANNA'S
                                       FiledLINENS,
                                              11/15/17
                                                     INC.
                                                            Entered 11/15/17 16:08:00   Desc
                              Main Document       Page
                                          Chapter 11
                                                          30 of 118
                                       Case No. 8:15‐13008 TA




                      SSC   750.00       12.00       $9,000.00
                      FSH   305.00        6.70       $2,043.50
Subtotal                                 37.30      $28,833.50


Compensation of
Professionals         IDK   975.00         7.6       $1,072.50
                      JNP   895.00         0.3          $89.50
                      SEG   875.00         1.7           $0.00
                      JKH   825.00         7.9         $247.50
                      HDH   750.00         0.6         $450.00
                      SSC   750.00        14.3       $7,500.00
                      WLR   650.00        23.4      $11,115.00
                      LAF   325.00           1         $325.00
                      FSH   305.00        19.4       $5,032.50
Subtotal                                  76.2      $25,832.00

Compensation of
Professionals ‐
Others                SSC   750.00          1.3        $975.00

Subtotal                                   1.3         $975.00


Executory Contracts   IDK   975.00         1.6       $1,560.00
                      SSC   750.00         0.2         $150.00
Subtotal                                   1.8       $1,710.00


Financial Filings     JKH   825.00         0.3         $247.50
                      FSH   305.00         0.4         $122.00
Subtotal                                   0.7         $369.50

Financing             IDK   975.00         0.2         $195.00
                      SSC   750.00           2       $1,500.00
                      FSH   305.00         0.5         $152.50
Subtotal                                   2.7       $1,847.50

Advice                IDK   975.00        13.3      $12,967.50
                      SSC   750.00         0.5         $375.00
Subtotal                                  13.8      $13,342.50

General Creditors
Committee
                      IDK    975          12.4      $12,090.00
                      JNP    895           1.6       $1,432.00
                      JKH    825           2.6       $2,145.00
                      SSC    750           9.1       $6,825.00
                      FSH    305          38.7      $11,803.50
Subtotal                                  64.4      $34,295.50




DOCS_LA 293994 v1
   Case 8:15-bk-13008-TA     Doc 2033 ANNA'S
                                       FiledLINENS,
                                              11/15/17
                                                     INC.
                                                            Entered 11/15/17 16:08:00   Desc
                              Main Document       Page
                                          Chapter 11
                                                          31 of 118
                                          Case No. 8:15‐13008 TA




Hearing              SSC    750.00             3.1       $2,325.00

Subtotal                                       3.1      $2,325.00

Insurance
 Coverage            IAWN    850               1.5      $1,275.00
                      SSC    750               0.1         $75.00
Subtotal                                       1.6      $1,350.00


Operations           IDK     975               0.2        $195.00
                     SSC     750               0.5        $375.00
Subtotal                                       0.7        $570.00


Retention of Other
Professionals        SSC     750               0.7        $525.00

Subtotal                                       0.7        $525.00


Tax Issues           IDK     975               0.3         $292.50
                     SEG     875               2.2       $1,925.00

Subtotal                                       2.5      $2,217.50

Travel               IDK     487               2.5       $1,218.75

Subtotal                                       2.5      $1,218.75

                                     Total Hrs.              436.2
                                     Total Services   $279,230.25




DOCS_LA 293994 v1
    Case 8:15-bk-13008-TA                      Doc 2033 ANNA'S
                                                         FiledLINENS,
                                                                11/15/17
                                                                       INC.
                                                                              Entered 11/15/17 16:08:00                                Desc
                                                Main Document       Page
                                                            Chapter 11
                                                                            32 of 118
                                                                 Case No. 8:15‐13008 TA




                                                              Monthly Fees by Category

                               October      November          December           January       February            March             Total
Appeals                    $        ‐       $   82.50     $         ‐        $         75.00 $      150.00     $       75.00     $      382.50
Asset Analysis/ Recovery        $6,514.50     $4,710.00          $4,179.00           $749.00       $1,402.50             $0.00        $17,555.00
Avoidance Actions               $3,612.50     $8,604.50         $11,150.00          $1,080.00      $1,541.00          $930.00         $26,918.00
Asset Disposition               $1,188.50         $0.00              $0.00              $0.00       $247.50              $0.00         $1,436.00
Bankruptcy Litigation          $16,858.50    $13,695.00         $37,537.00         $32,376.50 $    6,475.00          $7,052.00       $113,994.00
Case Administration             $1,525.00      $427.00            $532.50            $532.50        $516.00              $0.00         $3,533.00
Claims Admin and
                                $4,999.00     $3,101.50          $3,551.50          $6,741.50      $6,726.00         $3,714.00        $28,833.50
Objections
Compensation of
                               $10,997.00    $13,488.00          $1,347.00              $0.00          $0.00             $0.00        $25,832.00
Professionals
Compensation of
                                    $0.00      $975.00               $0.00              $0.00          $0.00             $0.00          $975.00
Proessionals/Others
General Creditors
                                $5,741.50     $7,064.00           $776.50           $8,115.00      $7,498.50         $5,100.00        $34,295.50
Committee
Insurance Coverage                $75.00          $0.00          $1,275.00              $0.00          $0.00             $0.00         $1,350.00
Executory Contracts                 $0.00     $1,365.00              $0.00           $345.00           $0.00             $0.00         $1,710.00
Financing                       $1,441.50      $211.00            $195.00               $0.00          $0.00             $0.00         $1,847.50
Financial Filings                   $0.00        $0.00               $0.00           $122.00           $0.00          $247.50           $369.50
General Business Advice         $3,705.00     $2,535.00          $2,437.50           $390.00       $2,835.00         $1,440.00        $13,342.50
Hearing                          $375.00       $150.00            $225.00            $900.00        $300.00           $375.00          $2,325.00
Operations                       $570.00          $0.00              $0.00              $0.00          $0.00             $0.00          $570.00
Retention of
                                 $300.00          $0.00              $0.00           $225.00           $0.00             $0.00          $525.00
Professionals/Others
Tax Issues                       $525.00      $1,497.50           $195.00               $0.00          $0.00             $0.00         $2,217.50
Travel                              $0.00         $0.00          $1,218.75              $0.00          $0.00             $0.00         $1,218.75
            Totals             $58,428.00    $57,906.00         $64,619.75         $51,651.50     $27,691.50        $18,933.50       $279,230.25




DOCS_LA 293994 v1
   Case 8:15-bk-13008-TA         Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00   Desc
                                         ANNA'S LINENS,
                                  Main Document     PageINC.33 of 118
                                              Chapter 11
                                        Case No. 8:15‐13008 TA



II. EXPENSES
 Attorney Service                                                   $ 335.00
 Bloomberg                                                          $ 187.80
 Conference Call                                                    $ 423.12
 Federal Express                                                    $    39.53
 Lexis/Nexis (Legal Research)                                       $ 1,134.33
 Outside Reproduction Services                                      $ 2,393.60
 Pacer                                                              $ 217.40
 Postage                                                            $     2.74
 Reproduction Expense                                               $    27.30
 Reproduction/Scan Copy                                             $ 560.00
 Travel Expense                                                     $    39.00
 Transcript                                                         $ 335.00
 Westlaw (Legal Research)                                           $ 723.97

TOTAL:                                                              $ 6,418.79




DOCS_LA 293994 v1
    Case 8:15-bk-13008-TA              Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00                                        Desc
                                               ANNA'S LINENS,
                                        Main Document     PageINC.34 of 118
                                                     Chapter 11
                                               Case No. 8:15‐13008 TA


Monthly Expenses by Category
                                            Monthly Expenses by Category

                 September   October    November December                January       February           March               Total
II. Expenses
Attorney
Service          $      ‐    $      ‐   $      ‐     $       ‐       $     335.00 $          ‐        $           ‐       $      335.00
Bloomberg        $      ‐    $ 187.80   $      ‐     $       ‐           $       ‐ $         ‐        $           ‐       $      187.80
Conference
Call             $    25.13 $    37.00 $    116.10   $  73.41 $  85.50 $ 7.79 $                               78.19 $            423.12
Fed Ex           $       ‐ $      7.64 $     15.54    $     ‐ $      ‐ $     ‐ $                               16.35 $             39.53
Lexis Nexis      $       ‐ $        ‐ $      73.43   $ 168.11 $ 892.79 $     ‐ $                                   ‐ $          1,134.33
Outside
Services         $ 1,388.60 $ 335.00 $      335.00       $ ‐ $                   ‐ $ 335.00 $                      ‐ $          2,393.60
Pacer            $       ‐ $ 83.20 $         58.30   $ 13.40 $                7.20 $ 23.50 $                   31.80 $            217.40
Postage          $       ‐ $       ‐ $        2.74    $    ‐ $                   ‐ $      ‐ $                      ‐ $              2.74
Reproduction


                 $      ‐    $   0.10 $     27.20        $       ‐       $         ‐    $         ‐       $           ‐   $           27.30
Reproduction
Scan/Copy

                 $      ‐    $   55.40 $    178.30   $ 152.60 $               24.80 $ 36.10 $                 112.80 $            560.00
Transcript       $      ‐    $      ‐ $         ‐     $     ‐ $              335.00 $     ‐ $                      ‐ $            335.00
Travel Expense
                 $    39.00 $      ‐    $      ‐       $     ‐ $       ‐                $         ‐       $           ‐ $          39.00
Westlaw          $       ‐ $       ‐    $      ‐     $ 380.10 $ 343.87                  $         ‐       $           ‐ $         723.97
Total Expenses
                 $ 1,452.73 $ 706.14 $ 806.61        $ 787.62 $ 2,024.16 $ 402.39 $                           239.14 $          6,418.79




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Case 8:15-bk-13008-TA   Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00   Desc
                         Main Document    Page 35 of 118




                         EXHIBIT B
      Case 8:15-bk-13008-TA      Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00   Desc
                                  Main Document    Page 36 of 118

                                 Pachulski Stang Ziehl & Jones LLP
                                         10100 Santa Monica Blvd.
                                                13th Floor
                                          Los Angeles, CA 90067
                                                                    March 30, 2016
JNP                                                                 Invoice 117787
                                                                    Client   03751
                                                                    Matter   00002
                                                                             JNP
RE: Committee Representation

___________________________________________________________________________

         STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 03/30/2016
               FEES                                                 $279,230.25
               EXPENSES                                                $6,418.79
               TOTAL CURRENT CHARGES                                $285,649.04

               BALANCE FORWARD                                      $558,776.81
               A/R Adjustments                                      -$285,684.71
               TOTAL BALANCE DUE                                    $558,741.14
      Case 8:15-bk-13008-TA             Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00           Desc
                                         Main Document    Page 37 of 118

Pachulski Stang Ziehl & Jones LLP                                                      Page:     2
Anna's Linen OCC                                                                       Invoice 117787
03751     00002                                                                        March 30, 2016




 Summary of Services by Task Code
 Task Code           Description                                              Hours                        Amount

 AA                  Asset Analysis/Recovery[B120]                             19.70                     $17,555.00
 AC                  Avoidance Actions                                         49.60                     $26,918.00
 AD                  Asset Disposition [B130]                                   1.90                      $1,436.00
 AP                  Appeals [B430]                                             0.50                       $382.50
 BL                  Bankruptcy Litigation [L430]                             144.20                    $113,994.00
 CA                  Case Administration [B110]                                11.00                      $3,533.00
 CO                  Claims Admin/Objections[B310]                             37.30                     $28,833.50
 CP                  Compensation Prof. [B160]                                 76.20                     $25,832.00
 CPO                 Comp. of Prof./Others                                      1.30                       $975.00
 EC                  Executory Contracts [B185]                                 1.80                      $1,710.00
 FF                  Financial Filings [B110]                                   0.70                       $369.50
 FN                  Financing [B230]                                           2.70                      $1,847.50
 GB                  General Business Advice [B410]                            13.80                     $13,342.50
 GC                  General Creditors Comm. [B150]                            64.40                     $34,295.50
 HE                  Hearing                                                    3.10                      $2,325.00
 IC                  Insurance Coverage                                         1.60                      $1,350.00
 OP                  Operations [B210]                                          0.70                       $570.00
 RPO                 Ret. of Prof./Other                                        0.70                       $525.00
 TI                  Tax Issues [B240]                                          2.50                      $2,217.50
 TR                  Travel                                                     2.50                      $1,218.75
                                                                              436.20                    $279,230.25

 Summary of Services by Professional
 ID          Name                                     Title           Rate             Hours               Amount

 AWC         Caine, Andrew W.                         Partner        925.00            19.20            $17,760.00
 CHM         Mackle, Cia H.                           Counsel        525.00             9.40             $4,935.00
 DG          Grassgreen, Debra I.                     Partner        925.00             8.60             $7,955.00
 DJB         Barton, David J.                         Partner        875.00             2.30             $2,012.50
 FSH         Harrison, Felice S.                      Paralegal        0.00             2.90                 $0.00
 FSH         Harrison, Felice S.                      Paralegal      305.00            77.00            $23,485.00
 HDH         Hochman, Harry D.                        Counsel        750.00             0.60              $450.00
       Case 8:15-bk-13008-TA          Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00    Desc
                                       Main Document    Page 38 of 118

Pachulski Stang Ziehl & Jones LLP                                             Page:     3
Anna's Linen OCC                                                              Invoice 117787
03751     00002                                                               March 30, 2016


 IAWN         Nasatir, Iain A. W.               Partner            850.00       1.50            $1,275.00
 IDK          Kharasch, Ira D.                  Partner              0.00       6.50                $0.00
 IDK          Kharasch, Ira D.                  Partner            487.50       2.50            $1,218.75
 IDK          Kharasch, Ira D.                  Partner            975.00      78.00           $76,050.00
 JJK          Kim, Jonathan J.                  Counsel            695.00      31.50           $21,892.50
 JKH          Hunter, James K. T.               Counsel              0.00       7.60                $0.00
 JKH          Hunter, James K. T.               Counsel            825.00      78.40           $64,680.00
 JNP          Pomerantz, Jeffrey N.             Partner              0.00       0.20                $0.00
 JNP          Pomerantz, Jeffrey N.             Partner            895.00       3.20            $2,864.00
 LAF          Forrester, Leslie A.              Other              325.00       2.00             $650.00
 MAM          Matteo, Mike A.                   Paralegal          275.00      28.80            $7,920.00
 PJJ          Jeffries, Patricia J.             Paralegal          305.00       0.50             $152.50
 SEG          Goldich, Stanley E.               Partner              0.00       1.70                $0.00
 SEG          Goldich, Stanley E.               Partner            875.00       2.20            $1,925.00
 SSC          Cho, Shirley S.                   Counsel              0.00       4.30                $0.00
 SSC          Cho, Shirley S.                   Counsel            750.00      43.70           $32,775.00
 TMK          Kapur, Teddy M.                   Partner            575.00       0.20             $115.00
 WLR          Ramseyer, William L.              Counsel              0.00       6.30                $0.00
 WLR          Ramseyer, William L.              Counsel            650.00      17.10           $11,115.00
                                                                             436.20            $279,230.25




 Summary of Expenses
Description                                                                                       Amount

Attorney Service [E107]                                                                           $335.00



Bloomberg                                                                                         $187.80



Conference Call [E105]                                                                            $423.12



Federal Express [E108]                                                                             $39.53
     Case 8:15-bk-13008-TA          Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00    Desc
                                     Main Document    Page 39 of 118

Pachulski Stang Ziehl & Jones LLP                                           Page:     4
Anna's Linen OCC                                                            Invoice 117787
03751     00002                                                             March 30, 2016


 Summary of Expenses
Description                                                                                   Amount


Lexis/Nexis- Legal Research [E                                                               $1,134.33



Outside Services                                                                             $2,393.60



Pacer - Court Research                                                                        $217.40



Postage [E108]                                                                                  $2.74



Reproduction Expense [E101]                                                                    $27.30



Reproduction/ Scan Copy                                                                       $560.00



Travel Expense [E110]                                                                          $39.00



Transcript [E116]                                                                             $335.00



Westlaw - Legal Research [E106                                                                $723.97



                                                                                             $6,418.79
     Case 8:15-bk-13008-TA           Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00                         Desc
                                      Main Document    Page 40 of 118

Pachulski Stang Ziehl & Jones LLP                                                                Page:     5
Anna's Linen OCC                                                                                 Invoice 117787
03751     00002                                                                                  March 30, 2016


                                                                                         Hours          Rate       Amount
  Asset Analysis/Recovery[B120]
09/14/2015    DG      AA        Review MBL analysis and research on Rabbi Trust           0.50       925.00        $462.50
10/04/2015    SSC     AA        Correspond with Fried re deferred compensation            0.10       750.00         $75.00
                                plan.
10/07/2015    IDK     AA        Emails with Debtor’s counsel, attorneys re status of      0.10       975.00         $97.50
                                info/diligence on Deepwater claim of Debtor.
10/12/2015    IDK     AA        Emails with attorneys re correspondence from              0.20       975.00        $195.00
                                counsel to claimants to rabbi trust, and need to
                                formulate response (.2).
10/12/2015    JNP     AA        Review Bastian letter and email to Debra                  0.10       895.00         $89.50
                                Grassgreen.
10/13/2015    DG      AA        Review letter from plan participants re: Rabbi trust      1.70       925.00       $1,572.50
                                and identify open issues (.6); begin review of key
                                documents (1.1)
10/13/2015    JNP     AA        Review and respond to Debra Grassgreen email              0.10       895.00         $89.50
                                regarding Rabbi Trust issues.
10/14/2015    DG      AA        Review Rabbi Trust plan documents and research            2.00       925.00       $1,850.00
10/14/2015    IDK     AA        Office conference with A. Caine re preference status      0.60       975.00        $585.00
                                and need for more analysis (.2); Review his
                                correspondence to financial advisor re same (.1);
                                Review entered order on assets to go to estate from
                                settlement on bid protections (.1); Emails with
                                attorneys re need for further relevant information on
                                rabbi’s trust (.2).
10/15/2015    IDK     AA        Emails with D. Grassgreen re status of rabbi trust        0.20       975.00        $195.00
                                analysis and next steps, and consider (.2).
10/15/2015    JNP     AA        Conference with Debra Grassgreen regarding Rabii          0.10       895.00         $89.50
                                Trust and J. Bastian arguments.
10/20/2015    IDK     AA        Emails with Debtor, Reeder, counsel for potential         0.60       975.00        $585.00
                                buyer of Debtor’s potential litigation claims, and J.
                                Pomerantz re Reeder’s proposal to purchase
                                remaining Debtor claims (.2); Emails with S. Cho re
                                copy of final reconciliation analysis and brief review
                                of same (.2); Review of S. Cho memo to Committee
                                re same and her summary of current pleadings (.1);
                                Review correspondence from Committee member re
                                same and estimate of distributions to 503(b)(9)(.1).
10/21/2015    JNP     AA        Emails with D. Reeder and E. Karasik regarding bid        0.10       895.00         $89.50
                                miscellaneous assets.
10/25/2015    JNP     AA        Review liquidation analysis and emails regarding          0.20       895.00        $179.00
                                same.
10/26/2015    IDK     AA        Review memo from Debtor with analysis of its              0.20       975.00        $195.00
                                litigation claims and offer to purchase and next
                                steps.
     Case 8:15-bk-13008-TA           Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00                         Desc
                                      Main Document    Page 41 of 118

Pachulski Stang Ziehl & Jones LLP                                                                Page:     6
Anna's Linen OCC                                                                                 Invoice 117787
03751     00002                                                                                  March 30, 2016


                                                                                         Hours          Rate       Amount
10/26/2015    JKH     AA        Review commercial tort claim assets, term sheet.          0.20       825.00        $165.00
11/02/2015    DG      AA        Review supplemental documents on Rabbi Trust              0.70       925.00        $647.50
                                Plan
11/02/2015    PJJ     AA        Print out deferred compensation plan enrollment           0.50       305.00        $152.50
                                confirmations and email to D. Grassgreen.
11/03/2015    DG      AA        Call with Newport re: Deferred Comp questions (.6);       1.10       925.00       $1,017.50
                                review supplemental documents (.5)
11/03/2015    IDK     AA        Emails with potential buyer re Debtor’s claims vs         0.30       975.00        $292.50
                                credit card companies (.1); Emails with A. Caine re
                                initial preference analysis, and brief review of same
                                (.2).
11/04/2015    DG      AA        Compile information; review documents and prepare         2.10       925.00       $1,942.50
                                draft of deferred compensation letter
11/04/2015    IDK     AA        Emails with attorneys and potential buyers of             0.20       975.00        $195.00
                                Debtor’s litigation claims re status (.2).
11/05/2015    DG      AA        Finalize letter re: deferred comp plan                    0.50       925.00        $462.50
12/14/2015    JNP     AA        Conference with Ira D. Kharasch regarding                 0.20       895.00        $179.00
                                litigation.
12/16/2015    IDK     AA        Emails with S Cho re bank drawdown on LC and              0.40       975.00        $390.00
                                stipulation re same (.2); Emails with debtor’s
                                counsel and J. Hunter re Debtor’s new proposal on
                                sale of litigation claims (.2).
12/16/2015    JKH     AA        Emails from, to Ira D. Kharasch regarding review          0.10       825.00         $82.50
                                Proposed Commercial Claims Agreement.
12/17/2015    JKH     AA        Telephone conference with, email from Karaski             0.30       825.00        $247.50
                                regarding Commercial Tort Claims Agreement.
12/18/2015    IDK     AA        Telephone conference/email to J. Hunter and               0.20       975.00        $195.00
                                Debtor's counsel regarding our feedback on the
                                Debtor’s proposal to sell litigation claims, and other
                                potential buyers.
12/18/2015    JKH     AA        Telephone call from Ira D. Kharasch regarding             0.60       825.00        $495.00
                                Commercial Tort Sale analysis, strategy (.2); Emails
                                to, from Karasik regarding further information
                                requests (.4).
12/22/2015    JKH     AA        Emails to, from David J. Barton and Iain A. W.            0.50       825.00        $412.50
                                Nasatir regarding indemnification issue and office
                                conference with Ira D. Kharasch regarding same.
12/23/2015    DJB     AA        Consider loan indemnity provisions.                       2.30       875.00       $2,012.50
12/23/2015    JKH     AA        Emails from, to David J. Barton analysis regarding        0.10       825.00         $82.50
                                indemnification issue.
12/29/2015    JKH     AA        Emails to, from Karasik regarding commercial torts        0.10       825.00         $82.50
                                claims.
01/06/2016    IDK     AA        Emails and office conferences with Debtor, J.             0.30       975.00        $292.50
     Case 8:15-bk-13008-TA           Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00                       Desc
                                      Main Document    Page 42 of 118

Pachulski Stang Ziehl & Jones LLP                                                              Page:     7
Anna's Linen OCC                                                                               Invoice 117787
03751     00002                                                                                March 30, 2016


                                                                                       Hours          Rate        Amount
                                Hunter, others re value of estate’s causes of action
                                vs credit card companies.
01/07/2016    IDK     AA        Emails to attorneys and Debtor re issues on value of    0.20       975.00         $195.00
                                credit card litigation.
01/07/2016    JNP     AA        Review emails regarding Visa and Mastercard             0.10       895.00          $89.50
                                claims; Forward to James K. T. Hunter.
01/13/2016    JKH     AA        Emails from Karasik, to, from Jeffrey N. Pomerantz      0.10       825.00          $82.50
                                regarding Visa/Mastercard claims.
01/13/2016    JNP     AA        Review and respond to emails regarding Visa and         0.10       895.00          $89.50
                                Mastercard claims.
02/10/2016    JKH     AA        Emails from, office conference with Cia H. Mackle       1.70       825.00        $1,402.50
                                regarding advancement, indemnification issue
                                regarding Greenberg fees and research same.
                                                                                       19.70                    $17,555.00

  Avoidance Actions
10/07/2015    AWC     AC        Call with EisnerAmper regarding preference data         0.40       925.00         $370.00
                                and review preliminary information.
10/08/2015    AWC     AC        Review SOFA data for preliminary preference             1.10       925.00        $1,017.50
                                analysis.
10/14/2015    AWC     AC        Analyze preference payment data, prepare                1.80       925.00        $1,665.00
                                preliminary spreadsheet and discussions with
                                EisnerAmper regarding additional data/analysis.
10/21/2015    AWC     AC        Discussion with TC regarding preference analysis,       0.30       925.00         $277.50
                                needed information.
10/29/2015    AWC     AC        Emails with EA regarding preference data status,        0.20       925.00         $185.00
                                timing.
10/29/2015    IDK     AC        Emails with A. Caine and Financial Advisor re           0.10       975.00          $97.50
                                status on preference analysis (.1).
11/03/2015    AWC     AC        Review debtor preference analysis, prepare working      1.20       925.00        $1,110.00
                                summary spreadsheet, and emails with team thereon.
11/06/2015    AWC     AC        Review Debtor’s analysis and call with EA               0.90       925.00         $832.50
                                regarding preference analysis/next steps, prepare
                                subset analyses.
11/06/2015    IDK     AC        Emails with A. Caine, J. Pomerantz re status of         0.10       975.00          $97.50
                                preference analysis and info needed (.1).
11/06/2015    JNP     AC        Review email scheduling regarding potential             0.10       895.00          $89.50
                                avoidance actions.
11/09/2015    AWC     AC        Emails with EA and Debtor regarding additional          0.10       925.00          $92.50
                                information, call.
11/13/2015    AWC     AC        Prepare for and call with Debtor and OCC FAs            1.20       925.00        $1,110.00
                                regarding preference analysis; prepare template and
                                list for ordinary course analyses.
     Case 8:15-bk-13008-TA           Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00                        Desc
                                      Main Document    Page 43 of 118

Pachulski Stang Ziehl & Jones LLP                                                               Page:     8
Anna's Linen OCC                                                                                Invoice 117787
03751     00002                                                                                 March 30, 2016


                                                                                        Hours          Rate       Amount
11/17/2015    SSC     AC        Review correspondence re complaints filed.               0.10       750.00         $75.00
11/20/2015    AWC     AC        Email with EA regarding analysis status.                 0.10       925.00         $92.50
11/23/2015    AWC     AC        Review ordinary course analysis approach with            0.20       925.00        $185.00
                                Michael Matteo.
11/24/2015    AWC     AC        Emails with debtor FA and EA regarding additional        0.60       925.00        $555.00
                                information, and review ordinary course available
                                data.
11/24/2015    MAM     AC        Create percentage completion tables for Andrew W.        4.10       275.00       $1,127.50
                                Caine regarding target vendors.
11/25/2015    AWC     AC        Emails with EisnerAmper regarding additional data        0.40       925.00        $370.00
                                and skim historical data file.
11/25/2015    MAM     AC        Create percentage completion tables for Andrew W.        3.20       275.00        $880.00
                                Caine for target vendors.
11/30/2015    AWC     AC        Review preference period ordinary course of              0.90       925.00        $832.50
                                business analyses and pre-preference period data
                                files.
11/30/2015    MAM     AC        Create percentage completion tables for Andrew W.        4.20       275.00       $1,155.00
                                Caine regarding target vendors.
12/01/2015    AWC     AC        Review historical data and discussions with team         0.50       925.00        $462.50
                                regarding analysis.
12/01/2015    IDK     AC        Emails with A. Caine re status of preference analysis    0.10       975.00         $97.50
                                (.1).
12/01/2015    MAM     AC        Create percentage completion tables for Andrew W.        4.30       275.00       $1,182.50
                                Caine regarding one year history of target vendors.
12/02/2015    MAM     AC        Create percentage completion tables for Andrew W.        1.80       275.00        $495.00
                                Caine.
12/03/2015    MAM     AC        Create percentage completion tables for Andrew W.        4.30       275.00       $1,182.50
                                Caine.
12/04/2015    MAM     AC        Create percentage completion tables for Andrew W.        4.10       275.00       $1,127.50
                                Caine using 1 year history datum.
12/07/2015    AWC     AC        Analyze ordinary course defenses.                        1.60       925.00       $1,480.00
12/07/2015    MAM     AC        Create tab on excel spreadsheet for Andrew W.            1.60       275.00        $440.00
                                Caine combining pre-preference and preference
                                percentage tables.
12/08/2015    AWC     AC        Analyze preference data and emails with team             2.80       925.00       $2,590.00
                                thereon.
12/08/2015    MAM     AC        Revised combined tab for Andrew W. Caine                 1.20       275.00        $330.00
                                regarding percentage completion tables.
12/09/2015    AWC     AC        Review defense analysis and new value data.              1.30       925.00       $1,202.50
12/10/2015    AWC     AC        Call with EA regarding preference data/analysis,         0.50       925.00        $462.50
                                prepare summary.
12/10/2015    IDK     AC        Emails with A. Caine re preference analysis.             0.10       975.00         $97.50
     Case 8:15-bk-13008-TA           Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00                        Desc
                                      Main Document    Page 44 of 118

Pachulski Stang Ziehl & Jones LLP                                                               Page:     9
Anna's Linen OCC                                                                                Invoice 117787
03751     00002                                                                                 March 30, 2016


                                                                                        Hours          Rate        Amount
01/05/2016    IDK     AC        Emails with A. Caine re status on preferences (.1).      0.10       975.00          $97.50
01/26/2016    AWC     AC        Review Exel proposed resolution and preference           0.50       925.00         $462.50
                                exposure issues and emails thereon.
01/27/2016    AWC     AC        Review files regarding S. Lichtenberg preference         0.40       925.00         $370.00
                                claim/settlement and emails thereon.
01/27/2016    SSC     AC        Analysis re insider payments.                            0.20       750.00         $150.00
02/08/2016    FSH     AC        Telephone call from creditor regarding preference        0.20       305.00          $61.00
                                letter sent by Debtor.
02/12/2016    AWC     AC        Calls with EA and Ira D. Kharasch regarding              0.30       925.00         $277.50
                                preferences.
02/22/2016    AWC     AC        Review notes and prepare memo regarding S.               0.40       925.00         $370.00
                                Lichtenberg potential preference exposure.
02/25/2016    AWC     AC        Review data, revise memo regarding S.Lichtenberg         0.90       925.00         $832.50
                                preference issues and emails with counsel thereon.
03/08/2016    AWC     AC        Review and analyze motion to compromise with             0.60       925.00         $555.00
                                Idea Village, et al, and emails with counsel thereon.
03/08/2016    SSC     AC        Review preference settlement motion.                     0.10       750.00          $75.00
03/08/2016    SSC     AC        Correspond with A. Caine re preference motion.           0.10       750.00          $75.00
03/10/2016    SSC     AC        Correspond with Committee re Lichtenberg                 0.20       750.00         $150.00
                                preference analysis.
03/10/2016    SSC     AC        Correspond with A. Caine re Lichtenberg preference       0.10       750.00          $75.00
                                analysis.
                                                                                        49.60                    $26,918.00

  Asset Disposition [B130]
06/29/2015    TMK     AD        Confer with J. Pomerantz and R. Gruber regarding         0.20       575.00         $115.00
                                agency agreement.
10/05/2015    IDK     AD        Emails with Debtor, Tiger counsel, Salus re final        0.30       975.00         $292.50
                                form of proposed order on settlement re bid
                                protections, including review of same and Tiger’s
                                counsels request for further revisions (.3).
10/20/2015    FSH     AD        Review Correspondence from Shirley S. Cho                0.20       305.00          $61.00
                                regarding Submission of Final Reconciliation
                                Agreement, prepare copy of same and transmit ti
                                Shirley S. Cho with summary.
10/26/2015    SSC     AD        Telephone conference with Kharasch re tort claims        0.10       750.00          $75.00
                                bid.
10/26/2015    SSC     AD        Review and analysis re commercial tort claims bid        0.30       750.00         $225.00
                                and correspond with committee re same.
10/27/2015    IDK     AD        Emails and office conference with J. Hunter re status    0.20       975.00         $195.00
                                and need for evaluation of Debtor’s litigation claims
                                for purpose of sale.
     Case 8:15-bk-13008-TA           Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00                        Desc
                                      Main Document    Page 45 of 118

Pachulski Stang Ziehl & Jones LLP                                                               Page: 10
Anna's Linen OCC                                                                                Invoice 117787
03751     00002                                                                                 March 30, 2016


                                                                                        Hours          Rate       Amount
10/27/2015    SSC     AD        Telephone conference with potential purchaser of         0.30       750.00        $225.00
                                commercial tort claims and correspond re same.
02/11/2016    JKH     AD        Emails from, to Jeffrey N. Pomerantz, Richards           0.30       825.00        $247.50
                                regarding Visa/Mastercard claims status.
                                                                                         1.90                    $1,436.00

  Appeals [B430]
11/11/2015    JKH     AP        Emails from, to Davis regarding BAP appeal               0.10       825.00         $82.50
                                stipulation.
01/05/2016    SSC     AP        Correspond with Kharasch re BAP appeal and 1/6           0.10       750.00         $75.00
                                hearing.
02/26/2016    SSC     AP        Telephone conference with S. Seflin re BAP appeal.       0.20       750.00        $150.00
03/01/2016    SSC     AP        Correspond with S. Seflin re BAP appeal.                 0.10       750.00         $75.00
                                                                                         0.50                     $382.50

  Bankruptcy Litigation [L430]
09/02/2015    CHM     BL        Legal research and draft email memorandum re             2.10       525.00       $1,102.50
                                deepening insolvency and email to J. Hunter.
09/04/2015    CHM     BL        Legal research re equitable subordination and email      0.40       525.00        $210.00
                                case quotes to J. Hunter re same.
09/14/2015    CHM     BL        Legal research re aiding and abetting breach of          2.50       525.00       $1,312.50
                                fiduciary duty, and punitive damages issues; email J.
                                Hunter re same.
10/01/2015    JKH     BL        Telephone conference, email with Komorsky                0.30       825.00        $247.50
                                regarding David conversation mediation strategy and
                                potential discovery.
10/02/2015    IDK     BL        E-mails with attorneys re coordination of committee      0.20       975.00        $195.00
                                consent to proposed split with other plaintiffs and
                                Salus feedback re mediator, including review of
                                same.
10/02/2015    JKH     BL        Emails from, to Jeffrey P. Nolan, Ira D. Kharasch        0.40       825.00        $330.00
                                regarding split offer approval issues (.2); Emails
                                from, to Davis, Komorsky, Jeffrey P. Nolan
                                regarding mediator selection (.2)
10/02/2015    JNP     BL        Email to Committee Members regarding litigation          0.10       895.00         $89.50
                                proposal.
10/03/2015    JKH     BL        Emails to, from Jeffrey N. Pomerantz regarding           0.30       825.00        $247.50
                                Committee contact issue.
10/05/2015    IDK     BL        Emails with Salus and J. Hunter re mediator (.1);        0.30       975.00        $292.50
                                Emails with Debtor’s counsel re stipulation re stay
                                of appeal of DIP order (.1); Emails with J. Hunter re
                                committee approval of split offer and getting it to
                                other plaintiffs (.1).
     Case 8:15-bk-13008-TA           Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00                       Desc
                                      Main Document    Page 46 of 118

Pachulski Stang Ziehl & Jones LLP                                                              Page: 11
Anna's Linen OCC                                                                               Invoice 117787
03751     00002                                                                                March 30, 2016


                                                                                       Hours          Rate      Amount
10/05/2015    JKH     BL        Emails, telephone conferences Shirley S. Cho,           1.10       825.00       $907.50
                                Joshua M. Fried (SF) regarding Rabbi Trust issue
                                (.3); Email Davis, Komorsky, telephone conferences
                                with Komorsky, Wynne regarding mediator contact
                                (.2); Telephone conference and emails White, emails
                                from, to Jeffrey N. Pomerantz, Ira D. Kharasch and
                                email to Gubner, Komorsky regarding split proposal
                                (.3); Telephone call from Komorsky regarding split
                                proposal (.3).
10/06/2015    JKH     BL        Email, review Eisen analysis of Salus loan issues       0.50       825.00       $412.50
                                (.2); Emails to, from Jeffrey N. Pomerantz, Ira D.
                                Kharasch regarding Wynne disclosure issues (.2);
                                Emails to, from Golubchik regarding Deepwater
                                Horizon claim analysis.
10/07/2015    JKH     BL        Email Calascibetta regarding additional Salus fees,     0.80       825.00       $660.00
                                review same (.1); Komorsky response, additional
                                questions regarding mediation split proposal and
                                review, begin preparation response to same (.7).
10/08/2015    JKH     BL        Emails from, to Komorsky regarding mediation            0.80       825.00       $660.00
                                issues and work on response to EBG questions.
10/12/2015    IDK     BL        Office conference with J. Hunter re how to respond      0.30       975.00       $292.50
                                to numerous inquiries from counsel to other
                                plaintiffs vs Salus on our split and
                                settlement/mediation memo, including review of
                                same inquires (.3).
10/12/2015    JKH     BL        Email Calscibetta, Ira D. Kharasch and Jeffrey N.       1.00       825.00       $825.00
                                Pomerantz regarding split proposal analysis issues
                                and forward partial draft response to Ira D.
                                Kharasch, Jeffrey N. Pomerantz for review,
                                comment.
10/12/2015    SSC     BL        Analysis re 10/14 response deadlines.                   0.20       750.00       $150.00
10/13/2015    IDK     BL        Email and office conference with J. Hunter re issues    0.20       975.00       $195.00
                                on Salus mediation and timing re same, including
                                consider same (.2).
10/13/2015    JKH     BL        Emails to, from Jeffrey N. Pomerantz, Cascibetta,       0.50       825.00       $412.50
                                Komorsky regarding mediation scheduling, split
                                proposal issues and telephone conference with
                                Komorksy regarding same.
10/14/2015    JKH     BL        Telephone conference with Komorsky regarding            0.30       825.00       $247.50
                                mediation dates, split proposal issues.
10/16/2015    JKH     BL        Telephone call from Komorsky and Davis regarding        0.20       825.00       $165.00
                                mediation date and email regarding same.
10/19/2015    JKH     BL        Conference call with Ira D. Kharasch, Calascibetta,     0.70       825.00       $577.50
                                Pedersen regarding split information inquiries (.6);
                                Emails from, to Komorsky regarding same (.1).
10/21/2015    IDK     BL        Emails with J. Hunter and Gubner office re              0.10       975.00        $97.50
     Case 8:15-bk-13008-TA           Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00                       Desc
                                      Main Document    Page 47 of 118

Pachulski Stang Ziehl & Jones LLP                                                              Page: 12
Anna's Linen OCC                                                                               Invoice 117787
03751     00002                                                                                March 30, 2016


                                                                                       Hours          Rate       Amount
                                mediation status and status of info requests (.1).
10/21/2015    JKH     BL        Conference call with Ira D. Kharasch, Calascibetta,     0.80       825.00        $660.00
                                Pedersen regarding split issues (.4); Office
                                conferences, emails with Shirley S. Cho, Karasik
                                regarding 503(b)(9) claim issues, analysis (.4).
10/23/2015    JKH     BL        Teleconference with Ira D. Kharasch and                 1.30       825.00       $1,072.50
                                Calascibetta regarding Waterfall analysis (.4);
                                Finalize draft split response, emails Jeffrey N.
                                Pomerantz, Ira D. Kharasch regarding same (.5);
                                Emails from, to Komorsky, Ira D. Kharasch, Jeffrey
                                N. Pomerantz regarding proposed EBG fee
                                arrangement (.4).
10/23/2015    JNP     BL        Emails regarding communication with S. Gubner           0.10       895.00         $89.50
                                regarding fee proposal.
10/23/2015    JNP     BL        Conference with Ira D. Kharasch regarding               0.10       895.00         $89.50
                                mediation and related issues.
10/23/2015    SSC     BL        Meet and confer with I. Kharasch re status of           0.20       750.00        $150.00
                                various pending items.
10/24/2015    JKH     BL        Emails, office conference with Ira D. Kharasch          0.30       825.00        $247.50
                                regarding Gubner email, response regarding offer
                                split proposal.
10/25/2015    JKH     BL        Office conference with Ira D. Kharasch regarding        0.60       825.00        $495.00
                                proposed fee issue, forward split proposal responses
                                (.4); Review revised Waterfall, emails from
                                Calascibetta, Jeffrey N. Pomerantz regarding same
                                (.2).
10/26/2015    IDK     BL        Office conference with J. Hunter re feedback from       0.20       975.00        $195.00
                                Gubner office on settlement issues and status (.2).
10/27/2015    IDK     BL        Numerous emails with Gubner group re issues on          0.90       975.00        $877.50
                                Salus litigation and mediation and coordination of
                                call to discuss split of potential settlement (.4);
                                Emails with Ori Katz, representative committee
                                member, re same (.3); Office conferences with J.
                                Hunter re same (.2).
10/28/2015    IDK     BL        Review and consider Gubner office memo re their         0.50       975.00        $487.50
                                feedback to our responses to their many litigation
                                related issues, and their further questions re same
                                (.3); Office conferences with J. Hunter re how to
                                respond to same, and issues for tomorrow’s call with
                                them (.2).
10/28/2015    JKH     BL        Emails from Davis regarding BAP Appeal effect on        0.40       825.00        $330.00
                                mediation (.1); Email from Komorsky, office
                                conference with Ira D. Kharasch regarding followup
                                questions on split agreement (.3).
10/29/2015    IDK     BL        Attend conference call with Gubner group and J.         1.50       975.00       $1,462.50
                                Hunter re issues on Salus litigation, especially how
     Case 8:15-bk-13008-TA           Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00                         Desc
                                      Main Document    Page 48 of 118

Pachulski Stang Ziehl & Jones LLP                                                                Page: 13
Anna's Linen OCC                                                                                 Invoice 117787
03751     00002                                                                                  March 30, 2016


                                                                                         Hours          Rate       Amount
                                to agree to split of potential settlement, and
                                assessment of various claims of estate and evidence
                                (.9); Office conferences with J. Hunter re result of
                                call and how to address subsequent litigation vs
                                insiders, and consider same (.2); Emails with
                                Debtor’s counsel re questions on D&O policy and
                                status of same on extension (.2); Office conference
                                and emails with J. Hunter re same and re extension
                                policies re D&O (.2).
10/29/2015    JKH     BL        Office conferences with Ira D. Kharasch and               1.30       825.00       $1,072.50
                                preparation, participate in conference call with
                                Gubner, Komorsky regarding mediation split,
                                procedure issues (.8); Emails from, to Golubchik, Ira
                                D. Kharasch, Komorsky, Davis regarding D&O
                                policy status and review files regarding same (.5).
11/03/2015    JKH     BL        Teleconference with Ira D. Kharasch, Pedersen,            0.30       825.00        $247.50
                                Calascibetta regarding financial issues (.3).
11/04/2015    IDK     BL        Telephone conference and emails with Gubner re            0.20       975.00        $195.00
                                litigation re Salus and his request to continue call
                                (.2).
11/04/2015    JKH     BL        Office conference with Ira D. Kharasch, emails            0.50       825.00        $412.50
                                Gubner regarding split conference call (.1);
                                Telephone call from Davis, Komorsky and email
                                from Davis regarding mediation issues (.2); Review
                                Gubner letter regarding split counterproposal (.2).
11/05/2015    IDK     BL        Review and consider Gubner’s counter re how to            1.20       975.00       $1,170.00
                                split potential settlement proceeds re Salus and his
                                proposal re split and contingency fee re next
                                litigation against Directors and Officers (.3); Office
                                conference with J. Hunter re his feedback on such
                                proposal and how to respond (.2); Attend conference
                                call with Gubner team and J. Hunter re same (.4);
                                Office conference with J. Hunter re next steps in
                                preparing our new counter to splits and re upcoming
                                mediation with Salus (.2); Email to Debtor’s counsel
                                re upcoming Salus mediation and Debtor non-role re
                                same (.1).
11/05/2015    JKH     BL        Review, office conference with Ira D. Kharasch and        1.50       825.00       $1,237.50
                                conference call Gubner, Ira D. Kharasch, Komorsky
                                regarding EBG counterproposal regarding split (.8);
                                Review revised waterfall analysis (.1); Review Salus
                                Request for Production of Documents regarding
                                mediation (.1); Teleconference with Davis,
                                Komorsky regarding mediation issues and email
                                Committee regarding same (.5).
11/06/2015    IDK     BL        Emails with J. Hunter and Committee re status of          0.10       975.00         $97.50
                                Salus mediation (.1).
11/09/2015    JKH     BL        Emails from, to Davis regarding BAP appeal                1.50       825.00       $1,237.50
     Case 8:15-bk-13008-TA           Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00                        Desc
                                      Main Document    Page 49 of 118

Pachulski Stang Ziehl & Jones LLP                                                               Page: 14
Anna's Linen OCC                                                                                Invoice 117787
03751     00002                                                                                 March 30, 2016


                                                                                        Hours          Rate       Amount
                                                                                                                  ,
                                stipulation (.1); Emails to, from, telephone
                                conference with Komorsky, Davis regarding
                                Committee split counterproposal (1.4).
11/13/2015    IDK     BL        Review Gubner’s counter proposal on settlement           0.40       975.00        $390.00
                                split re Salus (.2); Office conference with J. Hunter
                                re same and how to respond, and consider (.2).
11/13/2015    JKH     BL        Telephone conference with and emails from Davis,         0.30       825.00        $247.50
                                Gubner regarding revised split counterproposal.
11/16/2015    IDK     BL        Office conference and e-mail with J. Hunter re           0.10       975.00         $97.50
                                evidence on collateral value re Salus and need for
                                further analysis from Financial Advisors (.1).
11/16/2015    JKH     BL        Emails, telephone conference with Komorsky, Davis        2.00       825.00       $1,650.00
                                regarding preparation for mediation, discovery
                                issues (.4); Search Salus files regarding key
                                documents (1.3); Emails to, from Calascibetta
                                regarding damages analysis for Salus mediation (.3).
11/17/2015    JKH     BL        Emails, telephone conference with Calascibetta,          0.50       825.00        $412.50
                                Pedersen regarding Salus damages analyses (.4);
                                Emails from Davis regarding document production
                                status, briefing schedule (.1).
11/18/2015    JKH     BL        Review files, documents regarding response to Salus      3.40       825.00       $2,805.00
                                pre-mediation discovery request (2.6); Committee
                                conference all (.4); Emails from, to Komorsky,
                                email non-EBG Committee members regarding
                                mediation split, procedure proposal (.3); Email
                                Pederson regarding unsecured creditor analysis
                                request (.1).
11/19/2015    JKH     BL        Emails from, to Davis, Wynne, Komorsky regarding         1.20       825.00        $990.00
                                mediation issues and teleconference regarding same
                                (.4); Emails from, to Golubchick, Davis regarding
                                document production, privilege issues and telephone
                                conference with Davis regarding same (.5);
                                Telephone conference with Pederson regarding
                                unsecured creditor analysis request (.3).
11/20/2015    IDK     BL        Emails with Committee re setting call this week on       0.40       975.00        $390.00
                                new revised split proposal re any potential
                                settlement with Salus (.1); Office conference with J.
                                Hunter re same (.1); Office conference with J.
                                Hunter over weekend re mediation concerns and
                                Salus demand of all committee clients being there
                                and problem with same (.2).
11/21/2015    JKH     BL        Office conference with Ira D. Kharasch regarding         0.10       825.00         $82.50
                                mediation committee member attendance issue.
11/23/2015    IDK     BL        Attend conference call with sub-committee on the         0.70       975.00        $682.50
                                upcoming Salus litigation re proposal on split re
                                settlement (.7).
     Case 8:15-bk-13008-TA           Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00                       Desc
                                      Main Document    Page 50 of 118

Pachulski Stang Ziehl & Jones LLP                                                              Page: 15
Anna's Linen OCC                                                                               Invoice 117787
03751     00002                                                                                March 30, 2016


                                                                                       Hours          Rate       Amount
11/23/2015    JKH     BL        Preparation for, attend non-EBG group call              1.10       825.00        $907.50
                                regarding splitting agreement.
11/25/2015    JKH     BL        Telephone conference with Calascibetta, Pederson        0.20       825.00        $165.00
                                regarding preparation for mediation.
11/30/2015    IDK     BL        E-mails with sub group re call tomorrow on Salus        0.20       975.00        $195.00
                                litigation and mediation.
11/30/2015    JKH     BL        Telephone conferences, emails Ira D. Kharasch           0.10       825.00         $82.50
                                regarding Committee meeting scheduling.
12/01/2015    IDK     BL        Attend conference call with committee sub-group on      0.80       975.00        $780.00
                                Salus litigation and open issues re Gubner group on
                                split of settlement proceeds (.5); Office conference
                                and emails with J. Hunter and other sub-committee
                                members re same on getting other consents to deal
                                with Gubner (.3).
12/01/2015    JKH     BL        Preparation for, attend Committee sub-group             0.80       825.00        $660.00
                                conference call (.7); Email sub-group regarding
                                same (.1).
12/02/2015    IDK     BL        Office conference with J. Hunter re feedback from       0.20       975.00        $195.00
                                other committee members on settlement split and
                                mediation issues (.2).
12/02/2015    JKH     BL        Emails to, from Committee Members, office               0.20       825.00        $165.00
                                conference with Ira D. Kharasch regarding EBG
                                split proposal recommendation, decision.
12/03/2015    JKH     BL        Emails from White, to EBG group regarding split         0.10       825.00         $82.50
                                agreement acceptance.
12/04/2015    IDK     BL        Emails with Debtor counsel re Gubner massive            0.30       975.00        $292.50
                                discovery on Debtor (.2); Office conference with J.
                                Hunter re same and how to respond to same (.1).
12/04/2015    JKH     BL        Email from Ira D. Kharasch, telephone conference        3.40       825.00       $2,805.00
                                with Ira D. Kharasch regarding EBG letter regarding
                                discovery (.2); Emails to, from Pedersen regarding
                                Salus damages analysis and office conference with
                                Ira D. Kharasch regarding same (.2); Review EBG
                                draft mediation statement and work on Committee
                                mediation statement (3.2).
12/06/2015    JKH     BL        Work on Committee mediation statement.                  5.30       825.00       $4,372.50
12/07/2015    CHM     BL        Legal research re deepening insolvency; email J.        1.30       525.00        $682.50
                                Hunter re same.
12/07/2015    IDK     BL        E-mails with mediator and others re mediation           0.20       975.00        $195.00
                                statements (.2).
12/07/2015    JKH     BL        Complete and serve Committee's mediation                6.90       825.00       $5,692.50
                                statement (6.1); Review final statement of EBG
                                clients (.4); Telephone call from Cia H. Mackle
                                regarding deepening insolvency research and review
                                case, memorandum regarding same (.4).
     Case 8:15-bk-13008-TA           Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00                         Desc
                                      Main Document    Page 51 of 118

Pachulski Stang Ziehl & Jones LLP                                                                Page: 16
Anna's Linen OCC                                                                                 Invoice 117787
03751     00002                                                                                  March 30, 2016


                                                                                         Hours          Rate       Amount
12/08/2015    IDK     BL        Office conference with J. Hunter re mediation             0.20       975.00        $195.00
                                issues, briefs and attendance for next week, and
                                consider.
12/10/2015    IDK     BL        Office conferences with J. Hunter re upcoming             0.50       975.00        $487.50
                                mediation on 12/14 with Salus, need to get
                                settlement authority and create alternatives for
                                Gubner group split (.2); Emails with financial
                                advisor re same and need for further information on
                                extent of 503(b)(9) claims and need for updated
                                waterfall analysis to assist in mediation (.2); Emails
                                with committee members, J. Hunter re upcoming
                                mediation on Monday (.1).
12/10/2015    JKH     BL        Emails to, from Committee members regarding               0.60       825.00        $495.00
                                mediation issues, attendance (.3); Office conferences
                                with Ira D. Kharasch, emails Calascibetta regarding
                                503(b)(9), Waterfall (.3).
12/11/2015    IDK     BL        Emails with committee members re upcoming                 1.30       975.00       $1,267.50
                                mediation on 12/14 and coordination and issues to
                                consider (.2); Review and consider mediation briefs
                                of Salus, Gubner group (.7); Office conferences
                                with J. Hunter today and over weekend re mediation
                                issues and potential outcomes (.4).
12/11/2015    JKH     BL        Conference call to Ira D. Kharasch, Calascibetta,         0.90       825.00        $742.50
                                Pedersen regarding Waterfall, preparation for
                                mediation (.5); Emails from, to Committee
                                members/counsel regarding mediation issues,
                                updated Waterfall (.4).
12/11/2015    JNP     BL        Review waterfall and emails regarding same.               0.10       895.00         $89.50
12/12/2015    JKH     BL        Emails from, to Wynne, Committee members                  0.30       825.00        $247.50
                                regarding mediation letter, attendees, call-in
                                information.
12/13/2015    JKH     BL        Review Salus mediation statement, research cited          3.60       825.00       $2,970.00
                                cases and preparation for Salus mediation, opening
                                statement.
12/14/2015    IDK     BL        Attend most of mediation with Salus and Gubner            7.70       975.00       $7,507.50
                                group and J. Hunter (7.2); Telephone conferences
                                and emails with financial advisor re need for
                                information for mediation re reserves, including
                                review of same (.3); Office conference with J.
                                Hunter re result of mediation and message to be sent
                                to Committee (.2).
12/14/2015    JKH     BL        Attend Salus mediation and email clients regarding        8.10       825.00       $6,682.50
                                final outcome.
12/17/2015    IDK     BL        Emails with J. Hunter re new case on breach of            0.30       975.00        $292.50
                                fiduciary duty re failure to send WARN notices,
                                including brief review of same (.2); Email with
                                Gubner group on its termination of tolling agreement
     Case 8:15-bk-13008-TA            Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00                       Desc
                                       Main Document    Page 52 of 118

Pachulski Stang Ziehl & Jones LLP                                                               Page: 17
Anna's Linen OCC                                                                                Invoice 117787
03751     00002                                                                                 March 30, 2016


                                                                                        Hours          Rate      Amount
                                re Salus (.1).
12/18/2015    IDK     BL        Emails with Financial Advisor regarding                  0.10       975.00        $97.50
                                Defendant’s officer requesting info on mediation.
12/18/2015    IDK     BL        Emails/telephone conference with J. Hunter               0.30       975.00       $292.50
                                regarding how to respond to Gubner group
                                termination of tolling and our position with Salus,
                                and issues re Salus fees.
12/29/2015    JKH     BL        Telephone conference with Komorsky regarding             0.30       825.00       $247.50
                                status of vendors' complaint.
01/04/2016    SSC     BL        Telephone conference with Hunter re Salus                0.10       750.00        $75.00
                                complaint.
01/05/2016    JKH     BL        Telephone call from Komorsky, Davis regarding            1.20       825.00       $990.00
                                Lender identities, developments regarding vendors'
                                complaint and review Gordon Brothers' report,
                                vendors' revised complaint.
01/06/2016    IDK     BL        Office conference with J. Hunter re status of Salus      0.50       975.00       $487.50
                                litigation, and Gubner group already filed complaint,
                                and need to inform committee (.2); Emails with
                                Gubner re his belief in another claim vs Salus re
                                WARN Act based on new caselaw, and my response
                                re same (.3).
01/06/2016    IDK     BL        Emails with S Cho re Court’s comments of status of       0.10       975.00        $97.50
                                case at hearing this week.
01/06/2016    JKH     BL        Telephone call from Brownstein regarding Salus           1.00       825.00       $825.00
                                complaint, email, office conference with Ira D.
                                Kharasch regarding same, conversion and email
                                Committee regarding same (.5); Emails Jeffrey N.
                                Pomerantz, Ira D. Kharasch regarding
                                Visa/Mastercard claims, office conference with
                                Jeffrey N. Pomerantz regarding same, internet
                                search regarding same (.5).
01/07/2016    JKH     BL        Email from Davis, office conference with Ira D.          0.80       825.00       $660.00
                                Kharasch regarding conversion (.2); Emails from, to
                                Jeffrey N. Pomerantz regarding Visa/Mastercard
                                claims query, review claims agreement and
                                telephone conference, email with Karasik and office
                                conference with Jeffrey N. Pomerantz regarding
                                same (.6).
01/11/2016    SSC     BL        Correspond with Kharasch re pending matters.             0.20       750.00       $150.00
01/13/2016    IDK     BL        Office conferences with J. Hunter re Salus litigation    0.20       975.00       $195.00
                                issues and its claim to fees.
01/14/2016    JKH     BL        Telephone conference, emails Cia H. Mackle               0.30       825.00       $247.50
                                regarding indemnity issue, background.
01/15/2016    SSC     BL        Review and analysis re Exel motion to dismiss and        0.40       750.00       $300.00
                                opposition.
     Case 8:15-bk-13008-TA           Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00                        Desc
                                      Main Document    Page 53 of 118

Pachulski Stang Ziehl & Jones LLP                                                               Page: 18
Anna's Linen OCC                                                                                Invoice 117787
03751     00002                                                                                 March 30, 2016


                                                                                        Hours          Rate       Amount
01/20/2016    IDK     BL        Office conference with J. Hunter re new theory re        0.50       975.00        $487.50
                                attack on termination fee of Salus (.2); Emails with
                                J. Hunter re same, including review of case law (.3).
01/20/2016    JKH     BL        Office conference with Ira D. Kharasch, research         1.90       825.00       $1,567.50
                                potential 726(a)(4) claim.
01/21/2016    JJK     BL        Conf. Kharasch on 726 / prepayment claim related         0.30       695.00        $208.50
                                issues.
01/21/2016    JJK     BL        Research prepayment penalty related issues.              4.40       695.00       $3,058.00
01/22/2016    JJK     BL        Research prepayment penalty related issues.              3.70       695.00       $2,571.50
01/25/2016    JJK     BL        Conf. Hunter on prepayment fee / clawback related        0.10       695.00         $69.50
                                issues.
01/25/2016    JJK     BL        Research re: potential clawback issues.                  2.90       695.00       $2,015.50
01/25/2016    SSC     BL        Review email correspondence from E. Karasik re           0.10       750.00         $75.00
                                Excel and correspond with EA re same.
01/26/2016    JJK     BL        Research prepayment fee and clawback related             5.60       695.00       $3,892.00
                                issues and prepare memo.
01/26/2016    JKH     BL        Emails, office conferences with Ira D. Kharasch          2.80       825.00       $2,310.00
                                regarding Excel settlement proposal and review
                                pleadings, research warehouse lien regarding
                                evaluation of same.
01/26/2016    FSH     BL        Review all new dates regarding adversary                 0.40       305.00        $122.00
                                proceeding deadlines and status conferences and
                                update tracking chart.
01/26/2016    FSH     BL        Prepare adversary tracking chart of all adversaries      1.50       305.00        $457.50
                                filed in the case.
01/27/2016    JJK     BL        Research prepayment fee and clawback related             4.10       695.00       $2,849.50
                                issues and prepare memo.
01/27/2016    JJK     BL        Emails Forrester on prepayment fee related research.     0.30       695.00        $208.50
01/27/2016    JKH     BL        Review Jonathan J. Kim memorandum regarding              1.10       825.00        $907.50
                                726(a)(4) issue (.3); Office conference with Ira D.
                                Kharasch regarding Excel settlement offer, and
                                preparation of email regarding analysis of same (.8).
01/27/2016    LAF     BL        Legal research re: Section 726(a)(4) & prepayment        0.50       325.00        $162.50
                                penalties.
01/28/2016    JJK     BL        Emails Forrester on prepayment claim related issues      0.40       695.00        $278.00
                                and review her materials.
01/28/2016    JJK     BL        Emails Hunter on comm. challenge period issues.          0.10       695.00         $69.50
01/28/2016    JJK     BL        Research potential clawback issues and prepare           5.60       695.00       $3,892.00
                                memo on same for Kharasch/Hunter.
01/28/2016    JKH     BL        Emails from, to Jonathan J. Kim regarding tolling        0.10       825.00         $82.50
                                agreement status, mediation issues.
01/28/2016    LAF     BL        Legal research re: 727(a)(4) & prepayment                0.50       325.00        $162.50
     Case 8:15-bk-13008-TA           Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00                         Desc
                                      Main Document    Page 54 of 118

Pachulski Stang Ziehl & Jones LLP                                                                Page: 19
Anna's Linen OCC                                                                                 Invoice 117787
03751     00002                                                                                  March 30, 2016


                                                                                         Hours          Rate       Amount
                                penalities.
01/29/2016    JJK     BL        Research potential clawback issues and memo on            4.00       695.00       $2,780.00
                                same.
01/29/2016    FSH     BL        Review new dates and deadlines for litigation             0.40       305.00        $122.00
                                matters and update critical dates and provide
                                information to calendar clerk.
02/03/2016    FSH     BL        Review and analyze new orders on status conference        0.50       305.00        $152.50
                                hearings and deadline regarding three adversary
                                actions and update adversary chart and prepare
                                correspondence to calendar clerk regarding same.
02/08/2016    IDK     BL        Telephone conference with Kogan re status of Salus        0.30       975.00        $292.50
                                litigation and status of case (.2); Emails with J
                                Pomerantz re same (.1).
02/10/2016    CHM     BL        Legal research re advances on indemnity obligation;       3.10       525.00       $1,627.50
                                email J. Hunter re same.
02/11/2016    IDK     BL        Emails with Debtor re issues on plaintiff complaint       0.10       975.00         $97.50
                                vs insiders re Salus and violation of automatic stay.
02/22/2016    IDK     BL        Office conference with J Hunter re issue on               0.30       975.00        $292.50
                                challenge period and application to chapter 7 Trustee
                                and need to confirm with Salus, including review of
                                key parts of DIP order.
02/24/2016    IDK     BL        Emails and office conference with J. Hunter and           0.20       975.00        $195.00
                                Salus re conversion issues.
02/24/2016    JKH     BL        Emails from, to Davis regarding tolling extension         0.10       825.00         $82.50
                                discussion.
02/25/2016    JKH     BL        Emails, telephone conference with Davis regarding         0.30       825.00        $247.50
                                extension of tolling agreement to Trustee.
02/25/2016    JKH     BL        Emails, office conference with Ira D. Kharasch,           0.60       825.00        $495.00
                                emails, telephone conference with Komorsky, Davis
                                regarding Greenberg fees review analysis and
                                review files regarding same.
02/26/2016    IDK     BL        Emails with J. Hunter re his proposed memo to             0.70       975.00        $682.50
                                Salus counsel re clarifying DIP order re challenge
                                for chapter 7 trustee and need for revisions to same
                                (.4); Emails with S Gubner, J. Hunter re Salus fees
                                (.3).
02/26/2016    JKH     BL        Review Greenberg Traurig bills (.4); Draft email          1.60       825.00       $1,320.00
                                regarding tolling agreement clarification (.9); Emails
                                from, to Davis, Calascibetta regarding Greenberg
                                Traurig invoices and telephone call from
                                Calascibetta regarding same (.3).
02/27/2016    JKH     BL        Emails from, to Ira D. Kharasch, Komorsky, Davis          0.80       825.00        $660.00
                                regarding Greenberg Traurig bills, tolling agreement
                                and review memorandum, complaints regarding
                                indemnification issue.
     Case 8:15-bk-13008-TA           Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00                         Desc
                                      Main Document    Page 55 of 118

Pachulski Stang Ziehl & Jones LLP                                                                Page: 20
Anna's Linen OCC                                                                                 Invoice 117787
03751     00002                                                                                  March 30, 2016


                                                                                        Hours           Rate         Amount
02/28/2016    JKH     BL        Emails from, to Ira D. Kharasch, Gubner, Komorsky         0.20       825.00          $165.00
                                regarding challenge tolling agreement.
02/29/2016    JKH     BL        Emails from, to Gubner, Komorsky and Davis                0.20       825.00          $165.00
                                regarding tolling of challenge period.
03/03/2016    SSC     BL        Review motion to return DIP lenders’ fees and             0.20       750.00          $150.00
                                correspond with J. Hunter re same.
03/08/2016    SSC     BL        Review motion to compel return of attorney’s fees.        0.10       750.00           $75.00
03/08/2016    SSC     BL        Correspond with I. Kharasch re various motions            0.20       750.00          $150.00
                                pending and meet and confer with I. Kharasch re
                                same.
03/08/2016    SSC     BL        Correspond with D. Golubchick re extensions               0.10       750.00           $75.00
                                needed to pending motions.
03/09/2016    IDK     BL        Review DIP order and related documents re issues          1.80       975.00         $1,755.00
                                on Salus attorney fees (1.5); Office conferences with
                                J. Hunter re issues re same and documents (.3).
03/10/2016    IDK     BL        Review and consider various Salus fee issues in the       2.50       975.00         $2,437.50
                                DIP order, DIP documents, pre-petition documents,
                                including indemnity provision and its right to recoup
                                fees for defending 3d party actions, including prep
                                of internal memo re same (2.1); Office conferences
                                with J. Hunter re issues and concerns re same (.4).
03/11/2016    JKH     BL        Preparation of joinder regarding Salus fees motion,       0.80       825.00          $660.00
                                emails to from Komorsky regarding same (.4);
                                Attend conference committee call (.4).
03/11/2016    FSH     BL        Prepare statement of Committee to continue the            0.40       305.00          $122.00
                                hearing on the 9019 motion with Lichtenberg.
03/16/2016    IDK     BL        Review of draft joinder in motion re return of fees       0.40       975.00          $390.00
                                and office conferences with J. Hunter re same
03/16/2016    JKH     BL        Emails regarding, filing of fees motion joinder.          0.10       825.00           $82.50
03/18/2016    JKH     BL        Emails from, to Komorsky regarding fees                   0.10       825.00           $82.50
                                stipulation.
03/23/2016    IDK     BL        Prepare for hearing today on numerous items (.3);         0.80       975.00          $780.00
                                Attend hearing telephonically on motion to convert
                                and other motions/stipulations (.5).
03/24/2016    IDK     BL        Emails with J. Pomerantz re Salus disputes, issues.       0.30       975.00          $292.50
                                                                                        144.20                    $113,994.00

  Case Administration [B110]
10/01/2015    FSH     CA        Update weekly memo and critical dates.                    1.20       305.00          $366.00
10/02/2015    FSH     CA        Update critical dates and send dates to calendar.         0.60       305.00          $183.00
10/05/2015    FSH     CA        Update critical dates chart.                              0.20       305.00           $61.00
10/12/2015    FSH     CA        Update critical dates and attend to calendaring.          0.30       305.00           $91.50
     Case 8:15-bk-13008-TA           Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00                         Desc
                                      Main Document    Page 56 of 118

Pachulski Stang Ziehl & Jones LLP                                                                Page: 21
Anna's Linen OCC                                                                                 Invoice 117787
03751     00002                                                                                  March 30, 2016


                                                                                         Hours          Rate      Amount
10/13/2015    FSH     CA        Update critical dates to reflect continued hearing and    0.20       305.00        $61.00
                                prepare correspondence to Melissa regarding
                                calendaring same.
10/19/2015    FSH     CA        Update critical dates memo.                               0.30       305.00        $91.50
10/19/2015    FSH     CA        Prepare correspondence to Melisa regarding                0.20       305.00        $61.00
                                calendaring new items and respond thereto.
10/21/2015    FSH     CA        Update and revise critical dates to account for all       0.40       305.00       $122.00
                                matters where stipulations are pending.
10/23/2015    FSH     CA        Update critical dates.                                    0.10       305.00        $30.50
10/27/2015    FSH     CA        Update critical dates based upon orders granting          0.50       305.00       $152.50
                                stipulations and attend to calendaring of same.
10/27/2015    FSH     CA        Review and respond to correspondence from                 0.20       305.00        $61.00
                                Melissa regarding dates to calendar new events.
10/28/2015    FSH     CA        Update critical dates to reflect continued hearings       0.40       305.00       $122.00
                                and response and reply dates.
10/28/2015    FSH     CA        Further update on critical dates.                         0.20       305.00        $61.00
10/28/2015    FSH     CA        Prepare correspondence to Shirley S. Cho regarding        0.20       305.00        $61.00
                                weekly memo and critical dates and transmit same.
11/03/2015    FSH     CA        Review and respond to correspondence from Shirley         0.20       305.00        $61.00
                                S. Cho regarding hearing scheduled for 11/4 and
                                send orders regarding hearing change.
11/03/2015    FSH     CA        Update critical dates to reflect continued hearings       0.50       305.00       $152.50
                                and deadline dates and attend to calendaring same.
11/11/2015    FSH     CA        Update critical dates to reflect hearing and response     0.40       305.00       $122.00
                                date for new adversary and attend to calendaring
                                same.
11/24/2015    FSH     CA        Review pleadings and advise attorney of new dates         0.30       305.00        $91.50
                                and hearings.
12/04/2015    FSH     CA        Review docket for deadlines and hearing dates and         0.30       305.00        $91.50
                                prepare description for attorney and submit same.
12/10/2015    FSH     CA        Review critical dates to determine if exclusivity was     0.30       305.00        $91.50
                                extended and Review docket to ascertain the status
                                of if and when a plan will be filed. Prepare
                                correspondence to Shirley S. Cho regarding same.
12/18/2015    FSH     CA        Prepare correspondence to Shirley S. Cho with             0.10       305.00        $30.50
                                weekly summary and critical dates.
12/20/2015    SSC     CA        Review critical dates and correspond with F.              0.10       750.00        $75.00
                                Harrison re same.
12/23/2015    FSH     CA        Review docket to obtain new hearing dates and             0.60       305.00       $183.00
                                deadlines and update memo to reflect same.
12/24/2015    FSH     CA        Prepare correspondence to Shirley S. Cho with             0.20       305.00        $61.00
                                weekly summary and critical dates.
     Case 8:15-bk-13008-TA           Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00                        Desc
                                      Main Document    Page 57 of 118

Pachulski Stang Ziehl & Jones LLP                                                               Page: 22
Anna's Linen OCC                                                                                Invoice 117787
03751     00002                                                                                 March 30, 2016


                                                                                        Hours          Rate       Amount
01/04/2016    FSH     CA        Review and respond to correspondence from Shirley        0.20       305.00         $61.00
                                S. Cho regarding January 6, 2016 hearing.
01/06/2016    FSH     CA        Review and analyze all new dates and deadlines and       0.40       305.00        $122.00
                                prepare memo to calendar clerk to attend to
                                calendaring.
01/08/2016    SSC     CA        Review critical dates.                                   0.10       750.00         $75.00
01/11/2016    FSH     CA        Review docket for new hearings and deadlines and         0.30       305.00         $91.50
                                prepare descriptions of same to include in
                                correspondence to calendar clerk.
01/15/2016    FSH     CA        Prepare correspondence to Shirley S. Cho regarding       0.10       305.00         $30.50
                                critical dates and weekly memo and transmit same.
01/15/2016    FSH     CA        Review and respond to correspondence from Shirley        0.10       305.00         $30.50
                                S. Cho regarding weekly memo edits.
01/21/2016    FSH     CA        Review docket of adversary proceeding and obtain         0.30       305.00         $91.50
                                new deadline dates and hearings and include on
                                critical dates and prepare correspondence to calendar
                                clerk regarding same.
01/25/2016    FSH     CA        Prepare correspondence to Shirley S. Cho on critical     0.10       305.00         $30.50
                                dates.
02/05/2016    FSH     CA        Prepare correspondence to Shirley S. Cho with            0.10       305.00         $30.50
                                weekly summary and updated critical dates memo.
02/08/2016    FSH     CA        Review paper flow and prepare memo to calendar           0.30       305.00         $91.50
                                clerk regarding new deadlines and update memo
                                regarding same.
02/12/2016    FSH     CA        Prepare correspondence to Shirley S. Cho with            0.10       305.00         $30.50
                                critical dates and weekly memo and transmit same.
02/16/2016    FSH     CA        Review new documents for hearings and deadlines          0.30       305.00         $91.50
                                and update memo to attorneys regarding same.
02/19/2016    FSH     CA        Review numerous notifications from court regarding       0.40       305.00        $122.00
                                continued adversary proceedings and prepare
                                updates and send to calendaring.
02/25/2016    SSC     CA        Correspond with M. Brownstein re order limiting          0.20       750.00        $150.00
                                notice.
                                                                                        11.00                    $3,533.00

  Claims Admin/Objections[B310]
10/01/2015    SSC     CO        Correspond with T. Arnold re 503(b)(9) claims filed.     0.10       750.00         $75.00
10/01/2015    SSC     CO        Review Debtor’s opposition to Kenney’s 503(b)(9)         0.20       750.00        $150.00
                                request.
10/01/2015    FSH     CO        Prepare joinder to the Debtor's opposition to Kenny      0.50       305.00        $152.50
                                Motion.
10/02/2015    IDK     CO        E-mails with attorneys re Debtor's summary of            0.20       975.00        $195.00
                                503(b)(9) claims, including review of same.
     Case 8:15-bk-13008-TA           Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00                       Desc
                                      Main Document    Page 58 of 118

Pachulski Stang Ziehl & Jones LLP                                                              Page: 23
Anna's Linen OCC                                                                               Invoice 117787
03751     00002                                                                                March 30, 2016


                                                                                       Hours          Rate      Amount
10/04/2015    SSC     CO        Review 503(b) claims analysis from T. Arnold.           0.10       750.00        $75.00
10/05/2015    SSC     CO        Analysis re filed claims.                               0.10       750.00        $75.00
10/05/2015    SSC     CO        Correspond with T. Arnold re 503(b)(9)s.                0.10       750.00        $75.00
10/05/2015    SSC     CO        Telephone conference with Nanshing re bar date.         0.10       750.00        $75.00
10/07/2015    SSC     CO        Execute Tiger/Yellen stipulation.                       0.10       750.00        $75.00
10/12/2015    IDK     CO        Emails and telephone conference with attorneys re       0.30       975.00       $292.50
                                how to respond to numerous 503(b)(9) motions for
                                payment of administrative claims, and need to
                                confirm authorization from Committee (.3).
10/12/2015    SSC     CO        Correspond with Committee re 503(b)(9) claims.          0.20       750.00       $150.00
10/12/2015    SSC     CO        Review and revise omnibus objection to 503(b)(9)        0.30       750.00       $225.00
                                claims.
10/12/2015    SSC     CO        Telephone conference with Arnold re 503(b)(9)           0.20       750.00       $150.00
                                claims.
10/12/2015    SSC     CO        Telephone conference with Brownstein re 503(b)(9)       0.20       750.00       $150.00
                                claims.
10/12/2015    SSC     CO        Review and analysis re letter of credit request from    0.20       750.00       $150.00
                                Union Bank.
10/12/2015    FSH     CO        Numerous correspondence with Shirley S. Cho             0.30       305.00        $91.50
                                regarding omnibus objection to administrative
                                claimants' motions.
10/13/2015    IDK     CO        Emails with committee and from Debtor re                0.20       975.00       $195.00
                                503(b)(9) claim status and current estimate.
10/13/2015    SSC     CO        Review and revise Kenney joinder.                       0.50       750.00       $375.00
10/13/2015    SSC     CO        Telephone conference with A. Calscabetta re claims      0.10       750.00        $75.00
                                analysis.
10/13/2015    SSC     CO        Review and revise omnibus hearing joinder;              0.20       750.00       $150.00
                                coordinate filing.
10/13/2015    FSH     CO        Review entered order continuing Kenny Motion and        0.20       305.00        $61.00
                                prepare correspondence to Shirley S. Cho regarding
                                same.
10/16/2015    SSC     CO        Review and execute stipulation to continue from C.      0.10       750.00        $75.00
                                Djang.
10/19/2015    FSH     CO        Prepare another omnibus objection for Hollander,        0.50       305.00       $152.50
                                Marks and Ivie regarding 503(b)(9) claims.
10/20/2015    FSH     CO        Review docket and determine how many stipulations       0.30       305.00        $91.50
                                have been filed for continuance of 503(b)(9) motions
                                and determine if any orders have been entered
                                approving the stipulations.
10/20/2015    FSH     CO        Review correspondence from Shirley S. Cho               0.30       305.00        $91.50
                                regarding local rule, research same and prepare
                                correspondence with results of research regarding
     Case 8:15-bk-13008-TA           Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00                        Desc
                                      Main Document    Page 59 of 118

Pachulski Stang Ziehl & Jones LLP                                                               Page: 24
Anna's Linen OCC                                                                                Invoice 117787
03751     00002                                                                                 March 30, 2016


                                                                                        Hours          Rate      Amount
                                continuance of 503(b)(9) motions.
10/21/2015    IDK     CO        Emails with J. Hunter and S Cho re need for              0.30       975.00       $292.50
                                evaluation of Salus bills, and their feedback re same
                                (.2); Email S Cho and Debtor re issues on 503(b)(9)
                                claims (.1).
10/21/2015    SSC     CO        Review and analysis re Beatrice stipulation.             0.10       750.00        $75.00
10/21/2015    SSC     CO        Telephone conferences with A. Calscabetta re             0.50       750.00       $375.00
                                503(b)(9) claims.
10/21/2015    SSC     CO        Telephone conferences with E. Karasik 503(b)(9)          0.20       750.00       $150.00
                                claims.
10/21/2015    SSC     CO        Telephone conference with K. Tran re 503(b)(9)           0.10       750.00        $75.00
                                claims.
10/21/2015    FSH     CO        Review and respond to correspondence with Shirley        0.20       305.00        $61.00
                                S. Cho regarding deadline to object to 503(b)(9)
                                objections.
10/22/2015    SSC     CO        Correspond with T. Arnold re POC form.                   0.10       750.00        $75.00
10/22/2015    SSC     CO        Correspond with T. Arnold re Beatrice claim              0.10       750.00        $75.00
                                objection.
10/26/2015    SSC     CO        Telephone conference with W. Borges re 503(b)(9)         0.10       750.00        $75.00
                                claim objection.
10/28/2015    SSC     CO        Review and execute Canjoy stipulation.                   0.10       750.00        $75.00
10/28/2015    SSC     CO        Telephone conference with D. Flahaut re Canjoy.          0.10       750.00        $75.00
10/30/2015    IDK     CO        Emails with S Cho re form of 503(b)(9) settlement.       0.10       975.00        $97.50
10/30/2015    SSC     CO        Review CHF’s stipulation re 503(b)(9) claim and          0.10       750.00        $75.00
                                correspond with counsel re same.
11/12/2015    SSC     CO        Review CHF stipulation re 503(b)(9).                     0.10       750.00        $75.00
11/12/2015    SSC     CO        Review Brentwood stipulation re 503(b)(9).               0.10       750.00        $75.00
11/18/2015    FSH     CO        Update critical dates to reflect settlements with        0.30       305.00        $91.50
                                503(b)(9) claimants and continuances of hearings.
11/19/2015    SSC     CO        Review and execute Canjoy stipulation.                   0.10       750.00        $75.00
11/20/2015    IDK     CO        Emails and telephone conference with S Cho and           0.20       975.00       $195.00
                                financial advisor re need to do some due diligence
                                on Debtor’s proposed stipulation with Shewack on
                                amount of 503(b)(9) claim and large GUC.
11/20/2015    SSC     CO        Review and analysis re Shewak stipulation re             0.30       750.00       $225.00
                                503(b)(9) claim.
11/20/2015    FSH     CO        Review and analyze proof of claim filed by Shewak        0.30       305.00        $91.50
                                and prepare correspondence to Shirley S. Cho
                                regarding same.
11/23/2015    IDK     CO        Numerous emails and telephone conferences with S.        0.40       975.00       $390.00
                                Goldich re potential settlement of State Board claim
                                re trust fund taxes, and feedback from State Board re
     Case 8:15-bk-13008-TA           Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00                       Desc
                                      Main Document    Page 60 of 118

Pachulski Stang Ziehl & Jones LLP                                                              Page: 25
Anna's Linen OCC                                                                               Invoice 117787
03751     00002                                                                                March 30, 2016


                                                                                       Hours          Rate      Amount
                                potential settlement scenarios (.2); Telephone
                                conference and emails with S Cho re Shewack
                                stipulation on 503(b)(9) and liquidated GUC portion
                                (.2).
11/23/2015    JKH     CO        Emails from, to Ira D. Kharasch regarding, review       0.50       825.00       $412.50
                                Greenberg Traurig, T C Capital invoices.
11/23/2015    SSC     CO        Telephone conference with A. Calscabetta re             0.10       750.00        $75.00
                                Shewak claim stipulation.
11/23/2015    SSC     CO        Meet and confer with Kharasch re Shewak                 0.10       750.00        $75.00
                                stipulation.
11/25/2015    IDK     CO        Emails and telephone conference with S. Cho re          0.30       975.00       $292.50
                                status and issues re Debtor’s stipulation with
                                Transplace and justification for same.
11/25/2015    SSC     CO        Draft memo to Committee re Transplace.                  0.30       750.00       $225.00
11/25/2015    SSC     CO        Review Transplace analysis from E. Karasik.             0.20       750.00       $150.00
11/25/2015    SSC     CO        Correspond with LNYB re Transplace.                     0.10       750.00        $75.00
11/25/2015    SSC     CO        Review Transplace stipulation and telephone             0.20       750.00       $150.00
                                conference with I. Kharasch re same.
11/25/2015    FSH     CO        Review and respond to numerous correspondence           0.20       305.00        $61.00
                                regarding the Transplace June stipulation and the
                                stipulation filed in November.
11/30/2015    IDK     CO        Various e-mails with Debtor, Gubner, others re their    0.30       975.00       $292.50
                                dispute on the upcoming hearing and the alleged
                                stipulation re 503(b)(9) claim.
11/30/2015    SSC     CO        Telephone conference with D. Golubchik re Shewak        0.10       750.00        $75.00
                                stipulation.
12/01/2015    IDK     CO        Telephone conference and emails with Debtor             0.40       975.00       $390.00
                                counsel re my position on their dispute with Gubner
                                over the stipulation on 503(b)(9) and his refusal to
                                agree to continue the hearing tomorrow (.3); Emails
                                later with Gubner firm and Debtor re willingness to
                                continue (.1).
12/01/2015    SSC     CO        Attention to motion for administrative claim by         0.10       750.00        $75.00
                                Anthem Blue Cross.
12/01/2015    SSC     CO        Review Shewak correspondence between Debtor             0.20       750.00       $150.00
                                and Shewak counsel; review stipulation for
                                continuance re same.
12/04/2015    IDK     CO        Telephone conference with Financial Advisor re          0.20       975.00       $195.00
                                warehouse claims (.1); Emails with Debtor counsel
                                re same and need to give us head’s up (.1).
12/08/2015    FSH     CO        Review notices from court regarding the status of       0.20       305.00        $61.00
                                503(b) motions which have been continued to
                                January 6, 2016.
12/09/2015    IDK     CO        Telephone conferences with financial advisor re         0.20       975.00       $195.00
     Case 8:15-bk-13008-TA           Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00                      Desc
                                      Main Document    Page 61 of 118

Pachulski Stang Ziehl & Jones LLP                                                             Page: 26
Anna's Linen OCC                                                                              Invoice 117787
03751     00002                                                                               March 30, 2016


                                                                                      Hours          Rate      Amount
                                issues on certain 503(b)(9) claims and other claims
                                (.2).
12/17/2015    IDK     CO        Emails with S Cho and financial advisor re Debtor’s    0.20       975.00       $195.00
                                proposed stipulation on 503(b)(9) claim allowance.
12/17/2015    SSC     CO        Review Hollander stipulation and execute same.         0.10       750.00        $75.00
12/18/2015    SSC     CO        Correspond with T Arnold re Hollander stipulation.     0.10       750.00        $75.00
12/18/2015    SSC     CO        Review A. Calscabetta email re Hollander.              0.10       750.00        $75.00
12/21/2015    IDK     CO        Office conference with J. Hunter regarding claim of    0.20       975.00       $195.00
                                Salus for atty fees and potential defense.
12/21/2015    IDK     CO        Emails to Debtor and Financial Advisor regarding       0.20       975.00       $195.00
                                need for call on how to go on 503b9 claims and case
                                issues.
12/21/2015    IDK     CO        Telephone conferences with Financial Advisor           0.20       975.00       $195.00
                                regarding status of Debtor’s negotiation of 503b9
                                settlements.forward on 503b9 claims and case
                                issues(.2);
12/21/2015    SSC     CO        Correspond with T. Arnold re 503(b)(9) claims          0.10       750.00        $75.00
                                status.
12/21/2015    SSC     CO        Correspond with F. Harrison re 503(b)(9) claims        0.10       750.00        $75.00
                                status.
12/21/2015    FSH     CO        Review correspondence from Shirley S. Cho and          0.30       305.00        $91.50
                                review docket to determine which claimants the
                                Committee did not file oppositions to their 503(b)
                                claims.
12/21/2015    FSH     CO        Review correspondence from Shirley S. Cho              0.30       305.00        $91.50
                                regarding continuation of hearing and update memo
                                re hearing and deadline dates.
12/28/2015    JKH     CO        Office conferences with David J. Barton, Iain A. W.    1.10       825.00       $907.50
                                Nasatir regarding indemnification issues regarding
                                Greenberg Traurig invoice, emails from Iain A. W.
                                Nasatir and research same.
12/29/2015    JKH     CO        Office conferences with Ira D. Kharasch, review        0.20       825.00       $165.00
                                documents regarding Greenberg Traurig invoice
                                review.
12/30/2015    SSC     CO        Review opposition to Baltic Linen motion to enlarge    0.10       750.00        $75.00
                                time.
01/04/2016    SSC     CO        Review Canjoy reply and correspond with T. Arnold      0.20       750.00       $150.00
                                re same.
01/04/2016    FSH     CO        Review tentatives to determine which matters are on    0.20       305.00        $61.00
                                calendar for January 6, 2016 which have not been
                                continued.
01/05/2016    IDK     CO        Emails and telephone conference with S Cho re          0.30       975.00       $292.50
                                status of current proposed stipulation on 503(b)(9)
                                claim re Canjoy, and status of appeal re initial
     Case 8:15-bk-13008-TA           Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00                          Desc
                                      Main Document    Page 62 of 118

Pachulski Stang Ziehl & Jones LLP                                                                 Page: 27
Anna's Linen OCC                                                                                  Invoice 117787
03751     00002                                                                                   March 30, 2016


                                                                                          Hours          Rate      Amount
                                agency agreement.
01/05/2016    SSC     CO        Correspond with EA re Kenney stipulation.                  0.10       750.00        $75.00
01/05/2016    SSC     CO        Telephone conference with A. Calscabetta re Canjoy         0.30       750.00       $225.00
                                hearing.
01/05/2016    SSC     CO        Review Canjoy tentative ruling.                            0.10       750.00        $75.00
01/06/2016    FSH     CO        Review and respond to correspondence from Shirley          0.30       305.00        $91.50
                                S. Cho regarding calendar.
01/06/2016    FSH     CO        Review calendar on website for court and prepare           0.30       305.00        $91.50
                                notations as to the status of the hearings and transmit
                                to Shirley S. Cho.
01/08/2016    IDK     CO        Emails with S Cho re issues on stipulations re             0.20       975.00       $195.00
                                503(b)(9) claims.
01/11/2016    SSC     CO        Review AuZone stipulation.                                 0.10       750.00        $75.00
01/11/2016    FSH     CO        Telephone call from creditor regarding rumor of            0.20       305.00        $61.00
                                claims trader and percentage offered for purchase of
                                claim.
01/12/2016    SSC     CO        Correspond with A. Calscabetta re 503(b)(9)                0.10       750.00        $75.00
                                stipulations.
01/14/2016    SSC     CO        Review and execute Saturday Knight and Bess                0.20       750.00       $150.00
                                stipulations.
01/15/2016    IDK     CO        Emails with financial advisor re new analysis of           0.70       975.00       $682.50
                                503(b)(9) claims, including review of same (.2);
                                Email and telephone conference with Debtor’s
                                counsel re result of committee call and timing of its
                                objection to claims (.2); Emails and telephone
                                conferences with Brownstein, counsel to
                                Lichtenburg, re his concerns on claims objection and
                                anticipated stipulation re Lichtenburg (.3).
01/15/2016    SSC     CO        Review Canjoy order and correspond with T. Arnold          0.20       750.00       $150.00
                                re same.
01/15/2016    SSC     CO        Telephone conference with M. Brownstein re                 0.20       750.00       $150.00
                                Lichtenstein claim.
01/20/2016    SSC     CO        Correspond with T. Arnold re Marks claim.                  0.10       750.00        $75.00
01/20/2016    FSH     CO        Review correspondence from Shirley S. Cho                  0.30       305.00        $91.50
                                regarding Marks' claim and review files to determine
                                if we objected to it and prepare correspondence to
                                Shirley S. Cho regarding same.
01/22/2016    IDK     CO        Emails with Debtor’s counsel re proposed                   0.20       975.00       $195.00
                                stipulation with Lichtenberg.
01/25/2016    IDK     CO        Emails with Debtor’s counsel re proposed settlement        0.40       975.00       $390.00
                                with Excel on secured claim (.2); Emails and office
                                conference with J. Hunter re need for analysis of
                                same (.2).
     Case 8:15-bk-13008-TA           Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00                        Desc
                                      Main Document    Page 63 of 118

Pachulski Stang Ziehl & Jones LLP                                                               Page: 28
Anna's Linen OCC                                                                                Invoice 117787
03751     00002                                                                                 March 30, 2016


                                                                                        Hours          Rate       Amount
01/26/2016    IDK     CO        Emails with Debtor’s counsel re its desire for           0.80       975.00        $780.00
                                committee feedback on proposed settlement with
                                Excel on its alleged secured claim, including review
                                of her summary of situation (.3); Telephone
                                conference and emails with counsel to Salus re same
                                and how to deal with upcoming hearing on Excel
                                (.3); Emails with A. Caine re his analysis of the
                                preference resolution in the Excel settlement (.2).
01/26/2016    IDK     CO        Emails with Debtor’s counsel re its proposed             0.40       975.00        $390.00
                                settlement stipulation with S. Lichtenberg, including
                                my review of same.
01/27/2016    IDK     CO        Review and consider problematic issues in Debtor’s       1.40       975.00       $1,365.00
                                proposed stipulation with S. Lichtenburg, especially
                                re preference and general release and release of
                                affiliates, including shareholders in Debtor (.3);
                                Numerous emails with S Cho and F Harrison re need
                                for due diligence information on Lichtenburg
                                settlement and whether any transfers to Lichtenburg
                                shareholders of Debtor, and review of relevant
                                SOFAs (.4); E-mails with Debtor’s counsel re same
                                and need for information from Debtor re prior
                                distributions to Lichtenburg shareholders for past 4
                                years (.4); Emails with A. Caine re his analysis of
                                estate’s preference action vs Lichtenburg and
                                proposed settlement of same (.3).
01/27/2016    SSC     CO        Review and respond to T. Arnold re status of             0.10       750.00         $75.00
                                503(b)(9) objections.
01/28/2016    IDK     CO        Emails with J. Hunter, J. Kim on Salus termination       0.20       975.00        $195.00
                                fee and his memo.
01/29/2016    IDK     CO        Email and telephone conference with financial            0.60       975.00        $585.00
                                advisor re issues on Excel settlement and over case
                                and waterfall issues (.3); Email and telephone
                                conference with Lichtenburg counsel re my initial
                                feedback on the draft settlement agreement and need
                                for further due diligence re same (.3).
02/01/2016    IDK     CO        Telephone conferences with counsel to Lichtenberg        0.30       975.00        $292.50
                                re settlement disputes (.2); Telephone conference
                                with Debtor’s counsel re same (.1).
02/03/2016    IDK     CO        Emails with financial advisor re new settlements re      0.20       975.00        $195.00
                                503(b)(9) claims, and review of same briefly.
02/03/2016    SSC     CO        Correspond with A. Calscabetta re Natco Corona           0.10       750.00         $75.00
                                claim.
02/04/2016    IDK     CO        Telephone conference with counsel to Lichtenburg         0.30       975.00        $292.50
                                re concerns on their stipulation and re Canjoy
                                stipulation (.2); Emails with S Cho re same and
                                need to respond (.1).
02/05/2016    IDK     CO        Telephone conference with Brownstein, counsel to         0.20       975.00        $195.00
     Case 8:15-bk-13008-TA           Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00                        Desc
                                      Main Document    Page 64 of 118

Pachulski Stang Ziehl & Jones LLP                                                               Page: 29
Anna's Linen OCC                                                                                Invoice 117787
03751     00002                                                                                 March 30, 2016


                                                                                        Hours          Rate      Amount
                                Lichtenberg re status of claims (.1); Emails with S
                                Cho re same and questions re Canjoy 503(b)(9)
                                settlement (.1).
02/08/2016    SSC     CO        Attention to 503(b)(9) claims coming up for hearing.     0.10       750.00        $75.00
02/08/2016    FSH     CO        Review and respond to correspondence from Shirley        0.20       305.00        $61.00
                                S. Cho regarding 503(b)(9) claims on calendar and if
                                we have objected to them.
02/08/2016    FSH     CO        Review files and docket to determine which               0.30       305.00        $91.50
                                503(b)(9) claims we have objected to and those we
                                have not and prepare correspondence to Shirley S.
                                Cho regarding same.
02/09/2016    IDK     CO        Emails with S Cho re Lichtenberg issues and              0.20       975.00       $195.00
                                Canjoy.
02/09/2016    SSC     CO        Review T. Arnold update re 503(b)(9) claims.             0.10       750.00        $75.00
02/10/2016    IDK     CO        Telephone conference with counsel to Lichtenberg         0.50       975.00       $487.50
                                re status of its proposed settlement and Debtor’s due
                                diligence (.1); E-mail to Debtor’s counsel re result
                                of same due diligence re Lichtenberg (.1); Emails
                                with S Cho re settlements and Canjoy problem (.1);
                                Telephone conference and e-mail with financial
                                advisor and A. Caine re financial advisor’s request
                                for feedback on process on evaluating Debtor’s
                                preference settlements (.2).
02/11/2016    IDK     CO        Emails with Debtor’s counsel and Lichtenberg             0.20       975.00       $195.00
                                counsel re further modified stipulation re same,
                                including review of same revisions.
02/11/2016    SSC     CO        Attention to omnibus objections.                         0.10       750.00        $75.00
02/11/2016    SSC     CO        Attention to omnibus objections.                         0.10       750.00        $75.00
02/11/2016    FSH     CO        Review various correspondence from Shirley S. Cho        0.20       305.00        $61.00
                                regarding objections and if any committee members
                                were subject to objections and respond thereto.
02/12/2016    IDK     CO        Emails with E Kerasik re her summaries of claim          0.30       975.00       $292.50
                                objections and preference demands and status, and
                                need for Debtor to refrain from preference process
                                unless tied to administrative claim objections.
02/16/2016    IDK     CO        Emails with S Cho re coverage of next omnibus            0.20       975.00       $195.00
                                claim objection hearing and committee position re
                                same.
02/16/2016    FSH     CO        Review correspondence from Shirley S. Cho                0.30       305.00        $91.50
                                regarding claims; Review claims and prepare
                                correspondence to Shirley S. Cho regarding same.
02/17/2016    IDK     CO        Emails with S Cho re Lichtenburg material for            0.10       975.00        $97.50
                                committee and dealing with Lichtenburg during call.
02/17/2016    SSC     CO        Review filed 503(b)(a) objections.                       0.20       750.00       $150.00
     Case 8:15-bk-13008-TA           Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00                        Desc
                                      Main Document    Page 65 of 118

Pachulski Stang Ziehl & Jones LLP                                                               Page: 30
Anna's Linen OCC                                                                                Invoice 117787
03751     00002                                                                                 March 30, 2016


                                                                                        Hours          Rate      Amount
02/17/2016    FSH     CO        Review and respond to correspondence from Shirley        0.20       305.00        $61.00
                                S. Cho regarding hearing binder for 2/24/16 hearing.
02/18/2016    IDK     CO        Telephone conferences with Lichtenberg counsel re        0.10       975.00        $97.50
                                status and concerns on settlement (.1).
02/22/2016    IDK     CO        Emails with Debtor’s counsel and with Lichtenberg        0.40       975.00       $390.00
                                counsel re further due diligence questions on
                                Lichtenberg stipulation re board issues and timing of
                                motion issues (.2); Emails with A. Caine re Gubner
                                request for preference analysis re Lichtenberg, and
                                need for more fulsome analysis (.2).
02/22/2016    SSC     CO        Review and analysis re Performance Team                  0.20       750.00       $150.00
                                stipulation.
02/23/2016    IDK     CO        Review correspondence from Gubner re his long list       0.60       975.00       $585.00
                                of information requests to Debtor on proposed
                                Lichtenburg settlement (.1); Emails with Debtor’s
                                counsel re same and next steps (.2); Emails with S
                                Cho re Excel settlement and approval (.1); Emails
                                with A. Caine re status of memo to Gubner on
                                preference analysis re Lichtenburg and need for
                                more information (.2).
02/23/2016    SSC     CO        Telephone conference with A. Calscabetta re              0.20       750.00       $150.00
                                Performance Team.
02/23/2016    SSC     CO        Correspond with E. Karasik re Performance Team.          0.20       750.00       $150.00
02/23/2016    SSC     CO        Review 4 replies to 503(b)(9) motions.                   0.20       750.00       $150.00
02/23/2016    SSC     CO        Telephone conference with S. Seflin re claim             0.20       750.00       $150.00
                                resolutions.
02/24/2016    IDK     CO        Emails with attorneys re upcoming hearing on Excel       0.20       975.00       $195.00
                                settlement.
02/24/2016    JKH     CO        Emails from, to Shirley S. Cho, Ira D. Kharasch,         0.30       825.00       $247.50
                                office conference with Ira D. Kharasch regarding
                                Exel settlement position.
02/24/2016    SSC     CO        Attend court hearing telephonically.                     0.60       750.00       $450.00
02/25/2016    IDK     CO        Emails with A. Caine re status of updated analysis of    0.20       975.00       $195.00
                                Lichtenburg settlement and preference analysis.
02/29/2016    IDK     CO        Emails with S Gubner re our analysis of preference       0.50       975.00       $487.50
                                claim vs Lichtenburg, and his response re same (.3);
                                Emails with A. Caine re same and how to respond re
                                requested underlying docs and his response to S
                                Gubner (.2).
03/01/2016    SSC     CO        Telephone conference with A. Calscabetta re status       0.20       750.00       $150.00
                                of 503(b)(9) claim resolutions.
03/02/2016    SSC     CO        Review bar date motion.                                  0.10       750.00        $75.00
03/03/2016    SSC     CO        Telephone conference with W. Pederson re                 0.20       750.00       $150.00
                                503(b)(9) claims.
     Case 8:15-bk-13008-TA           Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00                       Desc
                                      Main Document    Page 66 of 118

Pachulski Stang Ziehl & Jones LLP                                                              Page: 31
Anna's Linen OCC                                                                               Invoice 117787
03751     00002                                                                                March 30, 2016


                                                                                       Hours          Rate        Amount
03/03/2016    SSC     CO        Review notice of lodgment re Shewak, Welcome, P         0.10       750.00          $75.00
                                & A orders and forward to EA.
03/07/2016    FSH     CO        Review and respond to Shirley S. Cho regarding          0.30       305.00          $91.50
                                objections to claims and other matters now on
                                calendar for March 23.
03/08/2016    IDK     CO        Emails with S. Cho re Excel settlement hearing          0.10       975.00          $97.50
                                tomorrow.
03/08/2016    JKH     CO        Emails from, to Komorksy, Calascibetta regarding        0.20       825.00         $165.00
                                TM Capital invoices.
03/10/2016    IDK     CO        Telephone conferences with Brownstein re objection      0.70       975.00         $682.50
                                to Lichtenberg settlement and his concerns re same,
                                and committee call tomorrow (.3); Emails with S
                                Cho re same and need to disseminate more
                                information to committee re same for call tomorrow
                                (.2); Review finalized information to committee for
                                call on Friday re issues (.2).
03/10/2016    SSC     CO        Telephone conference with M. Brownstein re              0.20       750.00         $150.00
                                Lichtenberg objection.
03/10/2016    SSC     CO        Telephone conference with A. Calscabetta re             0.10       750.00          $75.00
                                Lichtenberg objection.
03/11/2016    IDK     CO        Various emails and telephone conferences with           1.20       975.00        $1,170.00
                                Lichtenburg group prior to committee call on the
                                committee view of the Lichtenburg settlement with
                                Debtor (.4); Telephone conferences with
                                Lichtenburg group after committee call re committee
                                decision regarding same (.3); Emails with Kevin
                                White, committee member, re his client’s 503(b)(9)
                                claim and request for me to discuss with Elmer (.1);
                                Telephone conferences with Elmer re same (.2);
                                Emails and telephone conference with S Cho re need
                                to file committee position on Lichtenburg settlement
                                motion (.2).
03/14/2016    IDK     CO        Emails and telephone conference with S Cho re draft     0.30       975.00         $292.50
                                of committee position on Lichtenburg settlement,
                                including review of same (.3).
03/14/2016    SSC     CO        Review and revise statement re Lichtenberg              0.10       750.00          $75.00
                                settlement motion.
03/14/2016    SSC     CO        Telephone conference with I. Kharasch re                0.10       750.00          $75.00
                                Lichtenberg settlement motion statement.
03/15/2016    IDK     CO        Emails with S Cho re order on class certification on    0.20       975.00         $195.00
                                WARN claim lawsuit and review same.
03/21/2016    IDK     CO        Telephone conferences with Lichtenburg counsel re       0.20       975.00         $195.00
                                upcoming hearing on Lichtenburg settlement.
                                                                                       37.30                    $28,833.50
     Case 8:15-bk-13008-TA           Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00                        Desc
                                      Main Document    Page 67 of 118

Pachulski Stang Ziehl & Jones LLP                                                               Page: 32
Anna's Linen OCC                                                                                Invoice 117787
03751     00002                                                                                 March 30, 2016


                                                                                        Hours          Rate       Amount
  Compensation Prof. [B160]
10/02/2015    FSH     CP        Review and respond to correspondence from                0.40       305.00        $122.00
                                William Ramseyer regarding documents for fee
                                application and obtain same and transmit to him.
10/07/2015    LAF     CP        Research re: Examples of fee apps under new              1.00       325.00        $325.00
                                guidelines.
10/15/2015    WLR     CP        Draft 1st interim fee application                        4.40       650.00       $2,860.00
10/15/2015    WLR     CP        Prepare 1st interim fee application                      3.60       650.00       $2,340.00
10/17/2015    WLR     CP        Review and revise 1st interim fee application            2.90       650.00       $1,885.00
10/17/2015    WLR     CP        Review and revise 1st interim fee application            2.10       650.00       $1,365.00
10/20/2015    SSC     CP        Review and revise PSZJ fee application exhibit.          0.80       750.00        $600.00
10/21/2015    SSC     CP        Review and revise PSZJ fee application invoice.          2.00       750.00       $1,500.00
11/02/2015    WLR     CP        Telephone conference with Shirley Cho re fee             0.30       650.00        $195.00
                                application (.1), correspondence to Shirley Cho re
                                UST Large Case Guidelines (.2)
11/03/2015    WLR     CP        Review correspondence from Shirley Cho re budget         0.20       650.00        $130.00
                                and send correspondence to Felice Harrison re
                                exhibits
11/03/2015    WLR     CP        Telephone call from Shirley Cho re budget                0.10       650.00         $65.00
11/03/2015    FSH     CP        Review interim fee application from Bill Ramseyer        0.30       305.00         $91.50
                                and prepare correspondence to him with inquiries.
11/04/2015    WLR     CP        Review correspondence from Felice Harrison and           1.60       650.00       $1,040.00
                                Shirley Cho re exhibits (.3); worked on compliance
                                with United States Trustee large case guidelines
                                (1.3)
11/04/2015    SSC     CP        Telephone conferences with F. Harrison re PSZJ fee       0.20       750.00        $150.00
                                application status.
11/04/2015    FSH     CP        Review and respond to numerous correspondence            0.40       305.00        $122.00
                                with Bill Ramseyer and Shirley S. Cho regarding fee
                                application.
11/04/2015    FSH     CP        Prepare modified draft of interim fee application and    2.30       305.00        $701.50
                                insert hours and amounts.
11/04/2015    FSH     CP        Prepare comprehensive exhibits to fee application.       4.50       305.00       $1,372.50
11/05/2015    JNP     CP        Emails with Shirley S. Cho and Ira D. Kharasch           0.10       895.00         $89.50
                                regarding fee application.
11/05/2015    WLR     CP        Review exhibits to interim fee application               0.70       650.00        $455.00
11/05/2015    WLR     CP        Analysis re budget.                                      0.20       650.00        $130.00
11/05/2015    WLR     CP        Review correspondence from Felice Harrison and           0.40       650.00        $260.00
                                Shirley Cho re exhibits and interim fee application
                                (.4)
     Case 8:15-bk-13008-TA           Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00                       Desc
                                      Main Document    Page 68 of 118

Pachulski Stang Ziehl & Jones LLP                                                              Page: 33
Anna's Linen OCC                                                                               Invoice 117787
03751     00002                                                                                March 30, 2016


                                                                                       Hours          Rate       Amount
11/05/2015    SSC     CP        Telephone conference with Golubchik re fee              0.10       750.00         $75.00
                                application.
11/05/2015    SSC     CP        Correspond with J. Pomerantz re large fee case          0.10       750.00         $75.00
                                guidelines.
11/05/2015    SSC     CP        Correspond with Golubchik re fee application.           0.20       750.00        $150.00
11/05/2015    SSC     CP        Review and revise fee budget.                           0.30       750.00        $225.00
11/05/2015    FSH     CP        Assemble exhibits for pdf version for transmission      0.30       305.00         $91.50
                                to Shirley S. Cho and Bill Ramseyer.
11/05/2015    FSH     CP        Prepare edits to fee application and exhibits based     0.70       305.00        $213.50
                                upon comments from Shirley S. Cho and Bill
                                Ramseyer.
11/05/2015    FSH     CP        Review pleadings for name of co-chair of committee      1.30       305.00        $396.50
                                and prepare declaration in support of fees.
11/05/2015    FSH     CP        Review and analysis regarding revised budget            0.10       305.00         $30.50
                                exhibit.
11/06/2015    SSC     CP        Telephone conference with A. Calscabetta re PSZJ        0.20       750.00        $150.00
                                fee application.
11/06/2015    SSC     CP        Meet and confer with I. Kharasch re PSZJ fee            0.20       750.00        $150.00
                                application.
11/06/2015    SSC     CP        Review and revise PSZJ fee application.                 2.50       750.00       $1,875.00
11/07/2015    SSC     CP        Review and revise interim fee application.              0.10       750.00         $75.00
11/09/2015    HDH     CP        Review pleadings and draft insert to fee application    0.60       750.00        $450.00
11/09/2015    IDK     CP        Review briefly draft fee app (.3); Emails with S Cho    0.60       975.00        $585.00
                                re my proposed revisions for introduction (.3).
11/09/2015    JKH     CP        Emails, telephone conference with Shirley S. Cho        0.30       825.00        $247.50
                                regarding preparation of secured lenders' work
                                summary.
11/09/2015    SSC     CP        Review and revise PSZJ fee application.                 0.80       750.00        $600.00
11/10/2015    SSC     CP        Review and revise PSZJ fee application.                 0.10       750.00         $75.00
11/10/2015    FSH     CP        Review correspondence from Shirley S. Cho               0.30       305.00         $91.50
                                regarding addition to interim fee application and
                                revise fee application to include a prefatory
                                statement.
11/11/2015    SSC     CP        Telephone conference with F. Harrison re fee            0.10       750.00         $75.00
                                application filing deadline.
11/11/2015    SSC     CP        Telephone conference with I. Kharasch re fee            0.10       750.00         $75.00
                                application filing deadline.
11/11/2015    SSC     CP        Review and revise PSZJ fee application.                 1.50       750.00       $1,125.00
11/11/2015    FSH     CP        Assemble the fee application with exhibits and proof    0.40       305.00        $122.00
                                of service for Shirley S. Cho and Ira D. Kharasch.
11/12/2015    WLR     CP        Review correspondence from Felice Harrison and          0.40       650.00        $260.00
     Case 8:15-bk-13008-TA           Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00                        Desc
                                      Main Document    Page 69 of 118

Pachulski Stang Ziehl & Jones LLP                                                               Page: 34
Anna's Linen OCC                                                                                Invoice 117787
03751     00002                                                                                 March 30, 2016


                                                                                        Hours          Rate      Amount
                                Shirley Cho re fee application exhibit (.1), review
                                sample exhibit (.1) and reply re same
11/12/2015    SSC     CP        Correspond with M. Brownstein re Committee               0.10       750.00        $75.00
                                declaration.
11/12/2015    SSC     CP        Telephone conference with F. Harrison re revisions       0.10       750.00        $75.00
                                needed to Committee declarations.
11/12/2015    SSC     CP        Telephone conference with Kharasch re fee                0.10       750.00        $75.00
                                applications.
11/12/2015    SSC     CP        Telephone conference with S. Seflin re client            0.10       750.00        $75.00
                                declaration.
11/12/2015    FSH     CP        Numerous correspondence with William Ramseyer            0.40       305.00       $122.00
                                regarding exhibits to fee applications.
11/12/2015    FSH     CP        Prepare declaration of the other co-chair in support     0.60       305.00       $183.00
                                of the firms fees.
11/12/2015    FSH     CP        Prepare supplement to fee application regarding          1.10       305.00       $335.50
                                missing exhibit.
11/12/2015    FSH     CP        Numerous correspondence with Shirley S. Cho              0.30       305.00        $91.50
                                regarding supplement and exhibit.
11/13/2015    FSH     CP        Prepare Exhibit required by the UST guidelines.          1.20       305.00       $366.00
11/17/2015    IDK     CP        Emails re draft objection of UST to fee application      0.20         0.00           $0.00
                                (.1); Emails with UST and S Cho re same and
                                stipulation to extend deadline (.1).(No Charge)
11/17/2015    SSC     CP        Review UST objection to PSZJ fee application. (No        0.20         0.00           $0.00
                                Charge)
11/17/2015    SSC     CP        Review and revise stipulation re PSZJ fee                0.20         0.00           $0.00
                                application. (No Charge)
11/17/2015    SSC     CP        Review and respond to M. Hauser email re PSZJ fee        0.20         0.00           $0.00
                                application. (No Charge)
11/17/2015    SSC     CP        Review and revise order approving stipulation.(No        0.20         0.00           $0.00
                                Charge)
11/17/2015    FSH     CP        Prepare order on stipulation with UST regarding fee      0.30         0.00           $0.00
                                objection. (No Charge)
11/18/2015    IDK     CP        Emails with attorneys re objections of UST and           0.10         0.00           $0.00
                                State Board to fee app and how to respond (.1). (No
                                Charge)
11/18/2015    JNP     CP        Review emails regarding objections to sale and           0.20         0.00           $0.00
                                pleadings. (No Charge)
11/18/2015    SEG     CP        Review I. Kharasch email regarding US Trustee fee        0.50         0.00           $0.00
                                application objection and work on sale tax and trust
                                fund tax issues and review objection and emails to I.
                                Kharasch and review information regarding same.
                                (No Charge)
11/18/2015    SSC     CP        Meet and confer with F. Harrison re PSZJ                 0.20         0.00           $0.00
     Case 8:15-bk-13008-TA           Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00                          Desc
                                      Main Document    Page 70 of 118

Pachulski Stang Ziehl & Jones LLP                                                                 Page: 35
Anna's Linen OCC                                                                                  Invoice 117787
03751     00002                                                                                   March 30, 2016


                                                                                          Hours          Rate      Amount
                                supplement to fee application. (No Charge)
11/18/2015    SSC     CP        Review SBE objection to PSZJ fee application. (No          0.20         0.00           $0.00
                                Charge)
11/18/2015    SSC     CP        Review and revise PSZJ supplement to fee                   1.00         0.00           $0.00
                                application. (No Charge)
11/18/2015    SSC     CP        Correspond with Brownstein re PSZJ client                  0.20         0.00           $0.00
                                signature needed. (No Charge)
11/18/2015    FSH     CP        Review and respond to correspondence from Shirley          0.20         0.00           $0.00
                                S. Cho regarding supplement and exhibit to fee
                                application and transmit same for review. (No
                                Charge)
11/19/2015    IDK     CP        Numerous emails with attorneys re objections filed         1.80         0.00           $0.00
                                by State Board of Equalization and UST and our
                                potential responses to the sales tax related objections
                                on basis of our objection to same, including review
                                of same (1.0); emails and telephone conferences
                                with UST re our proposal to resolve his objection re
                                same and basis for same re liquidity issues (.4);
                                emails with UST re his proposed stipulation and
                                execute (.2); emails with S Cho re resolution re UST
                                and coverage of hearing re other objection (.2). (No
                                Charge)
11/19/2015    SEG     CP        Review I. Kharasch emails regarding issues,                1.00         0.00           $0.00
                                arguments, amounts at issue and court rulings
                                regarding prepetition sales taxes and review
                                documents and pleadings and emails to I. Kharasch
                                regarding same. (No Charge)
11/19/2015    SSC     CP        Telephone conference with P. Keane re Anna’s               0.10         0.00           $0.00
                                PSZJ fee supplement. (No Charge)
11/20/2015    IDK     CP        Office conferences and emails with J. Hunter re need       1.90         0.00           $0.00
                                for him to draft parts of reply brief to State Board of
                                Equalization, and various relevant emails re same, as
                                well as to address other issues (.5); emails and
                                telephone conference with F. Harrison re same (.2);
                                emails with S. Goldich re same for further facts re
                                state tax objections (.3); emails and telephone
                                conference with S Cho and B Ramseyer re need for
                                them to draft remainder of reply to State Board, and
                                issues re same (.4); email and telephone conference
                                with counsel to State Board re potential resolution of
                                its objection and their questions (.3); Telephone
                                conference and emails with UST re need to revise
                                our stipulation, including review of revised
                                stipulation (.2). (No Charge)
11/20/2015    JKH     CP        Office conferences with Ira D. Kharasch, Shirley S.        2.00         0.00           $0.00
                                Cho regarding preparation of response to SBE
                                opposition to fee application (.4); Review
                                documents, emails from Ira D. Kharasch regarding
     Case 8:15-bk-13008-TA           Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00                       Desc
                                      Main Document    Page 71 of 118

Pachulski Stang Ziehl & Jones LLP                                                              Page: 36
Anna's Linen OCC                                                                               Invoice 117787
03751     00002                                                                                March 30, 2016


                                                                                       Hours          Rate      Amount
                                same (1.6). (No Charge)
11/20/2015    SEG     CP        Review SBE objection to PSZJ fee application and        0.20         0.00           $0.00
                                email to I. Kharasch regarding same. (No Charge)
11/20/2015    WLR     CP        Review correspondence from Ira Kharasch (2x) (.2)       0.80         0.00           $0.00
                                and review SBE objection to fee application (.2) and
                                prepare memo to Ira Kharasch re same (.4) (No
                                Charge)
11/20/2015    SSC     CP        Draft PSZJ reply to SBE objection. (No Charge)          1.60         0.00           $0.00
11/20/2015    SSC     CP        Correspond with Kharasch re PSZJ reply to SBE           0.10         0.00           $0.00
                                objection to fee application. (No Charge)
11/20/2015    FSH     CP        Prepare reply to SBE's objection to PSZJ's fee          0.30         0.00           $0.00
                                application (No Charge)
11/20/2015    FSH     CP        Review correspondence from William Ramseyer and         0.30         0.00           $0.00
                                respond to questions regarding SBE's allegation that
                                the PSZJ did not comply with the local rules. (No
                                Charge)
11/20/2015    FSH     CP        Research issues regarding billing rates. (No Charge)    0.50         0.00           $0.00
11/20/2015    FSH     CP        Review and analyze all pleadings regarding the "tax     1.10         0.00           $0.00
                                issue" and provide Ira D. Kharasch with same for
                                response to SBE's objection to fee application. (No
                                Charge)
11/22/2015    WLR     CP        Review PSZ&J and Levene fee applications,               1.10         0.00           $0.00
                                correspondence from Felice Harrison, and Local
                                Rules and prepare memorandum regarding PSZ&J
                                fee application and objections based on alleged
                                failure to comply with Local Rules (No Charge)
11/22/2015    SSC     CP        Review executed client declaration in support of        0.10         0.00           $0.00
                                PSZJ fee application. (No Charge)
11/23/2015    IDK     CP        Telephone conferences with counsel for State Board      0.30         0.00           $0.00
                                re potential resolution of its objection to fee
                                application, and issue re carve out (.2); Telephone
                                conference with J. Pomerantz re same and carve out
                                (.1). (No Charge)
11/23/2015    JKH     CP        Emails, office conferences with Ira D. Kharasch and     2.60         0.00           $0.00
                                telephone conferences with Stanley E. Goldich,
                                Heyn regarding SBE objection, state tax issues (.6);
                                Work on preparation of response to SBE Objection
                                (2.0). (No Charge)
11/23/2015    SSC     CP        Review Lichtenberg Declaration for filing.              0.10       750.00       $75.00
11/23/2015    FSH     CP        Review correspondence from Bill Ramseyer                0.20         0.00           $0.00
                                regarding compliance issues for reply to Fee
                                Objection. (No Charge)
11/24/2015    IDK     CP        Telephone conferences with counsel for EDD re           0.40         0.00           $0.00
                                how to resolve objection to fee application (.2);
                                Telephone conferences with J. Hunter re same and
     Case 8:15-bk-13008-TA           Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00                        Desc
                                      Main Document    Page 72 of 118

Pachulski Stang Ziehl & Jones LLP                                                               Page: 37
Anna's Linen OCC                                                                                Invoice 117787
03751     00002                                                                                 March 30, 2016


                                                                                        Hours          Rate        Amount
                                terms of stipulation (.2). (No Charge)
11/24/2015    JKH     CP        Work on Response to SBE objection (1.6);                 3.00         0.00            $0.00
                                Telephone call from Ira D. Kharasch, draft and
                                revise, emails to, from Heyn regarding stipulation
                                with SBE regarding fee application (1.4). (No
                                Charge)
11/24/2015    WLR     CP        Prepare section of response to SBE objection to fee      4.40         0.00            $0.00
                                application related to asserted violation of local
                                rules, reviewed and analyzed local rules, and
                                reviewed co-chair declarations and other documents
                                (No Charge)
12/01/2015    IDK     CP        Start organizing for tomorrow’s fee app hearing, and     0.50         0.00            $0.00
                                brief review of pleadings. (No Charge)
12/01/2015    FSH     CP        Review and analyze all pleadings for hearing on          1.60       305.00         $488.00
                                interim fee applications and assist attorney for
                                hearing with description of all pleadings.
12/02/2015    IDK     CP        Prep for first interim fee app hearing, including new    1.30         0.00            $0.00
                                blended rate calculation given write offs, and how
                                time spent on major topics (1.1); Emails with
                                Debtor later re draft form of omnibus order, and my
                                feedback re revisions (.2). (No Charge)
12/02/2015    WLR     CP        Telephone call from Ira Kharasch, and telephone          0.20       650.00         $130.00
                                call to Felice Harrison regarding information needed
                                for fee application hearing today
12/03/2015    IDK     CP        Emails and telephone conference with our Financial       0.30       975.00         $292.50
                                Advisor and Debtor re further revisions to omnibus
                                fee order.
12/04/2015    SSC     CP        Attention to PSZJ first interim fee order.               0.10       750.00          $75.00
12/10/2015    SSC     CP        Attention to interim fee order.                          0.10       750.00          $75.00
12/10/2015    FSH     CP        Review correspondence from Shirley S. Cho                0.30       305.00          $91.50
                                regarding order regarding fees and research
                                information to respond to her inquiry.
12/16/2015    IDK     CP        Emails and telephone conference with J. Pomerantz        0.20       975.00         $195.00
                                re issues on fees and fee app preparation.
                                                                                        76.20                    $25,832.00

  Comp. of Prof./Others
11/05/2015    SSC     CPO       Correspond with EA re fee application deadline.          0.10       750.00          $75.00
11/05/2015    SSC     CPO       Telephone conference with A. Calscabetta re fee          0.10       750.00          $75.00
                                application.
11/11/2015    SSC     CPO       Review and revise Eisner Amper fee application.          0.70       750.00         $525.00
11/11/2015    SSC     CPO       Telephone conference with T. Calscabetta re same.        0.10       750.00          $75.00
11/12/2015    SSC     CPO       Review and revise Committee declaration in support       0.30       750.00         $225.00
     Case 8:15-bk-13008-TA           Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00                       Desc
                                      Main Document    Page 73 of 118

Pachulski Stang Ziehl & Jones LLP                                                              Page: 38
Anna's Linen OCC                                                                               Invoice 117787
03751     00002                                                                                March 30, 2016


                                                                                       Hours          Rate       Amount
                                of fee applications.
                                                                                        1.30                     $975.00

  Executory Contracts [B185]
11/03/2015    IDK     EC        Emails with counsel to landlord re dispute with         0.20       975.00        $195.00
                                Debtor over cure (.2).
11/05/2015    IDK     EC        Emails with counsel to landlord of Auzone re cure       0.30       975.00        $292.50
                                dispute and his request for Committee involvement
                                (.2); Emails with debtor’s counsel re same (.1).
11/06/2015    IDK     EC        Emails with Landsberg re status of his lease problem    0.20       975.00        $195.00
                                (.1); Emails with Debtor and Landsberg re same (.1).
11/12/2015    IDK     EC        Emails and telephone conference with I. Landsberg       0.30       975.00        $292.50
                                re dispute of administrative claim re lease
                                assumption (.3).
11/17/2015    IDK     EC        Emails with Donovan re proposed stipulation on          0.20       975.00        $195.00
                                landlord’s administrative claim re mistake on cure,
                                including review of same and consider
                                recommendation to committee.
11/18/2015    IDK     EC        Emails with counsel for landlord Au Zone re             0.20       975.00        $195.00
                                committee support of settlement and stipulation, and
                                Debtor’s feedback re same (.2).
01/11/2016    IDK     EC        Emails with S Cho re new stipulation by Debtor re       0.20       975.00        $195.00
                                AutoZone administrative claim, and our position
                                (.2).
01/11/2016    SSC     EC        Review Planet Hollywood motion and correspond           0.20       750.00        $150.00
                                with E. Karasik re same.
                                                                                        1.80                    $1,710.00

  Financial Filings [B110]
01/27/2016    FSH     FF        Review correspondence from Ira D. Kharasch and          0.40       305.00        $122.00
                                Shirley S. Cho regarding Statement of Financial
                                Affairs and review same and provide requested
                                information regarding payment to insiders.
03/07/2016    JKH     FF        Emails from, to Davis, Calascibetta regarding           0.30       825.00        $247.50
                                monthly operating reports, review same.
                                                                                        0.70                     $369.50

  Financing [B230]
10/05/2015    FSH     FN        Review correspondence from Shirley S. Cho               0.30       305.00         $91.50
                                regarding stipulation with ACCO regarding
                                premium financing agreement, review documents
                                and respond thereto.
10/12/2015    SSC     FN        Meet and confer with Kharasch re forbearance            0.20       750.00        $150.00
     Case 8:15-bk-13008-TA           Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00                        Desc
                                      Main Document    Page 74 of 118

Pachulski Stang Ziehl & Jones LLP                                                               Page: 39
Anna's Linen OCC                                                                                Invoice 117787
03751     00002                                                                                 March 30, 2016


                                                                                        Hours          Rate       Amount
                                agreement notice.
10/12/2015    SSC     FN        Review and analysis re forbearance agreement             0.20       750.00        $150.00
                                notice and telephone conference with Kharasch re
                                same.
10/12/2015    SSC     FN        Telephone conference with Golubchik re                   0.20       750.00        $150.00
                                forbearance agreement notice.
10/12/2015    SSC     FN        Analysis re 10/14 hearing matters.                       0.30       750.00        $225.00
10/13/2015    SSC     FN        Telephone conference with EA re default.                 0.40       750.00        $300.00
10/22/2015    SSC     FN        Telephone conference with A. Calscabetta re DIP          0.20       750.00        $150.00
                                credit agreement amendment.
10/22/2015    SSC     FN        Review DIP amendment and paydown letter.                 0.10       750.00         $75.00
10/22/2015    SSC     FN        Correspond with Golubchik re DIP amendment.              0.10       750.00         $75.00
10/23/2015    SSC     FN        Telephone conference with Calscabetta re DIP             0.10       750.00         $75.00
                                paydown.
11/04/2015    SSC     FN        Review and revise fee budget.                            0.20       750.00        $150.00
11/06/2015    FSH     FN        Review docket to determine if any budget was filed       0.20       305.00         $61.00
                                by the Debtor after the Final DIP Order was entered
                                and transmit correspondence to Ira D. Kharasch and
                                Shirley S. Cho regarding my findings.
12/09/2015    IDK     FN        Emails with financial advisor re new DIP budget and      0.20       975.00        $195.00
                                Salus paydown status and reserves (.2).
                                                                                         2.70                    $1,847.50

  General Business Advice [B410]
10/12/2015    IDK     GB        E-mails and telephone conference with financial          0.40       975.00        $390.00
                                advisor and J. Pomerantz re status on various issues,
                                including latest estimate of value of assets in GOB
                                sale, waterfall analysis needed (.4).
10/16/2015    IDK     GB        Telephone conferences and emails with financial          0.80       975.00        $780.00
                                advisor re outstanding issues and need for call,
                                including latest information from financial advisor
                                on sharing proceeds (.4); Office conferences with J.
                                Hunter re same for litigation issues for financial
                                advisors and related issues (.2); Emails with J.
                                Pomerantz re issues for discussion and conversion
                                (.2).
10/19/2015    IDK     GB        Emails with Financial Advisor re upcoming call on        0.70       975.00        $682.50
                                general issues (.1); Attend call with Financial
                                Advisor and J. Hunter re same on waterfall,
                                questions by co-plaintiffs, conversion issues (.6).
10/21/2015    IDK     GB        Email Financial Advisor re upcoming call today on        0.60       975.00        $585.00
                                case status (.1); Attend conference call with
                                Financial Advisor and J. Hunter re same, potential
     Case 8:15-bk-13008-TA           Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00                          Desc
                                      Main Document    Page 75 of 118

Pachulski Stang Ziehl & Jones LLP                                                                 Page: 40
Anna's Linen OCC                                                                                  Invoice 117787
03751     00002                                                                                   March 30, 2016


                                                                                          Hours          Rate       Amount
                                distributions to estate and to 503(b)(9)s, and forensic
                                questions (.4); Telephone conference with J. Hunter
                                re follow up to such call (.1).
10/22/2015    IDK     GB        Emails with Financial Advisor re status of waterfall       0.20       975.00        $195.00
                                and reschedule call for tomorrow (.1); Email
                                Financial Advisor and Debtor re timing of new cash
                                collateral budget (.1).
10/23/2015    IDK     GB        Emails with Financial Advisor and J. Hunter re need        0.90       975.00        $877.50
                                to reschedule call on case (.1); Prep for call with
                                Financial Advisor and J. Hunter, including review of
                                draft of Financial Advisor’s waterfall analysis (.2);
                                Email and telephone conference with S Cho re same
                                and points for call (.1); Attend conference call with
                                Financial Advisor and J. Hunter re general case
                                issues and waterfall and litigation issues (.5).
10/30/2015    IDK     GB        Telephone conferences with financial advisor re            0.20       975.00        $195.00
                                status of case and need for more information.
11/03/2015    IDK     GB        Emails and telephone conference with our financial         0.70       975.00        $682.50
                                advisor and J. Hunter re waterfall issues and need to
                                revise same (.6); Telephone conference with
                                financial advisor re follow up to call re same (.1).
11/04/2015    IDK     GB        Telephone conference with financial advisor re             0.10       975.00         $97.50
                                issues on waterfall.
11/05/2015    IDK     GB        Emails with Debtor’s counsel re info needed for our        0.30       975.00        $292.50
                                waterfall analysis and potential conversion (.2);
                                Email and telephone conference with S Cho re same
                                (.1).
11/16/2015    IDK     GB        Emails and telephone conference with financial             0.30       975.00        $292.50
                                advisor re waterfall analysis issues and WARN act
                                (.3).
11/18/2015    IDK     GB        Emails and telephone conference with Debtor                0.40       975.00        $390.00
                                counsel re waterfall analysis, possible conversion of
                                case, and related issues (.4).
11/19/2015    IDK     GB        Telephone conferences with our financial advisor re        0.20       975.00        $195.00
                                waterfall issues after getting Debtor’s feedback, and
                                potential conversion of case.
11/25/2015    IDK     GB        Emails and telephone conference with financial             0.60       975.00        $585.00
                                advisor re status of case, waterfall update (.4);
                                Emails with O. Katz re status of waterfall and
                                503(b)(9) claims (.2).
12/04/2015    IDK     GB        Telephone conference with Financial Advisor re             0.10       975.00         $97.50
                                storage of records issue (.1).
12/11/2015    IDK     GB        Telephone conference with financial advisors re            1.30       975.00       $1,267.50
                                need for more information on waterfall for
                                upcoming mediation and issues re same, including
                                range on 503(b)(9) claims (.5); Emails with financial
     Case 8:15-bk-13008-TA           Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00                            Desc
                                      Main Document    Page 76 of 118

Pachulski Stang Ziehl & Jones LLP                                                                   Page: 41
Anna's Linen OCC                                                                                    Invoice 117787
03751     00002                                                                                     March 30, 2016


                                                                                            Hours          Rate      Amount
                                advisor re same and updated information for
                                waterfall (.2); Emails with debtor’s counsel re need
                                for information for waterfall update (.2); Review and
                                consider financial advisor’s revised waterfall update
                                (.2); Office conferences with J. Hunter re same (.2).
12/15/2015    IDK     GB        Telephone conference with financial advisor re               0.40       975.00       $390.00
                                result of mediation and next steps in case, and need
                                for information (.2); Emails with debtor’s counsel re
                                same (.2).
12/22/2015    IDK     GB        Attend conference call with Debtor and its counsel,          0.70       975.00       $682.50
                                our Financial Advisor, regarding case status and
                                next steps in case, potential conversion, timing on
                                resolving 503b9 claims and other key admin claims
                                and Salus litigation.
01/08/2016    IDK     GB        Emails and telephone conference with Debtor’s                0.20       975.00       $195.00
                                counsel re timing of conversion and goals to
                                accomplish prior to conversion.
01/20/2016    IDK     GB        Telephone conferences with financial advisor re new          0.20       975.00       $195.00
                                waterfall analysis and proposed stipulations by
                                Debtor.
02/10/2016    IDK     GB        Emails with Debtor’s counsel re need for status call         0.30       975.00       $292.50
                                on case status and next steps re conversion (.2);
                                Emails and telephone conference with A. Caine re
                                status of case and timing of conversion (.1).
02/11/2016    IDK     GB        Emails with J. Pomerantz re case status and                  1.00       975.00       $975.00
                                upcoming call today with Debtor’s counsel and
                                status of their preference demands (.2); Attend
                                conference call with Debtor’s counsels re case
                                status, status of 503(b)(9) litigation, Salus litigation,
                                and conversion issues (.5); Emails with S Cho re
                                need for committee call and agenda items, including
                                issues re Lichtenburg stipulation (.2); Email to
                                Debtor’s counsel re its summary of WARN litigation
                                (.1).
02/22/2016    IDK     GB        Telephone conferences with Gubner re case and                0.40       975.00       $390.00
                                conversion issues (.3); Emails with FA re further
                                information for new waterfall/liquidation analysis
                                (.1).
02/23/2016    IDK     GB        Review correspondence and draft motion from                  0.40       975.00       $390.00
                                Gubner re conversion (.2); Emails with Debtor’s
                                Counsel re same and process (.2).
02/25/2016    IDK     GB        Various emails with Debtor’s counsel and A Cho re            0.50       975.00       $487.50
                                form of conversion motion and timing of filing,
                                Court’s statements from hearing yesterday, and local
                                rules (.4); Telephone conferences with financial
                                advisor re status (.1).
02/25/2016    SSC     GB        Telephone conference with Seflin re conversion.              0.20       750.00       $150.00
     Case 8:15-bk-13008-TA           Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00                       Desc
                                      Main Document    Page 77 of 118

Pachulski Stang Ziehl & Jones LLP                                                              Page: 42
Anna's Linen OCC                                                                               Invoice 117787
03751     00002                                                                                March 30, 2016


                                                                                       Hours          Rate        Amount
02/25/2016    SSC     GB        Correspond with Golubchik and Kharasch re               0.20       750.00         $150.00
                                conversion.
03/02/2016    SSC     GB        Review motion to convert case.                          0.10       750.00          $75.00
03/08/2016    IDK     GB        Emails with Debtor, S Cho on pending motions and        0.20       975.00         $195.00
                                need for extensions of time to object, and status of
                                other items.
03/14/2016    IDK     GB        Emails with S Cho re upcoming hearing on March          0.20       975.00         $195.00
                                23 re conversion and other matters.
03/18/2016    IDK     GB        Emails with S Cho re upcoming hearing on 3/23 and       0.30       975.00         $292.50
                                hearing binder (.1); Emails with J Hunter and other
                                creditors on Salus issues (.2).
03/23/2016    IDK     GB        Email and telephone conference with Hauser at UST       0.30       975.00         $292.50
                                re conversion and timing of same and appointment
                                of trustee and potential names (.3).
03/24/2016    IDK     GB        Emails and telephone conference with I Landsberg,       0.20       975.00         $195.00
                                landlord counsel, re status of case and conversion.
03/29/2016    IDK     GB        Telephone conferences with Brownstein, counsel, re      0.20       975.00         $195.00
                                issues on conversion (.2).
                                                                                       13.80                    $13,342.50

  General Creditors Comm. [B150]
10/02/2015    FSH     GC        Update weekly summary.                                  0.90       305.00         $274.50
10/05/2015    IDK     GC        Emails with attorneys re potential call with            0.20       975.00         $195.00
                                committee tomorrow (.1); Review of S. Cho memo
                                to committee of status of pleadings (.1).
10/05/2015    SSC     GC        Correspond with Committee re status.                    0.10       750.00          $75.00
10/05/2015    SSC     GC        Review and revise summary memos.                        0.30       750.00         $225.00
10/06/2015    FSH     GC        Create new weekly summary and insert pleadings          1.30       305.00         $396.50
                                filed.
10/06/2015    FSH     GC        Review and respond to numerous correspondence           0.30       305.00          $91.50
                                from Shirley S. Cho regarding various issues.
10/07/2015    FSH     GC        Update weekly summary memo.                             1.20       305.00         $366.00
10/07/2015    FSH     GC        Review documents filed with court regarding cure        0.30       305.00          $91.50
                                costs for MPG for summary on memo.
10/08/2015    FSH     GC        Update memo to include orders and pleadings filed.      2.10       305.00         $640.50
10/09/2015    FSH     GC        Update weekly summary and critical dates.               0.70       305.00         $213.50
10/12/2015    JNP     GC        Conference with Eisner Ampner and Ira D.                0.30       895.00         $268.50
                                Kharasch regarding status of case and next steps.
10/12/2015    SSC     GC        Telephone conference with Kharasch re Committee         0.10       750.00          $75.00
                                call.
10/12/2015    SSC     GC        Revise weekly update to Committee.                      0.20       750.00         $150.00
     Case 8:15-bk-13008-TA           Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00                         Desc
                                      Main Document    Page 78 of 118

Pachulski Stang Ziehl & Jones LLP                                                                Page: 43
Anna's Linen OCC                                                                                 Invoice 117787
03751     00002                                                                                  March 30, 2016


                                                                                         Hours          Rate      Amount
10/12/2015    FSH     GC        Update weekly summary to add new pleadings.               0.60       305.00       $183.00
10/14/2015    SSC     GC        Review and revise Committee update memo.                  0.20       750.00       $150.00
10/14/2015    FSH     GC        Update weekly memo with new pleadings filed.              0.90       305.00       $274.50
10/15/2015    FSH     GC        Update weekly report and critical dates.                  0.90       305.00       $274.50
10/19/2015    IDK     GC        Telephone conferences with counsel to Google re           0.20       975.00       $195.00
                                status of case and its IP and sale of IP.
10/19/2015    FSH     GC        Prepare new weekly summary memo and add new               0.40       305.00       $122.00
                                pleadings.
10/20/2015    SSC     GC        Review and revise weekly summary memo.                    0.10       750.00        $75.00
10/20/2015    SSC     GC        Telephone conference with A. Calscabetta re status.       0.50       750.00       $375.00
10/20/2015    SSC     GC        Correspond with Committee re status.                      0.10       750.00        $75.00
10/20/2015    FSH     GC        Update weekly summary to add pleadings.                   0.40       305.00       $122.00
10/21/2015    FSH     GC        Update weekly summary to include another                  0.30       305.00        $91.50
                                stipulation.
10/23/2015    FSH     GC        Update weekly summary with description of                 0.50       305.00       $152.50
                                stipulation with Beatrice Home regarding
                                administrative claim.
10/26/2015    IDK     GC        Emails with S Cho, Financial Advisor re her draft         0.20       975.00       $195.00
                                summary to Committee of events, including review
                                of same (.1); Review emails with Committee re
                                same and re potential sale of litigation assets (.1).
10/26/2015    SSC     GC        Review and revise summary memo to Committee.              0.20       750.00       $150.00
10/27/2015    FSH     GC        Prepare weekly memo for week ending 10/31 and             0.50       305.00       $152.50
                                add new orders that were entered.
10/28/2015    FSH     GC        Review orders from court and update weekly                0.30       305.00        $91.50
                                summary to include same.
11/02/2015    IDK     GC        Emails with certain committee members and S Cho           0.30       975.00       $292.50
                                re next steps in case and re waterfall (.1); Telephone
                                conferences with financial advisor re same and next
                                draft and issues (.2).
11/03/2015    FSH     GC        Prepare new weekly pleadings with orders that have        0.50       305.00       $152.50
                                been entered.
11/05/2015    FSH     GC        Update weekly memo to include description of              0.60       305.00       $183.00
                                complaint filed.
11/09/2015    FSH     GC        Update weekly memo to include fee application of          0.40       305.00       $122.00
                                Pricewaterhouse Coopers.
11/10/2015    SSC     GC        Correspond with O. Katz re Committee meetings.            0.20       750.00       $150.00
11/11/2015    SSC     GC        Correspond with Committee re fee applications.            0.10       750.00        $75.00
11/11/2015    FSH     GC        Update weekly memo to include dates for complaint         0.20       305.00        $61.00
                                hearing and response.
     Case 8:15-bk-13008-TA           Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00                        Desc
                                      Main Document    Page 79 of 118

Pachulski Stang Ziehl & Jones LLP                                                               Page: 44
Anna's Linen OCC                                                                                Invoice 117787
03751     00002                                                                                 March 30, 2016


                                                                                        Hours          Rate       Amount
11/12/2015    IDK     GC        Telephone conference and emails with S Cho and           0.20       975.00        $195.00
                                financial advisor re coordination of next committee
                                meeting (.2).
11/12/2015    SSC     GC        Telephone conference with T. Calscabetta re              0.10       750.00         $75.00
                                Committee call.
11/15/2015    SSC     GC        Review weekly summary memo.                              0.10       750.00         $75.00
11/17/2015    IDK     GC        Telephone conferences and emails with financial          1.10       975.00       $1,072.50
                                advisor re issues on revised waterfall analysis,
                                including review of same (.4); Emails with S Cho re
                                same and need for agenda for committee call
                                tomorrow, and agenda items for same, including
                                review of final draft agenda (.3); Office conference
                                with J. Hunter re same re litigation update (.1);
                                Emails with Committee member re tomorrow’s call
                                and today’s preferences filed by Debtor (.2); Emails
                                with Debtor counsel re same re preferences and why
                                now (.1).
11/17/2015    SSC     GC        Draft Committee agenda.                                  0.40       750.00        $300.00
11/18/2015    IDK     GC        Prep for committee call re litigation and waterfall      1.60       975.00       $1,560.00
                                issues (.2); Telephone conference with financial
                                advisor re preparation for call (.1); Attend
                                committee call on all major issues, waterfall,
                                litigation update vs Salus and split negotiations,
                                proposed resolution of Au Zone lease dispute re cure
                                (1.1); Telephone conferences with J. Pomerantz re
                                result of call and issue of conversion and next steps
                                (.2).
11/18/2015    FSH     GC        Update memo to reflect summaries of the adversary        0.90       305.00        $274.50
                                proceedings filed and the stipulations with the UST
                                and PSZJ and LNBYB.
11/20/2015    IDK     GC        Telephone conference with S Cho re need to set next      0.20       975.00        $195.00
                                meeting and agenda item.
11/20/2015    FSH     GC        Review and analyze stipulations filed and prepare        0.70       305.00        $213.50
                                summaries for attorneys of each.
11/23/2015    IDK     GC        Emails with S Cho re weekly update for Committee,        0.10       975.00         $97.50
                                including review of same (.1).
11/23/2015    SSC     GC        Review and revise weekly summary.                        0.10       750.00         $75.00
11/23/2015    SSC     GC        Telephone conference with EA re Shewak claim             0.20       750.00        $150.00
                                stipulation.
11/23/2015    SSC     GC        Correspond with Committee re weekly pleadings            0.10       750.00         $75.00
                                filed.
11/23/2015    SSC     GC        Correspond with T. Arnold re Shewak claim                0.10       750.00         $75.00
                                stipulation.
11/23/2015    SSC     GC        Telephone conference with A. Calscabetta re              0.20       750.00        $150.00
                                Committee call items.
     Case 8:15-bk-13008-TA           Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00                       Desc
                                      Main Document    Page 80 of 118

Pachulski Stang Ziehl & Jones LLP                                                              Page: 45
Anna's Linen OCC                                                                               Invoice 117787
03751     00002                                                                                March 30, 2016


                                                                                       Hours          Rate      Amount
11/24/2015    FSH     GC        Review and analyze stipulations and orders entered      0.80       305.00       $244.00
                                and prepare summaries of each for memo to
                                Committee.
11/25/2015    FSH     GC        Review and analyze Stipulations with Transplace         0.70       305.00       $213.50
                                and the orders approving same and prepare
                                supplemental memo to the Committee regarding the
                                nature and content of such pleadings.
11/25/2015    FSH     GC        Review and analyze additional orders, pleadings and     1.00       305.00       $305.00
                                stipulations filed with the Court and prepare
                                summaries of each for the Committee.
11/30/2015    IDK     GC        Attend conference call with Committee on all issues,    0.70       975.00       $682.50
                                waterfall, conversion, Salus mediation (.6);
                                Telephone conference with Financial Advisor after
                                call re same and need for follow up for Committee
                                (.1).
12/02/2015    FSH     GC        Review and analyze orders and pleadings received        0.80       305.00       $244.00
                                and prepare summaries of each to include in weekly
                                memo to Committee.
12/16/2015    FSH     GC        Review correspondence from Shirley S. Cho and           0.30       305.00        $91.50
                                summarize document filed and respond thereto.
12/16/2015    FSH     GC        Review and analyze stipulation with MUGA bank           0.30       305.00        $91.50
                                and prepare summary for weekly memo to
                                Committee.
12/23/2015    FSH     GC        Review and analyze stipulations and motions filed       0.90       305.00       $274.50
                                and prepare summaries for each to include in weekly
                                memo to Committee.
12/28/2015    SSC     GC        Review weekly summary memo.                             0.10       750.00        $75.00
01/04/2016    FSH     GC        Review and analyze pleadings and orders filed and       1.50       305.00       $457.50
                                prepare summary of same for weekly memo.
01/05/2016    FSH     GC        Review docket and pleadings filed and prepare           0.80       305.00       $244.00
                                summaries of same to include in weekly memo to
                                committee.
01/07/2016    IDK     GC        Telephone conference with committee member re           0.40       975.00       $390.00
                                overall case status, whether to convert, and Salus
                                litigation (.4).
01/08/2016    FSH     GC        Review new pleading filed by Baltic and summarize       0.70       305.00       $213.50
                                same to include in weekly summary memo.
01/08/2016    FSH     GC        Listen to voice mail from creditor and prepare          0.20       305.00        $61.00
                                correspondence to Shirley S. Cho regarding response
                                thereto.
01/11/2016    IDK     GC        Emails with S Cho and committee members re need         0.30       975.00       $292.50
                                for committee call this week and agenda re
                                conversion, and logistics of timing of call.
01/11/2016    SSC     GC        Correspond with Committee re call.                      0.20       750.00       $150.00
     Case 8:15-bk-13008-TA           Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00                        Desc
                                      Main Document    Page 81 of 118

Pachulski Stang Ziehl & Jones LLP                                                               Page: 46
Anna's Linen OCC                                                                                Invoice 117787
03751     00002                                                                                 March 30, 2016


                                                                                        Hours          Rate       Amount
01/11/2016    FSH     GC        Review and analyze application and stipulation and       1.20       305.00        $366.00
                                summarize same for weekly memo.
01/12/2016    IDK     GC        Emails with Committee member and S Cho re                0.10       975.00         $97.50
                                upcoming call this week.
01/12/2016    FSH     GC        Review and analyze new pleadings and orders filed        0.70       305.00        $213.50
                                and summarize each to include in weekly memo to
                                creditors.
01/13/2016    IDK     GC        Emails with attorneys, financial advisor re upcoming     0.20       975.00        $195.00
                                committee meeting and status of claims vs credit
                                card companies.
01/14/2016    IDK     GC        Emails with S Cho and financial advisor re agenda        0.30       975.00        $292.50
                                items for committee call tomorrow.
01/14/2016    SSC     GC        Correspond with Committee re proposed agenda.            0.20       750.00        $150.00
01/15/2016    IDK     GC        Review and consider extensive memo on conversion         1.50       975.00       $1,462.50
                                of case and selection of chapter 7 trustee for
                                preparations for Committee call (.2); Telephone
                                conference and emails with financial advisor re
                                information for preparation for call on updated
                                waterfall information and 503(b)(9) claims (.3);
                                Telephone conference and email with Debtor’s
                                counsel re case status and potential conversion (.1);
                                Preparation for committee call (.2); Attend
                                committee call on case status and next steps (.7).
01/15/2016    JKH     GC        Prepare, attend Committee call.                          0.90       825.00        $742.50
01/15/2016    JNP     GC        Participate on Committee call.                           0.80       895.00        $716.00
01/15/2016    SSC     GC        Participate on Committee call.                           0.70       750.00        $525.00
01/15/2016    SSC     GC        Telephone conference with Brownstein re case             0.10       750.00         $75.00
                                status.
01/15/2016    FSH     GC        Review and analyze numerous documents regarding          1.50       305.00        $457.50
                                adversary proceedings and prepare summaries for
                                each for weekly summary and add new deadline
                                dates to critical dates memo.
01/19/2016    FSH     GC        Review and analyze orders and summarize same for         0.30       305.00         $91.50
                                inclusion in weekly memo.
01/20/2016    SSC     GC        Review weekly pleadings summary memo.                    0.20       750.00        $150.00
01/21/2016    FSH     GC        Review and analyze new pleading filed and prepare        0.50       305.00        $152.50
                                summary to include in the weekly memo.
01/22/2016    FSH     GC        Review and analyze daily pleadings and orders filed      0.70       305.00        $213.50
                                and summarize each to include in weekly memo.
01/25/2016    IDK     GC        Emails with S Cho re memo to Committee re status.        0.20       975.00        $195.00
01/25/2016    SSC     GC        Review weekly filed pleadings summary memo.              0.10       750.00         $75.00
01/27/2016    FSH     GC        Review and analyze order on administrative claim         0.20       305.00         $61.00
                                and summarize to include in weekly memo.
     Case 8:15-bk-13008-TA           Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00                       Desc
                                      Main Document    Page 82 of 118

Pachulski Stang Ziehl & Jones LLP                                                              Page: 47
Anna's Linen OCC                                                                               Invoice 117787
03751     00002                                                                                March 30, 2016


                                                                                       Hours          Rate      Amount
01/28/2016    SSC     GC        Telephone conference with creditor S. Lee.              0.10       750.00        $75.00
02/01/2016    FSH     GC        Prepare new weekly summary and review and               0.40       305.00       $122.00
                                analyze stipulation filed and summarize for weekly
                                memo to Committee and update critical dates memo
                                to reflect new hearings and deadlines.
02/04/2016    FSH     GC        Review and analyze 5 orders entered and summarize       0.40       305.00       $122.00
                                each to include on weekly memo; prepare updates to
                                attorneys and calendar clerk of new deadlines.
02/05/2016    SSC     GC        Review Canjoy order and correspond with                 0.30       750.00       $225.00
                                Brownstein and Kharasch re same (.2); telephone
                                conference with M. Brownstein re same (.1).
02/11/2016    SSC     GC        Correspond with Committee re call.                      0.10       750.00        $75.00
02/11/2016    SSC     GC        Review agenda from I. Kharasch re Committee call.       0.10       750.00        $75.00
02/11/2016    FSH     GC        Review and analyze 4 sets of objections to claims, 4    1.60       305.00       $488.00
                                objections to 503(b)(9) claims and one stipulation
                                and summarize each to include in weekly summary
                                and prepare updates to the critical dates memo.
02/12/2016    IDK     GC        Emails with S Cho and committee members re              0.40       975.00       $390.00
                                coordination and agenda on next committee call (.2);
                                Email and telephone conference with J Pomerantz
                                re summary of call with Debtor’s counsel on next
                                steps in case, including preference process (.2).
02/12/2016    SSC     GC        Correspond with Committee re call.                      0.10       750.00        $75.00
02/12/2016    FSH     GC        Review and analyze documents and orders entered         0.50       305.00       $152.50
                                and prepare summary of each for weekly memo and
                                update memo regarding dates and deadlines.
02/17/2016    IDK     GC        Emails with Debtor re its memo on status of all         0.40       975.00       $390.00
                                claim objections and 503(b)(9) claims, including
                                review of same (.2); Emails with S Cho re same and
                                other documents and agenda to send to Committee
                                re committee call next week (.2).
02/17/2016    SSC     GC        Draft Committee agenda for Committee call.              0.30       750.00       $225.00
02/17/2016    FSH     GC        Review and analyze documents and oppositions            1.20       305.00       $366.00
                                filed and summarize each for weekly memo to
                                Committee
02/18/2016    IDK     GC        Emails and office conference with S Cho re              0.30       975.00       $292.50
                                information for committee for next week’s call, and
                                Excel settlement explanation, and her draft
                                agenda/memo to committee (.3).
02/18/2016    SSC     GC        Revise Committee agenda.                                0.10       750.00        $75.00
02/18/2016    SSC     GC        Telephone conference with Lichtenberg re                0.10       750.00        $75.00
                                Committee call.
02/18/2016    SSC     GC        Meet and confer with I. Kharasch re Committee           0.20       750.00       $150.00
                                agenda.
     Case 8:15-bk-13008-TA           Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00                         Desc
                                      Main Document    Page 83 of 118

Pachulski Stang Ziehl & Jones LLP                                                                Page: 48
Anna's Linen OCC                                                                                 Invoice 117787
03751     00002                                                                                  March 30, 2016


                                                                                         Hours          Rate       Amount
02/18/2016    SSC     GC        Telephone conference with I. Kharasch re                  0.10       750.00         $75.00
                                Committee agenda.
02/18/2016    SSC     GC        Review and revise Committee agenda and materials;         0.50       750.00        $375.00
                                correspond with Committee.
02/19/2016    IDK     GC        Emails with FA re status of items for committee           0.40       975.00        $390.00
                                meeting next week and need for call (.2); Attend call
                                with FA next day on issues for new waterfall and
                                status of administrative claims (.2).
02/19/2016    FSH     GC        Prepare weekly summary memo outline for week              0.20       305.00         $61.00
                                ending 2/27.
02/19/2016    FSH     GC        Review and analyze pleadings and orders and               0.40       305.00        $122.00
                                summarize each to include in weekly memo and
                                transmit to Shirley S. Cho with critical dates.
02/22/2016    IDK     GC        Prepare for committee call today on numerous              0.90       975.00        $877.50
                                issues, motions, conversion (.3); Attend committee
                                call on general case status and issues (.5); Telephone
                                conference with Lichtenberg counsel re next steps
                                for their stipulation (.1).
02/22/2016    JKH     GC        Preparation, attend committee call (.5); Review           1.70       825.00       $1,402.50
                                documents, office conference with Ira D. Kharasch
                                regarding Chapter 7 trustee status regarding tolling
                                agreement and telephone conference with Davis
                                regarding same (1.2).
02/22/2016    JNP     GC        Participate on Committee call.                            0.50       895.00        $447.50
02/22/2016    SSC     GC        Committee call.                                           0.50       750.00        $375.00
02/22/2016    SSC     GC        Review weekly summary memo of pleadings for               0.10       750.00         $75.00
                                Committee.
03/04/2016    SSC     GC        Telephone conference with K. Owens, landlord              0.10       750.00         $75.00
                                counsel, re status of case.
03/07/2016    SSC     GC        Telephone conference with F. Harrison re                  0.10       750.00         $75.00
                                summaries of motions needed.
03/08/2016    IDK     GC        Communications with S Cho re pending motions in           1.00       975.00        $975.00
                                case (conversion, Salus, Lichtenberg) and need for
                                committee call re same, and next steps for each
                                motion, including need for A Caine feedback on
                                preference settlements (.4); Emails and telephone
                                conference with Brownstein re his questions for
                                committee call including tolling agreement with
                                Salus and Lichtenberg settlement position and status
                                (.4); Emails with S Cho re draft of agenda for same,
                                including review of same (.2).
03/08/2016    SSC     GC        Telephone conference with I. Kharasch re                  0.10       750.00         $75.00
                                Committee call.
03/08/2016    SSC     GC        Telephone conference with M. Brownstein re                0.10       750.00         $75.00
                                Committee call.
     Case 8:15-bk-13008-TA           Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00                    Desc
                                      Main Document    Page 84 of 118

Pachulski Stang Ziehl & Jones LLP                                                           Page: 49
Anna's Linen OCC                                                                            Invoice 117787
03751     00002                                                                             March 30, 2016


                                                                                    Hours          Rate        Amount
03/08/2016    SSC     GC        Correspond with Gubner re Committee call.            0.10       750.00          $75.00
03/08/2016    FSH     GC        Review and analyze all motions set for March 23,     2.50       305.00         $762.50
                                2016 hearing and summarize same to include in
                                weekly memo to Committee. Prepare
                                correspondence to calendar clerk regarding new
                                dates and update chart regarding same.
03/09/2016    IDK     GC        Email and telephone conference with S Cho re         0.30       975.00         $292.50
                                issues on agenda for committee call.
03/09/2016    SSC     GC        Telephone conference with Kharasch re Committee      0.10       750.00          $75.00
                                agenda.
03/09/2016    SSC     GC        Review and revise summary memo to Committee re       0.30       750.00         $225.00
                                pending motions.
03/09/2016    SSC     GC        Correspond with Committee re agenda and              0.30       750.00         $225.00
                                materials.
03/09/2016    SSC     GC        Telephone conference with A. Calscabetta re          0.10       750.00          $75.00
                                Committee call.
03/09/2016    FSH     GC        Review and analyze documents and orders filed and    0.50       305.00         $152.50
                                summarize same for weekly memo to Committee
                                and update chart with new dates and deadlines.
03/10/2016    FSH     GC        Review and analyze new documents and orders and      0.70       305.00         $213.50
                                summarize each for weekly memo to Committee.
03/11/2016    IDK     GC        Prep for committee call on numerous issues,          0.90       975.00         $877.50
                                including Salus fee issues and Lichtenburg and
                                opposition to same motion by committee members
                                (.3); Attend committee call re numerous issues in
                                case (.6).
03/14/2016    SSC     GC        Telephone conference with Kharasch re Committee      0.10       750.00          $75.00
                                call.
03/15/2016    FSH     GC        Review and analyze orders entered and summarize      0.50       305.00         $152.50
                                each to include in weekly memo to Committee.
03/16/2016    FSH     GC        Review and analyze daily pleadings and orders and    0.90       305.00         $274.50
                                summarize each to include in weekly memo to
                                Committee.
03/17/2016    SSC     GC        Telephone conference with M. Brownstein re           0.10       750.00          $75.00
                                hearing.
03/21/2016    FSH     GC        Review and analyze 9019 motion with P&A and          0.40       305.00         $122.00
                                Shewat and summarize to include in weekly memo
                                and update dates for calendar.
03/21/2016    FSH     GC        Review and analyze orders entered and summarize      0.50       305.00         $152.50
                                each for inclusion in the weekly memo to
                                Committee.
                                                                                    64.40                    $34,295.50
     Case 8:15-bk-13008-TA           Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00                      Desc
                                      Main Document    Page 85 of 118

Pachulski Stang Ziehl & Jones LLP                                                             Page: 50
Anna's Linen OCC                                                                              Invoice 117787
03751     00002                                                                               March 30, 2016


                                                                                      Hours          Rate       Amount
  Hearing
10/26/2015    SSC     HE        Review matters set for hearing on 10/28.               0.20       750.00        $150.00
10/28/2015    SSC     HE        Appear telephonically for court hearing.               0.30       750.00        $225.00
11/19/2015    SSC     HE        Correspond with Kharasch re hearing.                   0.10       750.00         $75.00
11/19/2015    SSC     HE        Telephone conference with Kharasch re hearing.         0.10       750.00         $75.00
12/01/2015    SSC     HE        Telephone conference with F. Harrison re hearing       0.10       750.00         $75.00
                                binder.
12/01/2015    SSC     HE        Review hearing binder and meet and confer with I.      0.20       750.00        $150.00
                                Kharasch re hearing.
01/05/2016    SSC     HE        Correspond with LNBYB re 1/6 hearing status.           0.10       750.00         $75.00
01/05/2016    SSC     HE        Telephone conference with E. Karasik re hearing.       0.10       750.00         $75.00
01/06/2016    SSC     HE        Attend Canjoy hearing telephonically.                  1.00       750.00        $750.00
02/23/2016    SSC     HE        Review tentative rulings re 2/24 hearing.              0.20       750.00        $150.00
02/25/2016    SSC     HE        Telephone conference with M. Brownstein re             0.20       750.00        $150.00
                                hearing.
03/07/2016    SSC     HE        Review critical dates and correspond with T. Arnold    0.10       750.00         $75.00
                                re 3/9 hearing matters.
03/14/2016    SSC     HE        Coordinate 3/23 hearing coverage.                      0.10       750.00         $75.00
03/18/2016    SSC     HE        Review hearing binder and critical dates re 3/23       0.30       750.00        $225.00
                                hearing matters.
                                                                                       3.10                    $2,325.00

  Insurance Coverage
10/05/2015    SSC     IC        Correspond with Golubchik re AFCO.                     0.10       750.00         $75.00
12/28/2015    IAWN IC           Review James KT Hunter email re indemnity,             1.50       850.00       $1,275.00
                                review David Barton's analysis re same on Delaware
                                law, review New York and California insurance law
                                in treatises, research buss case and developments,
                                draft and send short email to James KT Hunter re
                                results of analysis
                                                                                       1.60                    $1,350.00

  Operations [B210]
10/14/2015    SSC     OP        Telephone conference with A. Calscabetta re status.    0.30       750.00        $225.00
10/15/2015    IDK     OP        Office conferences with M Pagay re conversion          0.20       975.00        $195.00
                                issues (.2).
10/20/2015    SSC     OP        Review and analysis re inventory reconciliation.       0.20       750.00        $150.00
                                                                                       0.70                     $570.00
     Case 8:15-bk-13008-TA           Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00                       Desc
                                      Main Document    Page 86 of 118

Pachulski Stang Ziehl & Jones LLP                                                              Page: 51
Anna's Linen OCC                                                                               Invoice 117787
03751     00002                                                                                March 30, 2016


                                                                                       Hours          Rate       Amount
  Ret. of Prof./Other
10/22/2015    SSC     RPO       Coordinate retention application filings.               0.10       750.00         $75.00
10/22/2015    SSC     RPO       Review Snell & Wilmer OCP declaration.                  0.10       750.00         $75.00
10/22/2015    SSC     RPO       Correspond with Committee co-chairs re retention        0.20       750.00        $150.00
                                applications.
01/06/2016    SSC     RPO       Attention to BDO retention.                             0.10       750.00         $75.00
01/07/2016    SSC     RPO       Review A. Calscabetta email re BDO.                     0.10       750.00         $75.00
01/07/2016    SSC     RPO       Correspond with LNBYB re BDO.                           0.10       750.00         $75.00
                                                                                        0.70                     $525.00

  Tax Issues [B240]
10/14/2015    SEG     TI        Review Hansen email regarding comments of               0.30       875.00        $262.50
                                Arizona DOT on Stipulation and telephone
                                conference with Hansen and email to Ira D.
                                Kharasch and Jeffrey N. Pomerantz regarding same.
10/29/2015    SEG     TI        Email to Ira D. Kharasch regarding stipulation with     0.10       875.00         $87.50
                                Arizona regarding sales taxes and status of case.
10/29/2015    SEG     TI        Review Golubchik email regarding discussions with       0.20       875.00        $175.00
                                State of Arizona regarding changes to Stipulation,
                                tax situation and negotiations with Salus and email
                                to Ira D. Kharasch and Jeffrey N. Pomerantz
                                regarding same.
11/23/2015    SEG     TI        Review Hehn email regarding arguments of State          0.70       875.00        $612.50
                                Board and review attachments and research
                                regarding CA sales taxes and trust issues.
11/23/2015    SEG     TI        Review I. Kharasch message and emails regarding         0.50       875.00        $437.50
                                resolution with SBE regarding sales taxes and emails
                                to I. Kharasch and telephone conference with I.
                                Kharasch and J. Hunter regarding same and
                                information regarding taxes.
11/23/2015    SEG     TI        Telephone conference with Matt Hehn regarding           0.20       875.00        $175.00
                                resolution with CA State Board of Equalization
                                regarding sales taxes.
11/23/2015    SEG     TI        Follow up with I. Kharasch and J. Hunter regarding      0.20       875.00        $175.00
                                discussion with Hehn and sales tax issues.
11/24/2015    IDK     TI        Telephone conferences with S. Goldich re                0.10       975.00         $97.50
                                negotiation of sales taxes with EDD.
12/07/2015    IDK     TI        E-mails with Debtor and financial advisor re NOL        0.20       975.00        $195.00
                                potential asset.
                                                                                        2.50                    $2,217.50
     Case 8:15-bk-13008-TA           Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00                            Desc
                                      Main Document    Page 87 of 118

Pachulski Stang Ziehl & Jones LLP                                                                  Page: 52
Anna's Linen OCC                                                                                   Invoice 117787
03751     00002                                                                                    March 30, 2016


                                                                                           Hours          Rate        Amount
  Travel
12/02/2015    IDK     TR        Travel to hearing re fee app (2.5). (billed at 1/2 rate)    2.50       487.50       $1,218.75
                                                                                            2.50                    $1,218.75

 TOTAL SERVICES FOR THIS MATTER:                                                                                 $279,230.25
     Case 8:15-bk-13008-TA           Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00    Desc
                                      Main Document    Page 88 of 118

Pachulski Stang Ziehl & Jones LLP                                            Page: 53
Anna's Linen OCC                                                             Invoice 117787
03751     00002                                                              March 30, 2016



Expenses
 08/31/2015   OS        Litigation E. Services Inv. 892868, JKTH              1,010.00

 09/01/2015   CC        Conference Call [E105] AT&T Conference Call, IDK          3.55

 09/01/2015   CC        Conference Call [E105] AT&T Conference Call, SSC        15.06

 09/11/2015   TE        Travel Expense [E110] Garage C, SSC                       4.00

 09/16/2015   CC        Conference Call [E105] AT&T Conference Call, JNP          4.37

 09/18/2015   TE        Travel Expense [E110] Constelation Place Parking        35.00
                        (Auction), SSC

 09/24/2015   CC        Conference Call [E105] AT&T Conference Call, IDK          2.15

 09/30/2015   OS        Litigation E. Services, Inv. No. 902798, JKTH          378.60

 10/02/2015   RE2       SCAN/COPY ( 3 @0.10 PER PG)                              0.30

 10/07/2015   BB        03751.00002 Bloomberg Charges for 10-07-15              20.00

 10/07/2015   BB        03751.00002 Bloomberg Charges for 10-07-15              20.00

 10/07/2015   BB        03751.00002 Bloomberg Charges for 10-07-15              20.00

 10/07/2015   BB        03751.00002 Bloomberg Charges for 10-07-15              20.00

 10/07/2015   BB        03751.00002 Bloomberg Charges for 10-07-15              20.00

 10/07/2015   BB        03751.00002 Bloomberg Charges for 10-07-15                1.00

 10/07/2015   BB        03751.00002 Bloomberg Charges for 10-07-15                3.00



 10/07/2015   BB        03751.00002 Bloomberg Charges for 10-07-15                3.00



 10/07/2015   BB        03751.00002 Bloomberg Charges for 10-07-15              20.00



 10/07/2015   BB        03751.00002 Bloomberg Charges for 10-07-15              20.00



 10/07/2015   BB        03751.00002 Bloomberg Charges for 10-07-15              20.00
     Case 8:15-bk-13008-TA          Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00    Desc
                                     Main Document    Page 89 of 118

Pachulski Stang Ziehl & Jones LLP                                           Page: 54
Anna's Linen OCC                                                            Invoice 117787
03751     00002                                                             March 30, 2016


 10/07/2015   BB        03751.00002 Bloomberg Charges for 10-07-15             20.00

 10/07/2015   BB        03751.00002 Bloomberg Charges for 10-07-15              0.80

 10/09/2015   RE2       SCAN/COPY ( 4 @0.10 PER PG)                             0.40

 10/09/2015   RE2       SCAN/COPY ( 4 @0.10 PER PG)                             0.40

 10/09/2015   RE2       SCAN/COPY ( 4 @0.10 PER PG)                             0.40

 10/09/2015   RE2       SCAN/COPY ( 4 @0.10 PER PG)                             0.40

 10/13/2015   FE        03751.00002 FedEx Charges for 10-13-15                  7.64

 10/13/2015   RE        ( 1 @0.10 PER PG)                                       0.10

 10/13/2015   RE2       SCAN/COPY ( 36 @0.10 PER PG)                            3.60

 10/13/2015   RE2       SCAN/COPY ( 1 @0.10 PER PG)                             0.10

 10/13/2015   RE2       SCAN/COPY ( 1 @0.10 PER PG)                             0.10

 10/13/2015   RE2       SCAN/COPY ( 3 @0.10 PER PG)                             0.30

 10/13/2015   RE2       SCAN/COPY ( 32 @0.10 PER PG)                            3.20

 10/13/2015   RE2       SCAN/COPY ( 35 @0.10 PER PG)                            3.50

 10/13/2015   RE2       SCAN/COPY ( 6 @0.10 PER PG)                             0.60

 10/13/2015   RE2       SCAN/COPY ( 57 @0.10 PER PG)                            5.70

 10/13/2015   RE2       SCAN/COPY ( 9 @0.10 PER PG)                             0.90



 10/13/2015   RE2       SCAN/COPY ( 10 @0.10 PER PG)                            1.00



 10/13/2015   RE2       SCAN/COPY ( 11 @0.10 PER PG)                            1.10



 10/13/2015   RE2       SCAN/COPY ( 11 @0.10 PER PG)                            1.10



 10/13/2015   RE2       SCAN/COPY ( 1 @0.10 PER PG)                             0.10



 10/13/2015   RE2       SCAN/COPY ( 2 @0.10 PER PG)                             0.20
     Case 8:15-bk-13008-TA           Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00     Desc
                                      Main Document    Page 90 of 118

Pachulski Stang Ziehl & Jones LLP                                             Page: 55
Anna's Linen OCC                                                              Invoice 117787
03751     00002                                                               March 30, 2016



 10/13/2015   RE2       SCAN/COPY ( 1 @0.10 PER PG)                               0.10

 10/13/2015   RE2       SCAN/COPY ( 1 @0.10 PER PG)                               0.10

 10/15/2015   RE2       SCAN/COPY ( 6 @0.10 PER PG)                               0.60

 10/15/2015   RE2       SCAN/COPY ( 4 @0.10 PER PG)                               0.40

 10/21/2015   RE2       SCAN/COPY ( 288 @0.10 PER PG)                            28.80

 10/26/2015   CC        Conference Call [E105] Court Call (October 01, 2015      37.00
                        through October 31, 2015), SSC

 10/29/2015   RE2       SCAN/COPY ( 15 @0.10 PER PG)                              1.50

 10/29/2015   RE2       SCAN/COPY ( 5 @0.10 PER PG)                               0.50

 10/30/2015   OS        DTI, Inv. No. 909469, JKTH                              335.00

 11/02/2015   RE        Reproduction Expense. [E101] 63 pgs, WLR                  6.30

 11/02/2015   RE2       SCAN/COPY ( 58 @0.10 PER PG)                              5.80

 11/02/2015   RE2       SCAN/COPY ( 22 @0.10 PER PG)                              2.20

 11/02/2015   RE2       SCAN/COPY ( 46 @0.10 PER PG)                              4.60

 11/02/2015   RE2       SCAN/COPY ( 12 @0.10 PER PG)                              1.20

 11/02/2015   RE2       SCAN/COPY ( 3 @0.10 PER PG)                               0.30

 11/02/2015   RE2       SCAN/COPY ( 1 @0.10 PER PG)                               0.10



 11/02/2015   RE2       SCAN/COPY ( 2 @0.10 PER PG)                               0.20



 11/02/2015   RE2       SCAN/COPY ( 44 @0.10 PER PG)                              4.40



 11/02/2015   RE2       SCAN/COPY ( 76 @0.10 PER PG)                              7.60



 11/02/2015   RE2       SCAN/COPY ( 60 @0.10 PER PG)                              6.00
     Case 8:15-bk-13008-TA          Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00    Desc
                                     Main Document    Page 91 of 118

Pachulski Stang Ziehl & Jones LLP                                           Page: 56
Anna's Linen OCC                                                            Invoice 117787
03751     00002                                                             March 30, 2016


 11/02/2015   RE2       SCAN/COPY ( 19 @0.10 PER PG)                            1.90

 11/02/2015   RE2       SCAN/COPY ( 51 @0.10 PER PG)                            5.10

 11/02/2015   RE2       SCAN/COPY ( 51 @0.10 PER PG)                            5.10

 11/02/2015   RE2       SCAN/COPY ( 1 @0.10 PER PG)                             0.10

 11/02/2015   RE2       SCAN/COPY ( 21 @0.10 PER PG)                            2.10

 11/03/2015   RE        Reproduction Expense. [E101] 13 pgs, WLR                1.30

 11/04/2015   RE        Reproduction Expense. [E101] 12 pgs, WLR                1.20

 11/04/2015   RE2       SCAN/COPY ( 16 @0.10 PER PG)                            1.60

 11/04/2015   RE2       SCAN/COPY ( 14 @0.10 PER PG)                            1.40

 11/04/2015   RE2       SCAN/COPY ( 1 @0.10 PER PG)                             0.10

 11/04/2015   RE2       SCAN/COPY ( 1 @0.10 PER PG)                             0.10

 11/04/2015   RE2       SCAN/COPY ( 5 @0.10 PER PG)                             0.50

 11/04/2015   RE2       SCAN/COPY ( 1 @0.10 PER PG)                             0.10

 11/04/2015   RE2       SCAN/COPY ( 6 @0.10 PER PG)                             0.60

 11/04/2015   RE2       SCAN/COPY ( 7 @0.10 PER PG)                             0.70

 11/04/2015   RE2       SCAN/COPY ( 1 @0.10 PER PG)                             0.10

 11/05/2015   RE        Reproduction Expense. [E101] 38 pgs, WLR                3.80



 11/05/2015   RE        Reproduction Expense. [E101] 31 pgs, WLR                3.10



 11/05/2015   RE2       SCAN/COPY ( 7 @0.10 PER PG)                             0.70



 11/05/2015   RE2       SCAN/COPY ( 57 @0.10 PER PG)                            5.70



 11/05/2015   RE2       SCAN/COPY ( 2 @0.10 PER PG)                             0.20
     Case 8:15-bk-13008-TA          Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00       Desc
                                     Main Document    Page 92 of 118

Pachulski Stang Ziehl & Jones LLP                                              Page: 57
Anna's Linen OCC                                                               Invoice 117787
03751     00002                                                                March 30, 2016


 11/05/2015   RE2       SCAN/COPY ( 25 @0.10 PER PG)                               2.50

 11/05/2015   RE2       SCAN/COPY ( 124 @0.10 PER PG)                             12.40

 11/05/2015   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                0.30

 11/06/2015   CC        Conference Call [E105] Court Call, November 01, 2015      35.00
                        through, November 30, 2015, SSC

 11/06/2015   RE2       SCAN/COPY ( 20 @0.10 PER PG)                               2.00

 11/06/2015   RE2       SCAN/COPY ( 124 @0.10 PER PG)                             12.40

 11/06/2015   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                0.30

 11/06/2015   RE2       SCAN/COPY ( 25 @0.10 PER PG)                               2.50

 11/09/2015   CC        Conference Call [E105] Court Call, November 01, 2015      65.00
                        through, November 30, 2015, SSC

 11/09/2015   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                0.30

 11/09/2015   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                0.30

 11/11/2015   RE2       SCAN/COPY ( 21 @0.10 PER PG)                               2.10

 11/11/2015   RE2       SCAN/COPY ( 20 @0.10 PER PG)                               2.00

 11/11/2015   RE2       SCAN/COPY ( 44 @0.10 PER PG)                               4.40

 11/11/2015   RE2       SCAN/COPY ( 148 @0.10 PER PG)                             14.80

 11/11/2015   RE2       SCAN/COPY ( 44 @0.10 PER PG)                               4.40



 11/11/2015   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60



 11/11/2015   RE2       SCAN/COPY ( 44 @0.10 PER PG)                               4.40



 11/11/2015   RE2       SCAN/COPY ( 20 @0.10 PER PG)                               2.00



 11/12/2015   PO        03751.00002 :Postage Charges for 11-12-15                  2.74
     Case 8:15-bk-13008-TA          Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00    Desc
                                     Main Document    Page 93 of 118

Pachulski Stang Ziehl & Jones LLP                                           Page: 58
Anna's Linen OCC                                                            Invoice 117787
03751     00002                                                             March 30, 2016


 11/12/2015   RE2       SCAN/COPY ( 2 @0.10 PER PG)                             0.20

 11/12/2015   RE2       SCAN/COPY ( 2 @0.10 PER PG)                             0.20

 11/17/2015   RE2       SCAN/COPY ( 4 @0.10 PER PG)                             0.40

 11/17/2015   RE2       SCAN/COPY ( 148 @0.10 PER PG)                          14.80

 11/17/2015   RE2       SCAN/COPY ( 57 @0.10 PER PG)                            5.70

 11/18/2015   CC        Conference Call [E105] AT&T Conference Call, IDK        0.75

 11/18/2015   FE        03751.00002 FedEx Charges for 11-18-15                  7.77

 11/18/2015   RE2       SCAN/COPY ( 2 @0.10 PER PG)                             0.20

 11/18/2015   RE2       SCAN/COPY ( 1 @0.10 PER PG)                             0.10

 11/18/2015   RE2       SCAN/COPY ( 4 @0.10 PER PG)                             0.40

 11/18/2015   RE2       SCAN/COPY ( 24 @0.10 PER PG)                            2.40

 11/19/2015   RE2       SCAN/COPY ( 15 @0.10 PER PG)                            1.50

 11/20/2015   RE2       SCAN/COPY ( 37 @0.10 PER PG)                            3.70

 11/20/2015   RE2       SCAN/COPY ( 24 @0.10 PER PG)                            2.40

 11/20/2015   RE2       SCAN/COPY ( 4 @0.10 PER PG)                             0.40

 11/20/2015   RE2       SCAN/COPY ( 25 @0.10 PER PG)                            2.50

 11/20/2015   RE2       SCAN/COPY ( 21 @0.10 PER PG)                            2.10



 11/20/2015   RE2       SCAN/COPY ( 22 @0.10 PER PG)                            2.20



 11/20/2015   RE2       SCAN/COPY ( 24 @0.10 PER PG)                            2.40



 11/20/2015   RE2       SCAN/COPY ( 31 @0.10 PER PG)                            3.10



 11/20/2015   RE2       SCAN/COPY ( 3 @0.10 PER PG)                             0.30
     Case 8:15-bk-13008-TA          Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00    Desc
                                     Main Document    Page 94 of 118

Pachulski Stang Ziehl & Jones LLP                                           Page: 59
Anna's Linen OCC                                                            Invoice 117787
03751     00002                                                             March 30, 2016


 11/20/2015   RE2       SCAN/COPY ( 3 @0.10 PER PG)                             0.30

 11/21/2015   RE2       SCAN/COPY ( 1 @0.10 PER PG)                             0.10

 11/21/2015   RE2       SCAN/COPY ( 4 @0.10 PER PG)                             0.40

 11/23/2015   CC        Conference Call [E105] AT&T Conference Call, IDK        6.78

 11/23/2015   FE        03751.00002 FedEx Charges for 11-23-15                  7.77

 11/23/2015   RE        Reproduction Expense. [E101] 65 pgs, WLR                6.50

 11/23/2015   RE2       SCAN/COPY ( 3 @0.10 PER PG)                             0.30

 11/23/2015   RE2       SCAN/COPY ( 2 @0.10 PER PG)                             0.20

 11/23/2015   RE2       SCAN/COPY ( 1 @0.10 PER PG)                             0.10

 11/24/2015   LN        03751.00002 Lexis Charges for 11-24-15                 55.08

 11/24/2015   RE        Reproduction Expense. [E101] 27 pgs, WLR                2.70

 11/24/2015   RE        Reproduction Expense. [E101] 23 pgs, WLR                2.30

 11/24/2015   RE2       SCAN/COPY ( 3 @0.10 PER PG)                             0.30

 11/24/2015   RE2       SCAN/COPY ( 3 @0.10 PER PG)                             0.30

 11/24/2015   RE2       SCAN/COPY ( 5 @0.10 PER PG)                             0.50

 11/24/2015   RE2       SCAN/COPY ( 3 @0.10 PER PG)                             0.30

 11/24/2015   RE2       SCAN/COPY ( 8 @0.10 PER PG)                             0.80



 11/24/2015   RE2       SCAN/COPY ( 8 @0.10 PER PG)                             0.80



 11/24/2015   RE2       SCAN/COPY ( 5 @0.10 PER PG)                             0.50



 11/24/2015   RE2       SCAN/COPY ( 2 @0.10 PER PG)                             0.20



 11/24/2015   RE2       SCAN/COPY ( 2 @0.10 PER PG)                             0.20
     Case 8:15-bk-13008-TA          Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00    Desc
                                     Main Document    Page 95 of 118

Pachulski Stang Ziehl & Jones LLP                                           Page: 60
Anna's Linen OCC                                                            Invoice 117787
03751     00002                                                             March 30, 2016


 11/24/2015   RE2       SCAN/COPY ( 8 @0.10 PER PG)                             0.80

 11/24/2015   RE2       SCAN/COPY ( 10 @0.10 PER PG)                            1.00

 11/25/2015   LN        03751.00002 Lexis Charges for 11-25-15                 18.35

 11/30/2015   CC        Conference Call [E105] AT&T Conference Call, IDK        8.57

 11/30/2015   OS        DTI, Inv. 915895, JKTH                                335.00

 12/01/2015   CC        Conference Call [E105] AT&T Conference Call, IDK        5.01

 12/01/2015   CC        Conference Call [E105] AT&T Conference Call, SSC        0.07

 12/01/2015   RE2       SCAN/COPY ( 7 @0.10 PER PG)                             0.70

 12/01/2015   RE2       SCAN/COPY ( 652 @0.10 PER PG)                          65.20

 12/01/2015   RE2       SCAN/COPY ( 87 @0.10 PER PG)                            8.70

 12/01/2015   RE2       SCAN/COPY ( 148 @0.10 PER PG)                          14.80

 12/01/2015   RE2       SCAN/COPY ( 24 @0.10 PER PG)                            2.40

 12/01/2015   RE2       SCAN/COPY ( 148 @0.10 PER PG)                          14.80

 12/01/2015   RE2       SCAN/COPY ( 44 @0.10 PER PG)                            4.40

 12/01/2015   RE2       SCAN/COPY ( 24 @0.10 PER PG)                            2.40

 12/01/2015   RE2       SCAN/COPY ( 2 @0.10 PER PG)                             0.20

 12/03/2015   RE2       SCAN/COPY ( 224 @0.10 PER PG)                          22.40



 12/07/2015   RE2       SCAN/COPY ( 10 @0.10 PER PG)                            1.00



 12/07/2015   RE2       SCAN/COPY ( 10 @0.10 PER PG)                            1.00



 12/07/2015   RE2       SCAN/COPY ( 1 @0.10 PER PG)                             0.10



 12/07/2015   RE2       SCAN/COPY ( 31 @0.10 PER PG)                            3.10
     Case 8:15-bk-13008-TA           Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00            Desc
                                      Main Document    Page 96 of 118

Pachulski Stang Ziehl & Jones LLP                                                    Page: 61
Anna's Linen OCC                                                                     Invoice 117787
03751     00002                                                                      March 30, 2016


 12/07/2015   RE2       SCAN/COPY ( 24 @0.10 PER PG)                                     2.40

 12/07/2015   WL        03751.00002 Westlaw Charges for 12-07-15                       380.10

 12/08/2015   CC        Conference Call [E105] Courtcall, December 1, 2015              35.00
                        thorugh December 31, 2015

 12/11/2015   CC        Conference Call [E105] AT&T Conference Call, IDK                 2.98

 12/14/2015   CC        Conference Call [E105] AT&T Conference Call, IDK                30.35

 12/14/2015   RE2       SCAN/COPY ( 61 @0.10 PER PG)                                     6.10

 12/14/2015   RE2       SCAN/COPY ( 29 @0.10 PER PG)                                     2.90

 12/28/2015   LN        Lexis/Nexis- Legal Research [E106]                             168.11

 01/12/2016   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                      0.60

 01/13/2016   RE2       SCAN/COPY ( 131 @0.10 PER PG)                                   13.10

 01/13/2016   RE2       SCAN/COPY ( 17 @0.10 PER PG)                                     1.70

 01/13/2016   RE2       SCAN/COPY ( 51 @0.10 PER PG)                                     5.10

 01/14/2016   CC        Conference Call [E105] Court Call, January 1, 2016 through      65.00
                        January 31, 2016, SSC

 01/15/2016   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                      0.40

 01/16/2016   CC        Conference Call [E105] AT&T Conference Call, IDK                20.50

 01/18/2016   RE2       SCAN/COPY ( 15 @0.10 PER PG)                                     1.50



 01/20/2016   TR        Transcript [E116] DTI, Inv. 921360, JKTH                       335.00



 01/21/2016   LN        03751.00002 Lexis Charges for 01-21-16                         697.82



 01/22/2016   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                      0.20



 01/22/2016   RE2       SCAN/COPY ( 14 @0.10 PER PG)                                     1.40
     Case 8:15-bk-13008-TA           Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00     Desc
                                      Main Document    Page 97 of 118

Pachulski Stang Ziehl & Jones LLP                                             Page: 62
Anna's Linen OCC                                                              Invoice 117787
03751     00002                                                               March 30, 2016


 01/22/2016   RE2       SCAN/COPY ( 2 @0.10 PER PG)                               0.20

 01/25/2016   RE2       SCAN/COPY ( 5 @0.10 PER PG)                               0.50

 01/26/2016   RE2       SCAN/COPY ( 1 @0.10 PER PG)                               0.10

 01/27/2016   WL        03751.00002 Westlaw Charges for 01-27-16                165.25

 01/28/2016   LN        03751.00002 Lexis Charges for 01-28-16                  194.97

 01/28/2016   WL        03751.00002 Westlaw Charges for 01-28-16                178.62

 01/29/2016   AS        Litigation e. Service [E107] DTI, Inv. 926478, JKTH     335.00

 02/09/2016   RE2       SCAN/COPY ( 3 @0.10 PER PG)                               0.30

 02/09/2016   RE2       SCAN/COPY ( 2 @0.10 PER PG)                               0.20

 02/11/2016   CC        Conference Call [E105] AT&T Conference Call, IDK          5.02

 02/11/2016   CC        Conference Call [E105] AT&T Conference Call, IDK          2.77

 02/12/2016   RE2       SCAN/COPY ( 4 @0.10 PER PG)                               0.40

 02/12/2016   RE2       SCAN/COPY ( 4 @0.10 PER PG)                               0.40

 02/16/2016   RE2       SCAN/COPY ( 4 @0.10 PER PG)                               0.40

 02/16/2016   RE2       SCAN/COPY ( 4 @0.10 PER PG)                               0.40

 02/16/2016   RE2       SCAN/COPY ( 4 @0.10 PER PG)                               0.40

 02/16/2016   RE2       SCAN/COPY ( 4 @0.10 PER PG)                               0.40



 02/18/2016   RE2       SCAN/COPY ( 23 @0.10 PER PG)                              2.30



 02/18/2016   RE2       SCAN/COPY ( 26 @0.10 PER PG)                              2.60



 02/18/2016   RE2       SCAN/COPY ( 22 @0.10 PER PG)                              2.20



 02/18/2016   RE2       SCAN/COPY ( 21 @0.10 PER PG)                              2.10
     Case 8:15-bk-13008-TA          Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00          Desc
                                     Main Document    Page 98 of 118

Pachulski Stang Ziehl & Jones LLP                                                 Page: 63
Anna's Linen OCC                                                                  Invoice 117787
03751     00002                                                                   March 30, 2016


 02/18/2016   RE2       SCAN/COPY ( 21 @0.10 PER PG)                                  2.10

 02/18/2016   RE2       SCAN/COPY ( 22 @0.10 PER PG)                                  2.20

 02/18/2016   RE2       SCAN/COPY ( 37 @0.10 PER PG)                                  3.70

 02/18/2016   RE2       SCAN/COPY ( 49 @0.10 PER PG)                                  4.90

 02/18/2016   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                   0.30

 02/18/2016   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                   0.30

 02/18/2016   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                   0.30

 02/18/2016   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                   0.10

 02/18/2016   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                   0.10

 02/18/2016   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                   0.10

 02/19/2016   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                   0.30

 02/22/2016   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                   0.40

 02/22/2016   RE2       SCAN/COPY ( 35 @0.10 PER PG)                                  3.50

 02/22/2016   RE2       SCAN/COPY ( 57 @0.10 PER PG)                                  5.70

 02/29/2016   OS        DTI, Inv. 931030, JKTH                                      335.00

 03/02/2016   CC        Conference Call [E105] March 01, 2016 through March 31,      35.00
                        2016, SSC

 03/03/2016   RE2       SCAN/COPY ( 32 @0.10 PER PG)                                  3.20



 03/03/2016   RE2       SCAN/COPY ( 24 @0.10 PER PG)                                  2.40



 03/03/2016   RE2       SCAN/COPY ( 184 @0.10 PER PG)                                18.40



 03/09/2016   RE2       SCAN/COPY ( 229 @0.10 PER PG)                                22.90



 03/09/2016   RE2       SCAN/COPY ( 5 @0.10 PER PG)                                   0.50
     Case 8:15-bk-13008-TA          Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00    Desc
                                     Main Document    Page 99 of 118

Pachulski Stang Ziehl & Jones LLP                                           Page: 64
Anna's Linen OCC                                                            Invoice 117787
03751     00002                                                             March 30, 2016

 03/09/2016   RE2       SCAN/COPY ( 144 @0.10 PER PG)                          14.40

 03/11/2016   CC        Conference Call [E105] AT&T Conference Call, IDK        8.19

 03/11/2016   RE2       SCAN/COPY ( 4 @0.10 PER PG)                             0.40

 03/11/2016   RE2       SCAN/COPY ( 5 @0.10 PER PG)                             0.50

 03/11/2016   RE2       SCAN/COPY ( 7 @0.10 PER PG)                             0.70

 03/11/2016   RE2       SCAN/COPY ( 1 @0.10 PER PG)                             0.10

 03/11/2016   RE2       SCAN/COPY ( 2 @0.10 PER PG)                             0.20

 03/11/2016   RE2       SCAN/COPY ( 2 @0.10 PER PG)                             0.20

 03/14/2016   FE        03751.00002 FedEx Charges for 03-14-16                  8.08

 03/14/2016   RE2       SCAN/COPY ( 24 @0.10 PER PG)                            2.40

 03/14/2016   RE2       SCAN/COPY ( 32 @0.10 PER PG)                            3.20

 03/14/2016   RE2       SCAN/COPY ( 184 @0.10 PER PG)                          18.40

 03/14/2016   RE2       SCAN/COPY ( 2 @0.10 PER PG)                             0.20

 03/16/2016   FE        03751.00002 FedEx Charges for 03-16-16                  8.27

 03/16/2016   RE2       SCAN/COPY ( 7 @0.10 PER PG)                             0.70

 03/18/2016   RE2       SCAN/COPY ( 26 @0.10 PER PG)                            2.60

 03/18/2016   RE2       SCAN/COPY ( 51 @0.10 PER PG)                            5.10



 03/18/2016   RE2       SCAN/COPY ( 2 @0.10 PER PG)                             0.20



 03/18/2016   RE2       SCAN/COPY ( 145 @0.10 PER PG)                          14.50



 03/18/2016   RE2       SCAN/COPY ( 4 @0.10 PER PG)                             0.40



 03/18/2016   RE2       SCAN/COPY ( 4 @0.10 PER PG)                             0.40
     Case 8:15-bk-13008-TA           Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00           Desc
                                     Main Document    Page 100 of 118

Pachulski Stang Ziehl & Jones LLP                                                   Page: 65
Anna's Linen OCC                                                                    Invoice 117787
03751     00002                                                                     March 30, 2016


 03/18/2016   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                      0.40

 03/18/2016   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                      0.40

 03/30/2016   CC        Conference Call [E105] March 01, 2016 through March 31,         35.00
                        2016, IDK

 03/30/2016   PAC       Pacer - Court Research                                         217.40

   Total Expenses for this Matter                                                 $6,418.79
     Case 8:15-bk-13008-TA                    Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00                       Desc
                                              Main Document    Page 101 of 118

Pachulski Stang Ziehl & Jones LLP                                                                        Page: 66
Anna's Linen OCC                                                                                         Invoice 117787
03751     00002                                                                                          March 30, 2016




                                                    REMITTANCE ADVICE
                                    Please include this Remittance Advice with your payment



For current services rendered through 03/30/2016

Total Fees                                                                                                                $279,230.25
Chargeable costs and disbursements                                                                                          $6,418.79
Total Due on Current Invoice.....................                                                                         $285,649.04


Outstanding Balance from prior Invoices as of 03/30/2016       (May not reflect recent payments)

Invoice Number                    Invoice Date                  Fees Billed                  Expenses Billed          Balance Due


     111125                        09/30/2015                 $833,166.25                          $16,842.23             $273,092.10


Total Amount Due on Current and Prior Invoices                                                                            $558,741.14
Case 8:15-bk-13008-TA   Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00   Desc
                        Main Document    Page 102 of 118




                         EXHIBIT C
  Case 8:15-bk-13008-TA          Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00           Desc
                                         ANNA'S LINENS,
                                 Main Document      PageINC.
                                                          103 of 118
                                                Chapter 11
                                          Case No. 8:15‐13008 TA



         Anna's Linens, Inc. FEE APPLICATION:
         Date: June 25, 2015 ‐ March 30, 2016


               ATTORNEYS:                 Year     Hourly          Current     Total
                                        Admitted    Rate            Hours
         Ira D. Kharasch (Partner)       1983      $ 975.00         275.8     $262,567.50
         Ira D. Kharasch (Travel)        1983      $ 487.00          9.2        $4,485.00
         Debra I. Grassgreen             1994      $ 925.00          8.6        $7,955.00
         (Partner)
         Andrew W. Caine (Partner)       1983      $ 925.00         19.2       $17,760.00

         Richard J. Gruber (Counsel)     1982      $ 925.00         17.4       $16,095.00

         Jeffrey N. Pomerantz            1989      $ 895.00         89.5       $79,923.50
         (Partner)
         Stanley E. Goldich (Partner)    1980      $ 875.00          65        $55,387.50

         David J. Barton (Partner)       1981      $ 875.00          2.3        $2,012.50
         Kenneth Brown (Partner)         1981      $ 850.00         20.2       $17,170.00
         Iain A.W. Nasatir (Partner)     1981      $ 850.00         10.5        $8,925.00

         James K.T. Hunter               1976      $ 825.00         364.3     $294,277.50
         (Counsel)
         James K.T. Hunter               1976      $ 412.50           4         $1,650.00
         (Counsel)
         Maxim B. Litvak                 2001      $ 795.00         20.4       $16,218.00
         Harry D. Hochman                1987      $ 750.00         106.7      $80,025.00
         (Counsel)
         Shirley S. Cho (Counsel)        1997      $   750.00       156.9     $114,450.00
         Shirley S. Cho (Counsel)        1997      $   375.00        11.2       $4,200.00
         Joshua M. Fried                 1997      $   750.00         4.5       $3,375.00
         Gina F. Brandt (Counsel)        1976      $   695.00        3.6        $2,502.00
         Jonathan J. Kim (Counsel)       1996      $   695.00        31.5      $21,892.50
         Jeffrey P. Nolan (Counsel)      1992      $   675.00        5.5        $3,712.50
         William S. Ramseyer             1980      $   650.00        23.4      $11,115.00
         (Counsel)
         Teddy M. Kapur (Partner)        2004      $ 575.00          0.2         $115.00
         Cia H. Mackle (Counsel)         2006      $ 525.00          9.4        $4,935.00

                                                                   1259.3    $1,030,748.50




DOCS_LA 293994 v1
  Case 8:15-bk-13008-TA         Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00               Desc
                                        ANNA'S LINENS,
                                Main Document      PageINC.
                                                         104 of 118
                                               Chapter 11
                                         Case No. 8:15‐13008 TA


         PARAPROFESSIONALS               Year      Rate      Current Hours         Total
                                       Admitted
         Leslie A. Forrester (Law                 $ 325.00                   2 $       650.00
         Librarian)
         Felice Harrison (Paralegal)              $ 305.00            229.1 $       68,991.00
         Beth D. Dassa (Paralegal)                $ 305.00             12.9 $        3,934.50
         Patricia J. Jeffries                     $ 305.00              0.5 $          152.50
         (Paralegal)
         Michael Matteo (Paralegal)               $ 275.00             28.8 $        7,920.00
                                                                      273.3        $81,648.00

         TOTAL HOURS                                                1532.60

         TOTAL FEES REQUESTED                                 $1,112,396.50
         BLENDED HOURLY RATE INCLUDING                              $491.82
         PARAPROFESSIONALS

         BLENDED HOURLY RATE EXCLUDING                              $551.31
         PARAPROFESSIONALS




DOCS_LA 293994 v1
                        Case 8:15-bk-13008-TA   Doc 2033 Filed    11/15/17
                                                          ANNA'S LINENS, INC. Entered 11/15/17 16:08:00                               Desc
                                                Main DocumentChapter 11
                                                                      Page 105 of 118
                                                                    Case No. 8:15‐13008 TA



I. Services                                          Professional           Rate                 Hours            Fees


Appeals                                                      JKH            $           825.00 $           0.10 $             82.50
                                                             SSC            $           750.00 $           0.40 $           300.00


Subtotal                                                                                         $         0.50   $         382.50



Asset Analysis                                               IDK            $           975.00 $           6.00 $          5,856.00
                                                             DG             $           925.00 $           8.60 $          7,955.00
                                                             JNP            $           895.00 $           1.70 $          1,521.50
                                                             DJB            $           875.00 $           2.30 $          2,012.50
                                                             JKH            $           825.00 $           3.70 $          3,052.50
                                                             MBL            $           795.00 $           2.00 $          1,590.00
                                                             JMF            $           750.00 $           4.50 $          3,375.00
                                                             SSC            $           750.00 $           0.90 $            675.00
                                                             PJJ            $           305.00 $           0.50 $            152.50
Subtotal                                                                                         $        30.20   $       26,190.00

                                                             IDK
Avoidance Actions                                                           $           975.00 $           0.80 $           779.50
                                                             AWC            $           925.00 $          19.20 $         17,760.00
                                                             JNP            $           895.00 $           0.10 $             89.50
                                                             JKH            $           825.00 $           9.30 $          7,672.50
                                                             SSC            $           750.00 $           0.90 $           675.00
                                                             HDH            $           750.00 $           2.50 $          1,875.00
                                                             JPN            $           675.00 $           5.50 $          3,712.50
                                                             FSH            $           305.00 $           0.20 $             61.00
                                                            MAM             $           275.00 $          28.80 $          7,920.00
Subtotal                                                                                         $        67.30   $       40,545.00

                                                             IDK
Asset Disposition                                                           $           975.00 $          51.80 $         50,505.00
                                                             RGJ            $           925.00 $          16.70 $         15,447.50
                                                             JNP            $           895.00 $          26.10 $         23,359.50
                                                             JKH            $           825.00 $          22.10 $         18,232.50
                                                             MBL            $           795.00 $           0.40 $           318.00
                                                             HDH            $           750.00 $          37.50 $         28,125.00
                                                             SSC            $           750.00 $          24.50 $         18,375.00
                                                             TMK            $           575.00 $           0.20 $           115.00
                                                             FSH            $           305.00 $           9.70 $          2,958.50
                                                                                                 $       189.00   $      157,436.00
                                                             IDK
Bankruptcy Litigation                                                       $           975.00 $          71.60 $         69,810.00
                                                             JNP            $           895.00 $           7.10 $          6,354.50
                                                             SEG            $           875.00 $           0.60 $           525.00
                                                             KHB            $           850.00 $          19.40 $         16,490.00
                                                             JKH            $           825.00   $       253.90 $        209,467.50
                                                             MBL            $           795.00 $           0.20 $           159.00




DOCS_LA 293994 v1
                         Case 8:15-bk-13008-TA   Doc 2033 Filed    11/15/17
                                                           ANNA'S LINENS, INC. Entered 11/15/17 16:08:00                 Desc
                                                 Main DocumentChapter 11
                                                                       Page 106 of 118
                                                                Case No. 8:15‐13008 TA

                                                          SSC           $           750.00 $     9.10 $       6,825.00
                                                          HDH           $           750.00 $    17.90 $      13,425.00
                                                          JJK           $           695.00 $    31.50 $      21,892.50
                                                          GFB           $           695.00 $     3.60 $       2,502.00
                                                          CHM           $           525.00 $     9.40 $       4,935.00
                                                          LAF           $           325.00 $     1.00 $        325.00
                                                          FSH           $           305.00 $     7.10 $       2,165.50
                                                          BDD           $           305.00 $    12.80 $       3,904.00
Subtotal                                                                                   $   445.20   $   358,780.00



                                                          IDK
Case Administration                                                     $           975.00 $     1.20 $       1,170.00
                                                          HDH           $           750.00 $     0.30 $        225.00
                                                          SSC           $           750.00 $     3.40 $       2,550.00
                                                          FSH           $           305.00 $    35.60 $      10,858.00
                                                          BDD           $           305.00 $     0.10 $          30.50
Subtotal                                                                                   $    40.60   $    14,833.50



                                                          IDK
Claims Admin/Obj                                                        $           975.00 $    17.10 $      16,672.50
                                                          JNP           $           895.00 $     0.30 $        268.50
                                                          JKH           $           825.00 $     3.60 $       2,970.00
                                                          SSC           $           750.00 $    16.90 $      12,675.00
                                                          FSH           $           305.00 $    12.80 $       3,904.00
Subtotal                                                                                   $    50.70   $    36,490.00



Compensation of                                           IDK
Professionals                                                           $           975.00 $     8.00 $       1,462.50
                                                          JNP           $           895.00 $     0.40 $        179.00
                                                          SEG           $           875.00 $     1.70 $            ‐
                                                          JKH           $           825.00 $     7.90 $        247.50
                                                          HDH           $           750.00 $     0.60 $        450.00
                                                          SSC           $           750.00 $    15.40 $       8,325.00
                                                          WLR           $           650.00 $    23.40 $      11,115.00
                                                          LAF           $           325.00 $     1.00 $        325.00
                                                          FSH           $           305.00 $    19.40 $       5,032.50
Subtotal                                                                                   $    77.80   $    27,136.50

                                                          SSC
Compensation of
Professionals ‐ Others                                                  $           750.00 $     1.30 $        975.00


Subtotal                                                                                   $     1.30   $      975.00



                                                          IDK
Executory Contracts                                                     $           975.00 $     2.70 $       2,632.50
                                                          RJG           $           925.00 $     0.70 $        647.50
                                                          JNP           $           895.00 $     1.00 $        895.00




DOCS_LA 293994 v1
                    Case 8:15-bk-13008-TA   Doc 2033 Filed    11/15/17
                                                      ANNA'S LINENS, INC. Entered 11/15/17 16:08:00                 Desc
                                            Main DocumentChapter 11
                                                                  Page 107 of 118
                                                           Case No. 8:15‐13008 TA

                                                     SSC           $           750.00 $     1.90 $       1,425.00
                                                     FSH           $           305.00 $     3.70 $       1,128.50
Subtotal                                                                              $    10.00   $     6,728.50

                                                     IDK
Employee Benefits                                                  $           975.00 $     3.50 $       3,412.50
                                                     JNP           $           895.00 $     0.70 $        626.50
                                                     KHB           $           850.00 $     0.80 $        680.00
                                                     SSC           $           750.00 $     8.30 $       6,225.00
                                                     HDH           $           750.00 $     2.50 $       1,875.00
                                                     FSH           $           305.00 $     3.20 $        976.00
Subtotal                                                                              $    19.00   $    13,795.00


Financial Filings                                    JNP           $           895.00 $     0.20 $        179.00
                                                     JKH           $           825.00 $     0.30 $        247.50
                                                     SSC           $           750.00 $     1.20 $        900.00
                                                     FSH           $           305.00 $     7.60 $       2,318.00
Subtotal                                                                              $     9.30   $     3,644.50


Financing                                            IDK           $           975.00 $    41.70 $      40,657.50
                                                     JNP           $           895.00 $    10.70 $       9,576.50
                                                     SEG           $           875.00 $     0.20 $        175.00
                                                     JKH           $           825.00 $    10.20 $       8,415.00
                                                     MBL           $           795.00 $    17.80 $      14,151.00
                                                     HDH           $           750.00 $    40.30 $      30,225.00
                                                     SSC           $           750.00 $     7.90 $       5,925.00
                                                     FSH           $           305.00 $     9.90 $       3,019.50
Subtotal                                                                              $   138.70   $   112,144.50

General Business                                     IDK
Advice                                                             $           975.00 $    13.30 $      12,967.50
                                                     SSC           $           750.00 $     0.50 $        375.00
Subtotal                                                                              $    13.80   $    13,342.50



General Creditors
Committee
                                                     IDK           $           975.00 $    41.50 $      40,462.50
                                                     JNP           $           895.00 $    24.70 $      22,106.50
                                                     JKH           $           825.00 $     4.10 $       3,382.50
                                                     SSC           $           750.00 $    38.00 $      28,500.00
                                                     FSH           $           305.00 $   103.20 $      31,476.00
Subtotal                                                                              $   211.50   $   125,927.50



Hearing                                              SSC           $           750.00 $     3.10 $       2,325.00


Subtotal                                                                              $     3.10   $     2,325.00

Insurance                                            IDK
 Coverage                                                          $           975.00 $     0.40 $        390.00
                                                     IAWN          $           850.00 $    10.50 $       8,925.00




DOCS_LA 293994 v1
                    Case 8:15-bk-13008-TA   Doc 2033 Filed    11/15/17
                                                      ANNA'S LINENS, INC. Entered 11/15/17 16:08:00              Desc
                                            Main DocumentChapter 11
                                                                  Page 108 of 118
                                                           Case No. 8:15‐13008 TA

                                                     SSC           $           750.00 $    0.40 $      300.00
Subtotal                                                                              $   11.30   $   9,615.00




DOCS_LA 293994 v1
                       Case 8:15-bk-13008-TA   Doc 2033 Filed    11/15/17
                                                         ANNA'S LINENS, INC. Entered 11/15/17 16:08:00                 Desc
                                               Main DocumentChapter 11
                                                                     Page 109 of 118
                                                              Case No. 8:15‐13008 TA



Litigation ‐ Non                                        JNP           $           895.00 $     0.20 $        179.00
Bankruptcy
                                                        JKH           $           825.00 $     0.60 $        495.00
Subtotal                                                                                 $     0.80   $      674.00



                                                        SSC
Meeting of Creditors                                                  $           750.00 $     3.00 $       2,250.00
                                                        FSH           $           305.00 $     0.20 $          61.00
Subtotal                                                                                 $     3.20   $     2,311.00



Operations                                              IDK           $           975.00 $     5.80 $       5,655.00
                                                        JNP           $           895.00 $     0.50 $        447.50
                                                        SSC           $           750.00 $     6.10 $       4,575.00
Subtotal                                                                                 $    12.40   $    10,677.50



Retention of                                            JNP           $           895.00 $     0.30 $        268.50
Professionals
                                                        SSC           $           750.00 $     3.00 $       2,250.00
                                                        FSH           $           305.00 $     4.00 $       1,220.00
Subtotal                                                                                 $     7.30   $     3,738.50

                                                        IDK           $           975.00 $     0.70 $        682.50
Retention of Other
Professionals
                                                        JNP           $           895.00 $     3.90 $       3,490.50
                                                        SSC           $           750.00 $     7.40 $       5,550.00
                                                        FSH           $           305.00 $     7.30 $       2,226.50
Subtotal                                                                                 $    19.30   $    11,949.50


Stay Litigation                                         IDK           $           975.00 $     0.20 $        195.00
                                                        SSC           $           750.00 $     0.20 $        150.00
Subtotal                                                                                 $     0.40   $      345.00



Tax Issues                                              IDK           $           975.00 $     9.50 $       9,262.50
                                                        JNP           $           895.00 $    11.60 $      10,382.00
                                                        SEG           $           875.00 $    62.50 $      54,687.50
                                                        HDH           $           750.00 $     5.10 $       3,825.00
                                                        JKH           $           825.00 $    48.50 $      40,012.50
                                                        SSC           $           750.00 $     3.10 $       2,325.00
                                                        FSH           $           305.00 $     5.20 $       1,586.00
Subtotal                                                                                 $   145.50   $   122,080.50


Travel                                                  IDK           $           487.00 $     9.20 $       4,485.00
                                                        JKH           $           412.00 $     4.00 $       1,650.00
                                                        SSC           $           375.00 $    11.20 $       4,200.00
Subtotal                                                                                 $    24.40   $    10,335.00




DOCS_LA 293994 v1
                    Case 8:15-bk-13008-TA   Doc 2033 Filed    11/15/17
                                                      ANNA'S LINENS, INC. Entered 11/15/17 16:08:00                 Desc
                                            Main DocumentChapter 11
                                                                  Page 110 of 118
                                                       Case No. 8:15‐13008 TA


                                                                                Total Hrs.       $       1,532.60
                                                                                Total Services   $   1,112,396.50




DOCS_LA 293994 v1
                                           Case 8:15-bk-13008-TA                      Doc 2033 Filed    11/15/17
                                                                                                ANNA'S LINENS, INC. Entered 11/15/17 16:08:00                                                        Desc
                                                                                      Main DocumentChapter 11
                                                                                                            Page 111 of 118
                                                                                                          Case No. 8:15‐13008 TA

                                                                                                       Monthly Fees by Category


                          June              July              August             September           October                 November               December               January             February           March              Total
Appeals              $           -     $              -   $              -   $               -   $                   ‐   $          82.50       $                  ‐   $             75.00 $          150.00 $            75.00 $            382.50
Asset Analysis/      $           -     $              -   $      8,629.00                        $       6,514.50
                                                                                                                         $       4,710.00 $             4,179.00 $              749.00 $           1,402.50 $              -   $      26,184.00
Recovery
Avoidance Actions    $           -     $              -   $        525.00 $         13,102.50 $          3,612.50
                                                                                                                         $       8,604.50 $            11,150.00 $             1,080.00 $          1,541.00 $         930.00 $        40,545.50
Asset Disposition    $     45,117.50 $       57,866.00 $        10,526.50 $         42,490.00 $          1,188.50
                                                                                                                         $              -       $              -       $              -   $          247.50 $              -   $     157,436.00
Bankruptcy Litigation $     1,829.00 $       48,205.50 $       106,800.00 $         87,951.50 $        16,858.50
                                                                                                                         $      13,695.00 $            37,537.00 $           32,376.50 $           6,475.00 $       7,052.00 $       358,780.00
Case Administration $       1,740.00 $        6,995.00 $           630.00 $           1,935.50 $         1,525.00
                                                                                                                         $         427.00 $               532.50 $              532.50 $             516.00 $              -   $      14,833.50
Claims Admin and     $           -     $      2,295.50 $         3,625.00 $           1,736.00 $         4,999.00
                                                                                                                         $       3,101.50 $             3,551.50 $             6,741.50 $          6,726.00 $        3,714.00 $       36,490.00
Objections
Compensation of      $           -     $           75.00 $         982.00 $            247.50 $        10,997.00
                                                                                                                         $      13,488.00 $             1,347.00 $                    -   $               -   $            -   $      27,136.50
Professionals
Compensation of      $           -     $              -   $              -   $               -   $               -
                                                                                                                         $         975.00 $                    -       $              -   $               -   $            -   $             975.00

Proessionals/Others
Employee            $       2,322.50 $        1,694.00 $         3,311.50 $           6,467.00 $                 -
                                                                                                                         $              -       $              -       $              -   $               -   $            -   $      13,795.00
Benefits/Pension
General Creditors    $     16,399.00 $       32,557.50 $        17,052.00 $         25,623.50 $          5,741.50
                                                                                                                         $       7,064.00 $               776.50 $             8,115.00 $          7,498.50 $        5,100.00 $      125,927.50
Committee
Insurance Coverage $             -     $      5,980.00 $               75.00 $        2,210.00 $               75.00
                                                                                                                         $              -       $       1,275.00 $                    -   $               -   $            -   $        9,615.00
Executory Contracts $            -     $           955.50 $        375.00 $           3,688.00 $                 -
                                                                                                                         $       1,365.00 $                    -       $        345.00 $                  -   $            -   $        6,728.50
Financing            $      2,489.50 $       95,772.00 $         7,699.00 $           4,336.50 $         1,441.50 $                211.00 $               195.00 $                    -   $               -   $            -   $     112,144.50
Financial Filings    $           -     $      2,549.50 $           211.00 $            514.50 $                -  $                         ‐   $              -       $        122.00 $                  -   $       247.50 $          3,644.50
General Business     $           -     $              -   $              -   $               -   $       3,705.00
                                                                                                                         $       2,535.00 $             2,437.50 $              390.00 $           2,835.00 $        1,440.00 $       13,342.50
Advice
Hearing              $           -     $              -   $              -   $               -   $        375.00 $                 150.00 $               225.00 $              900.00 $             300.00 $         375.00 $          2,325.00
Litigation/Non-      $           -     $           89.50 $         584.50 $                  -   $            -
                                                                                                                 $                      -       $              -       $              -   $               -   $            -   $             674.00
Bankruptcy
Meeting of Creditors $           -     $              -   $              -   $        2,311.00 $                 -
                                                                                                                         $              -       $              -       $              -   $               -   $            -   $        2,311.00

Operations           $      2,540.00 $        7,567.50 $                 -   $               -   $        570.00 $                      -       $              -       $              -   $               -   $            -   $      10,677.50
Retention of                                                                                     $            -
                     $      1,344.00 $        2,394.50 $                 -   $               -                   $                      -       $              -       $              -   $               -   $            -   $        3,738.50
Professionals
Retention of         $      2,404.50 $        5,774.50 $               89.50 $        3,156.00 $          300.00
                                                                                                                         $              -       $              -       $        225.00 $                  -   $            -   $      11,949.50
Professionals/Others
Stay Litigation      $           -     $              -   $        345.00 $                  -   $            -  $                      -       $              -       $              -   $               -   $            -   $             345.00
Tax Issues           $           -     $    114,193.00 $           895.00 $           4,775.00 $          525.00 $               1,497.50 $               195.00 $                    -   $               -   $            -   $     122,080.50
Travel               $      1,023.75 $        3,892.50 $         1,500.00 $           2,700.00 $              -  $                      -       $       1,218.75 $                    -   $               -   $            -   $      10,335.00
         Totals       $    77,209.75   $    388,857.00    $    163,855.00    $     203,244.50    $     58,428.00         $      57,906.00       $      64,619.75       $     51,651.50     $      27,691.50   $    18,933.50    $   1,112,396.50




DOCS_LA 293994 v1
   Case 8:15-bk-13008-TA        Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00   Desc
                                        ANNA'S LINENS,
                                Main Document      PageINC.
                                                         112 of 118
                                             Chapter 11
                                       Case No. 8:15‐13008 TA



         II. EXPENSES
Attorney Service                                                   $335.00
Bloomberg                                                          $287.80
Conference Call                                                    $829.27
Federal Express                                                    $561.48
Guest Parking                                                       $60.00
Lexis/Nexis (Legal Research)                                     $1,300.60
Outside Reproduction Services                                    $3,474.41
Pacer                                                              $789.40
Postage                                                            $526.17
Reproduction Expense                                             $1,565.60
Reproduction/Scan Copy                                           $2,047.80
Travel Expense                                                     $252.42
Transcript                                                       $1,043.75
Westlaw (Legal Research)                                        $10,187.32

TOTAL:                                                          $23,261.02




DOCS_LA 293994 v1
                                   Case 8:15-bk-13008-TA                    Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00                                                    Desc
                                                                            Main Document    Page 113 of 118

                                                                                     Monthly Expenses by Category

                       June             July          August         September         October          November         December          January          February          March           Total
II. Expenses
Attorney Service                                                                                                                       $       335.00                                     $      335.00
Bloomberg                           $      100.00                                $         187.10                                                                                         $      287.10
Conference Call    $          88.15 $      132.25 $       150.75 $         60.13 $          37.00 $         116.10 $           73.41 $          85.50 $            7.79 $         78.19   $      829.27
Fed Ex                              $      485.55 $        16.07 $         20.33 $           7.64 $          15.54                                                      $         16.35   $      561.48
Guest Parking                                     $        60.00                                                                                                                          $       60.00
Lexis Nexis                         $      166.27                                                 $          73.43 $          168.11 $         892.79                                     $    1,300.60
Legal Vision                        $      654.33 $     1,436.48 $        378.60 $         335.00 $         335.00                                      $        335.00                   $    3,474.41
Pacer              $          22.30 $      277.10 $       157.70 $        114.90 $          83.20 $          58.30 $           13.40   $         7.20   $         23.50   $       31.80   $      789.40
Postage                             $      427.03 $        81.59 $         14.81                  $           2.74                                                                        $      526.17
Reproduction       $          96.80 $    1,064.20 $       362.60 $         14.70 $           0.10 $          27.20                                                                        $    1,565.60
Reproduction       $          66.80 $      597.00 $       555.80 $        268.20 $          55.40 $         178.30 $          152.60   $        24.80   $         36.10 $        112.80   $    2,047.80
Scan
Transcript                      $          708.75                                                                                      $       335.00                                   $      1,043.75
Travel Expense                  $            4.00 $       160.19 $         88.23                                                                                                        $        252.42
Westlaw            $     695.40 $        6,335.94 $        76.73 $      2,355.28                                     $       380.70 $          343.97                                   $     10,188.02
Total Expenses     $     969.45 $       10,952.42 $     3,057.91 $      3,315.18 $         705.44   $       806.61   $       788.22 $        2,024.26 $          402.39   $      239.14 $     23,261.02
        Case 8:15-bk-13008-TA                  Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00                                       Desc
                                               Main Document    Page 114 of 118



                                       PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
10100 Santa Monica Boulevard, 13th Floor, Los Angeles, California 90067


A true and correct copy of the foregoing document entitled (specify): SECOND INTERIM AND FINAL APPLICATION OF
PACHULSKI STANG ZIEHL & JONES LLP FOR ALLOWANCE AND PAYMENT OF COMPENSATION AND
REIMBURSEMENT OF EXPENSES FOR THE PERIOD JUNE 25, 2015 THROUGH MARCH 30, 2016; DECLARATION
OF JEFFREY N. POMERANTZ will be served or was served (a) on the judge in chambers in the form and manner
required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
November 15, 2017 , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined
that the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:




                                                                                          Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) November 15, 2017, I served the following persons and/or entities at the last known addresses in this
bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United
States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that
mailing to the judge will be completed no later than 24 hours after the document is filed.




                                                                                          Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) November 15, 2017, I
served the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in
writing to such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a
declaration that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the
document is filed.

VIA FEDEX
Honorable Theodor C. Albert
United States Bankruptcy Court
Ronald Reagan Federal Building and Courthouse
411 West Fourth Street, Suite 5040/Courtroom 5B
Santa Ana, CA 92701-4593
                                                                                          Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 November 15, 2017                                           Myra Kulick                      /s/ Myra Kulick
 Date                         Printed Name                                                    Signature
          This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                         F 9013-3.1.PROOF.SERVICE
DOCS_LA:294207.1 03751/002
       Case 8:15-bk-13008-TA                   Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00                                       Desc
                                               Main Document    Page 115 of 118


1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

In re Anna’s Linens, Inc.
USBC, Central District of California, Santa Ana Division Case No. 8:15-bk-13008-TA

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          This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                         F 9013-3.1.PROOF.SERVICE
DOCS_LA:294207.1 03751/002
       Case 8:15-bk-13008-TA                   Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00                                       Desc
                                               Main Document    Page 116 of 118
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DOCS_LA:294207.1 03751/002
       Case 8:15-bk-13008-TA                   Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00                                       Desc
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June 2012                                                                                         F 9013-3.1.PROOF.SERVICE
DOCS_LA:294207.1 03751/002
       Case 8:15-bk-13008-TA                   Doc 2033 Filed 11/15/17 Entered 11/15/17 16:08:00                                       Desc
                                               Main Document    Page 118 of 118


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